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 1          UNITED STATES DISTRICT COURT OF MARYLAND
                         SOUTHERN DIVISION
 2
   ------------------------x
 3 UNITED STATES OF AMERICA  :
              Plaintiff      :
 4                           :
                             :
 5 vs                        :Criminal Action:          RWT -04-0235
                             :
 6                           :
   PAULETTE MARTIN, et al    :
 7           Defendants.     :
   ------------------------x
 8

 9                           Wednesday, June 21, 2006
                             Greenbelt, Maryland
10
         The above-entitled action came on for a Jury Trial
11 Proceeding before the HONORABLE ROGER W. TITUS, United
   States District Judge, in courtroom 4C, commencing at
12 10:00 a.m.

13       THIS TRANSCRIPT REPRESENTS THE PRODUCT
         OF AN OFFICIAL REPORTER, ENGAGED BY
14       THE COURT, WHO HAS PERSONALLY CERTIFIED
         THAT IT REPRESENTS THE TESTIMONY AND PROCEEDINGS
15       OF THE CASE AS RECORDED AND REQUESTED BY COUNSEL.

16       APPEARANCES:

17       On behalf of the Plaintiff:

18       DEBORAH JOHNSTON, Esquire
         BONNIE GREENBERG, Esquire
19
         On behalf of the Defendants:
20
         MICHAEL MONTEMARANO , Esquire
21       ANTHONY MARTIN, Esquire
         MARC HALL, Esquire
22       TIMOTHY MITCHELL, Esquire
         PETER WARD, Esquire
23       EDWARD SUSSMAN , Esquire
         HARRY MCKNETT , Esquire
24
   Tracy Rae Dunlap,   RPR , CRR                      (301) 344-3912
25 Official Court Reporter




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 1                                  I N D E X

 2
                              DIRECT       CROSS   REDIRECT   RECROSS
 3 Christopher       Sakala   15, 50 ,94
                              130,168
 4
     Sean Deere               30,78        42,86
 5
     Raphael Grant            110          119     128        129
 6
     Roger St. Louis                       157     164        168
 7
     Gregory   Scheirer       182          187     200
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23                                                            Page

24 Reporter's Certificate                                     207

25 Concordance                                                208




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 1            MR. McKNETT :    G ood morning , Your Honor.

 2            THE COURT:   Good morning      , Mr. McKnett .      Let the

 3 record reflect everybody is here except                 Mr. Ward who,

 4 once again, is having traffic problems and his arrival

 5 is eminent     I'm told.    But go ahead.

 6            MR. McKNETT :    Your Honor , I want to follow up on

 7 a motion    I made yesterday concerning            Sergeant   Sakala's

 8 testimony .     I would ask the sergeant not be in the

 9 courtroom while      I make --

10            THE COURT:   All right    .

11            MR. McKNETT :    I wrote it down so          I'll be brief,

12 Your Honor.

13            THE COURT:   All right    .

14            MR. McKNETT :    Your Honor, yesterday          I made an

15 objection to     Sergeant    Sakala's     testimony , and in

16 support of the objection       , I read a portion of the

17 opinion in     U. S. v. -- I hope        I'm pronouncing it right

18 -- Dakagjini .

19            THE COURT:   Spell it out for me         .

20            MR. McKNETT :    I don't think      I gave a cite for it

21 either    D A K --

22            THE COURT:   Wait a minute       , A?   A.

23            MR. McKNETT :    D A K A G J I N I.

24            THE COURT:   All right.       And what's the citation

25 to it ?




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 1         MR. McKNETT :     T he citation is 326      F.3d , 48 5.

 2         THE COURT:     Okay .

 3         MR. McKNETT :     I t's the    Second   Circuit , 2002

 4 case.   I cited it in my      --

 5         THE COURT:     What circuit is it       ?

 6         MR. McKNETT :     E xcuse me ?

 7         THE COURT:     What circuit      ?

 8         MR. McKNETT :     T he Second.

 9         THE COURT:     The Second?     Okay.    All right    .

10         MR. McKNETT :     T his morning , I would ask for a

11 continuing objection with respect to the sergeant's

12 testimony on the grounds        I stated yesterday    , and also

13 on the ground that when the witness goes beyond

14 interpreting code words summarizing his beliefs about

15 the defendants , collectively their conduct          , based upon

16 his knowledge of the case       .

17         First , the jury may infer that his opinion about

18 the nature of a particular          defendant 's activity was

19 based upon knowledge of the defendant beyond the

20 evidence presented at trial         , because he's testifying as

21 an expert and the jury has been informed that he's

22 allowed to rely on information that may not be

23 presented as evidence in this courtroom.

24         Secondly, because he has been qualified as an

25 expert he gains unwarranted credibility when he




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 1 testifies with firsthand knowledge as a fact witness.

 2          Third, that when he states that he forms his

 3 opinions and then had those opinions confirmed by

 4 people involved in this alleged conspiracy, which he

 5 did , he improperly bolstered the testimony of those

 6 witnesses who claim to be involve        d in the alleged

 7 conspiracy by suggesting to the jury that he           , as an

 8 expert , believes those witnesses to be credible           , and as

 9 an expert believes the defendants to be guilty.

10          Fourth, that by so testifying         , he strays from

11 the -- applying reliable       methodology     and conveys his

12 sweeping conclusion     s to the jury in violation of the

13 limits   im posed by   Rules 403   and 702 .    In fact, by so

14 testifying,   he unfairly provides the government with a

15 continuing closing argument        , in effect , by interpreting

16 the evidence , which is a function to be performed by

17 the government at the end of the case          , or perhaps by

18 this agent at the      end as a case agent , but not as a

19 witness during the course of the trial.

20          Finally -- well , not finally , but close to

21 final.   That by so testifying       , he creates the great

22 risk the jury will be confused and become unable to

23 tell when he is properly relying on his expertise in

24 the area of drug trafficking from when he is relying

25 upon what he has learned in his roles of investigator




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 1 in this case as case agent      .   A nd by testifying as he

 2 has been , the witness has become not just an expert in

 3 drug trafficking but a de       facto expert concerning this

 4 case which is something not permitted by             Rule 702     or

 5 403.   I base both of th    ose argument s, again , on the

 6 Dakagjini   case.

 7         I'd also want to point out         that a Crawford issue

 8 arises when the witness'       testimony is based on what he

 9 was told by a cooperat     or or similar person       , whether or

10 not his testimony is in the form of a direct quote.                    If

11 he is paraphrasing what he was told by a             cooperator or

12 similar person who does not testify in this courtroom,

13 he is in effect relaying hearsay information to the

14 jury without benefit of cross-examination.

15         For all those reasons,        I'd ask the witness be

16 instructed not the testify as he has been            , to strike

17 the testimony that he has given so far            , and if the

18 Court does deny those requests       , I ask for a continuing

19 objection to all such testimony by          Detective    Sakala .

20         THE COURT:     All right.    Before you respond.               Mr.

21 Ward, Mr. McKnett     has just made a motion raising the

22 same issue raised yesterday concerning             the ability of

23 Detective --    Sergeant , excuse me --      Sergeant    Sakala to

24 give his opinion testimony as he's been given            .   So

25 that's what you came in at the end of         .




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 1            MR. WARD:     I understand that    , Your Honor.

 2            THE COURT:    You really need to leave home a

 3 lit tle earlier .       T his is the second time in a row         .

 4            MR. WARD:     J udge , I blew out a tire on the way

 5 home last night .        I had to go get new tires.

 6            THE COURT:    Okay .   T he blown out tire excuse has

 7 now been used.

 8            MR. WARD:     I have my receipt.

 9            MR. HALL:    Does that mean    Your Honor is offering

10 us tires if we need them like you did the suit              ?

11            THE COURT:    No,   I don't have tires in my

12 chambers , but the clothing excuse           has been used up , the

13 tire excuse has been used up.

14            Mr. Sussman , go ahead.

15            MR. SUSSMAN :    First , could you provide        us with    a

16 list of the unused excuses so we cannot have to                 --

17 anyway .

18            Just as an addendum to what        Mr. McKnett       said.   I

19 think what the agent's doing is two things.            One, he's

20 summarizing -- he's acting as a summary witness in

21 terms of making inferences that's the jury's               province

22 with regard to what they could intend           .     A nd I think as

23 an expert on drugs       , what you do is you say this

24 packaging is consistent with distribut              ive intent, this

25 quantity is consistent with distributive intent                 , but




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 1 you can't read people's minds and you can't talk about

 2 their specific intent      .

 3           And that's what he's exactly           doing,   saying this

 4 is a conversation in which so         -and -so is attempting to

 5 purchase drugs.        That's exactly what the rules           , and I

 6 think 704 prohibit      s in the case law underneath it           , and

 7 I would join in       Mr. McKnett 's objection.

 8           THE COURT:    All right.    I'm     going to assume

 9 everybody is joining in that objection.           Remember

10 that's the rule.      Unless      you have   something new and

11 excit ing to tell me , you have joined it.

12           Ms. Johnston , what is your opposition           ?

13           MS. JOHNSTON:        Your Honor , first of all , the

14 cases cited by       Mr. McKnett    indeed the    Second     Circuit

15 acknowledged they nevertheless permit such testimony of

16 allowing case agents to testify as experts in addition

17 to being fact witnesses.

18           Sergeant    Sakala is not being called here to

19 testify as a summary agent.           Mr. McKnett     says it's okay

20 if at the end of the case we call a summary agent to

21 summarize what the witnesses say          , but he wants to

22 exclude   Sergeant     Sakala's    testimony on the basis that

23 he's summarizing hearsay evidence.

24           It became very clear yesterday during the long,

25 tedious questioning of         Sergeant   Sakala that his




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 1 testimony is based upon his training and experience,

 2 his listening to the calls      , his familiarity with

 3 surveillance in this case.         What he is doing is

 4 testifying   as the 4 th Circuit has allowed in          United

 5 States versus    Johnson   and United    States versus     Hopkins ,

 6 a witness to testify about the language of the codes,

 7 the surveillances and his opinion based on his training

 8 and experience that there was a drug transaction

 9 occurred on this date or drug transaction occurred on

10 that date.

11         No different than a police officer testifying

12 that they observed a hand      -to -hand -- they observed an

13 ex change of items between two people and they concluded

14 that was a hand -to -hand drug transaction.        He has not

15 summarized any witness' testimony in his limited

16 testimony yesterday    , nor do    I believe    he's going    to do

17 that.

18         In terms of the surveillances          , if he was not

19 himself involved in the surveillances          , the agents who

20 were will testify about those surveillances so it is

21 proper to him to rely upon that testimony in this court

22 in forming his opinion as an expert.            There is nothing

23 out of the ordinary in terms of what's being presented

24 with him.

25         His testimony is very limited          , and while we




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 1 could , under first circuit law         , call him as well as our

 2 summary agent to summarize as they did in              Johnson , the

 3 role of the defendant       s in the conspiracy and how the

 4 organization functioned, the government does not intend

 5 to do that with       Detective   Sakala .     I f at all , that will

 6 be done with the case agent,           Detective   Eveler , at the

 7 end of the case.

 8            But right now , he is testifying clearly in terms

 9 of those conversations, conversations he's been privy

10 to that counsel has had access to            , and to surveillances

11 that he also is familiar with or will be presented here

12 in court .     S o there is nothing in terms of any possible

13 Crawford violation.         It is certainly within the realm

14 of his expertise as a       n ex perience d narcotics officer to

15 give the opinions that he's           given and what the

16 government intends to elicit through all of these calls

17 throughout the next probably week.

18            THE COURT:    All right.    Counsel,      I considered

19 this issue yesterday.         I have not heard anything that

20 would cause me to revisit that ruling.              I will deny the

21 motion .     I will   give you a continuing objection to all

22 of the testimony and the opinions being given by

23 Detective     Sakala .    I'll remind you , however , that I'm

24 well aware of the        Crawford decision     , and if any

25 specific question requires that he stumble into a




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 1 violation of     Crawford, you should make a new objection.

 2            The testimony that he has given thus far is

 3 based upon his review of the conversations that he's

 4 overheard , not in a vacuum but in totality            , so he's

 5 able to understand what's being said.        If there is any

 6 specific question       , though , that raises a    Crawford

 7 problem,    I'll be glad to hear it when that question is

 8 asked.     So the motion is denied.

 9            MR. MONTEMARANO :    For the record     , Your Honor ,

10 then , I would lodge an objection now or point the               Court

11 to the fact     Detective    Sakala specifically testified

12 yesterday in response to questions on voir dire that

13 his belief after listening to all he           these

14 conversations , based       upon his expertise , which is

15 acceptable , then was "confirmed" by discussions with

16 cooperators, witness       es , etcetera in this case.    That's

17 the problem .

18            THE COURT:     Well, he said it was confirmed         , but

19 he already had an opinion, so         he's not basing his

20 opinion    up on it being confirmed by somebody         , as I

21 understand his testimony.

22            MR. MONTEMARANO :    That's correct     , but when he

23 says somebody told him        I was indeed correct      , this was a

24 drug conversation       , he is now bringing in hearsay as to

25 that person's statement.       That's the      Crawford




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 1 violation.

 2          THE COURT:    That's not the basis of the opinions

 3 he's giving and he said       it 's not the basis .      I t simply

 4 confirms what his opinion is that he's already reached.

 5          MS. JOHNSTON:       Your Honor , I would note that

 6 those statements of the detective were in response to

 7 defense counsel's questioning asking him specifically

 8 about co -conspirators'      statements.

 9          THE COURT:    Anything further?         We're going to

10 bring the jury in .

11          MR. McKNETT :     Your Honor, simply the issue that

12 Mr. Montemarano     made concerning the sergeant's

13 admission that he did consult with other witnesses or

14 other people who have claimed to be involved in this

15 case is exactly what      I -- the issue      I raised in part of

16 my argument about how he has now bolstered the

17 testimony of government witnesses and stated as an

18 expert that they're telling the truth and that the

19 government -- all the defendants are guilty            , which

20 clearly -- why     have a jury    if this agent is going to

21 make all those conclusions?      That's the        province   of the

22 jury , not the   province    of an expert .

23          THE COURT:    The    province   of the jury will be

24 carefully delineate     d b y me in my instructions to the

25 jury , and they will be instructed as they are in all




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 1 case s that the opinion of an expert is not binding upon

 2 them and they have -- they are the          ones that are to

 3 decide the facts in this case         , not any individual fact

 4 witness or expert witness       , either one .

 5          MR. SUSSMAN :     J ust to clarify.    Specifically       , I

 6 objected to him being a mind reader saying what

 7 somebody intended to do.      Is the      Court going to permit

 8 him to --

 9          THE COURT:    He's    not mind reading .      H e is

10 testifying what is meant by words used during a

11 conversation, conversations which are using coded type

12 of language that he is able to interpret because of his

13 experience in these matters       .

14          MR. SUSSMAN :     I understand that.     But when he

15 ex tends that to what somebody is planning to do or

16 going to do , he's talking about the intent of --

17          THE COURT:      I don't think we have gotten to that

18 bridge nor have we crossed it         , but if my understanding

19 is the testimony to date is that he is interpreting

20 what words the witnesses are using during the

21 conversations as to what those words mean and that's

22 it .

23          MR. SUSSMAN :     M y recollection was that he went

24 further and testif     ied to what somebody was plan        ning to

25 do as a result of the conversation         , and that's what       I




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 1 think is objectionable      , because     I think --

 2          THE COURT:    If the words themselves reflect

 3 somebody 's intention to do something, he can give that

 4 opinion .

 5          MR. SUSSMAN :     W ell , I think there's     a question

 6 about when he --

 7          THE COURT:    If you say       I plan to leave the

 8 courthouse at noon today      , it's pretty obvious       that I

 9 have state d what my intent is.         And had he can state

10 that 's what I meant when       I said 12 :00 sounds good to

11 me, that's    me stating that 12:00's the time          I'm going

12 to leave today.

13          MR. SUSSMAN :    T hat's not what we need expert

14 testimony for , as a general rule.

15          THE COURT:      There are people that use coded

16 language , there are     those that interpret the code         , and

17 that's what he's been qualified to do.

18          MR. SUSSMAN :     I nterpreting the     code, I haven't

19 objected to that.

20          THE COURT:    Counsel , I have ruled on the matter.

21 We are ready for the jury.            Ms. Johnston.

22          MS. JOHNSTON:     No , I am ready to go , Your Honor .

23 We have been down this road       .

24          MR. McKNETT :     Your Honor , very briefly , to

25 follow what Mr. Sussman       said.     When the government




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 1 played call     B129 at Page     9 --

 2           THE COURT:    Wait a minute.      Let me get it out           .

 3           MR. McKNETT :      B ook 1, Page 9, Call No. B129.

 4           THE COURT:       I've got to get organized     .    W ait one

 5 second.    W hat 's the page number , Mr. McKnett ?

 6           MR. McKNETT :      I t's Book 1, Page 9, Your Honor,

 7 Call B129.

 8           THE COURT:    All right   .

 9           MR. McKNETT :      This is a call , which     I raised an

10 objection .     T here is simply no code language in this

11 conversation.    This is standard          English language used

12 to mean   -- the words are used to mean exactly what they

13 mean and --     but this    witness was asked, what did           Mr.

14 Mangual   mean when he said everything is good?         That is

15 the mind reading function that            Mr. Sussman   has objected

16 to.

17           THE COURT:       Mr. McKnett , I have considered and

18 overruled your objection.       It's as if he said are you

19 my a migo, and he's asking him          , are you my friend   .     I

20 mean , he is    interpreting     what these words mean as used

21 by the speakers     in the conversation.         I've ruled that

22 he's competent to do that and has the necessary

23 expertise based on his background and experience.

24           All right .   L et's bring the jury in.

25                  (Jury returns      at 10 :22 a.m. )




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 1           THE COURT:      Good morning , ladies and gentlemen.

 2 As I mentioned        yesterday , we will be going until about

 3 4:30.     Tomorrow morning    , I have   a den tist appointment

 4 so we'll start at        10:00,   as long as my teeth are clean

 5 and no cavities , and I anticipate         that we'll go

 6 tomorrow until 4 :30.

 7           On Friday , I would like you to discuss your

 8 desires when you have a break and tell           Ms. Merez , but

 9 I'd like to see if perhaps we can leave a little early

10 on Friday.     What     I may make the price of that      , though ,

11 is that    we start a little early and then we have a

12 little shorter lunch or no lunch i         f we want to get out

13 early .    S o talk about that amongst yourselves and let

14 Ms. Merez know what your pleasure is          , because    Friday

15 afternoons are always a pure pleasure on the highways

16 around here , and so if we can leave a little early             , I

17 will try to do        that.

18           Ms. Johnston , you may proceed.

19                    FURTHER    DIRECT   EXAMINATION

20           BY MS. JOHNSTON:

21 Q.        Detective     Sakala , when we left off yesterday        , we

22 had just finished playing         --

23           THE COURT:     He's got to get up there first.

24                          (The witness resumes the stand.       )

25           BY MS. JOHNSTON:




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1 Q.        Detective    Sakala , when we left off yesterday          , we

2 were talking about call        B149 on Page     11 .

3           Do you have that in front of you?

4 A.        Yes, I do.

5 Q.        Volume    1, I might add.

6           In that call , there's a reference to          Becky and

7 you had identified       Ms. Dobi e here in the courtroom.

8 There is also -- was there any significance to             , based

9 on your training and experience         , to Derrick     Bynum 's

10 statement , well , I'm on my way.         I don't give an        F, I'm

11 on my way?

12 A.       Yes.

13 Q.       Okay.    Could you explain that significance to

14 you based on your training and experience?

15 A.       Drug dealers    are people engaged in drug

16 transactions      often do not want people around who are

17 not involve d in the transaction to witness those            .     So

18 what he's referring to here is whether she was still

19 there, because he was concerned whether she was still

20 there and then he changes his mind a          nd says , I don't

21 care , I'm going     to come over anyway.

22 Q.       Now, you had discussed a couple of words in

23 these first few calls were actually codes for drugs                ,

24 and cocaine in particular.      You remember that

25 yesterday?




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 1 A.         Yes.

 2 Q.         I'm going give you a marker here and ask you to

 3 start writing -- it might be easier if           I did -- did the

 4 writing.     If you could,      I'm just going to write code up

 5 here -- code words.       What was the first one that you

 6 told us about yesterday?

 7 A.         I believe that was sweet potato pie        , but let me

 8 check.     The first one was outfit      , what size outfit.

 9 Q.         What page is that on?

10 A.         It's on Page    1.

11 Q.         And the second one?

12 A.         Page 3.   It was sweet potato pie.

13 Q.         And the page number?

14 A.         Page 3.

15 Q.         Was there a third one that we      've heard so far?

16 A.         I believe that was tickets.     On Page      7.

17 Q.         Now , if we could go to the next telephone call             ,

18 which is call     B158 and play that please.

19            (Audio recording begins playing at 10        :24 a.m. )

20            (Audio recording stops playing at 10        :26 a.m. )

21            BY MS. JOHNSTON:

22 Q.         Did you recognize the voice     s in that

23 conversation?

24 A.         Yes.

25 Q.         Who are they?




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 1 A.        Paulette   Martin and    Lavon Dobie.

 2 Q.        Do you see   Ms. Martin here in the courtroom?

 3 A.        Yes.

 4 Q.        Would you identify her for the record?

 5 A.        She's seated at the defense counsel table in a

 6 dark striped top with glasses, second from the aisle.

 7           MS. JOHNSTON:      We 'd ask the record to reflect

 8 the witness has identified the defendant,            Paulette

 9 Martin.

10           THE COURT:     The record will so indicate.

11           BY MS. JOHNSTON:

12 Q.        Are we still    on March 9th with this call?

13 A.        Yes.   It was at 10    :45 p.m.

14 Q.        Did you form an opinion based on the

15 conversation as to what         Ms. Martin and    Ms. Dobie were

16 discussing?

17 A.        Yes.

18 Q.        Could you tell us what that opinion is?

19 A.        They're talking about the drugs that          Ms. Martin

20 had sold to      Ms. Dobie for her son      , and Ms. Martin is

21 telling   Ms. Dobie that her son cannot come directly to

22 purchase drugs from her because she doesn't sell drugs

23 to her family 's kids, friends , she's telling           Ms. Dobie

24 that whatever      Ms. Dobie does with the drugs is up to

25 her.




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 1 Q.         Could you reference particular portions of the

 2 conversation -- the transcript that led you to that

 3 conclusion?

 4 A.         I'm sorry?

 5 Q.         Can you reference particular portions of that

 6 conversation that led you to that conclusion?

 7 A.         Sure.   The first part of the section        where just

 8 because    -- where Ms. Martin says just cause you're my

 9 niece , that ticket you got for your son to go to the

10 show , I would never sell him no tickets to no show

11 myself .    M eaning she wouldn't sell drugs to him

12 directly.

13 Q.         Why do you believe that that's drugs and not

14 tickets to a concert?

15 A.         Ms. Martin was not selling tickets for any

16 legitimate commerce       , we found out .    A nd as we go

17 through the calls       , tickets , as we found , was a common

18 code word that was used throughout the wire to

19 reference drug s.

20 Q.         Now, in addition    --

21            MR. MONTEMARANO :    Objection , Your Honor .

22            Can we be heard at the bench?

23            THE COURT:    Come to the bench.

24                     (At the bar of the Court.)

25            THE COURT:    What is your objection to?     He




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 1 already answer ed the question when you objected.

 2            MR. MONTEMARANO :     Ms. Martin was not involved in

 3 legitimate commerce        involving   selling tickets , we found

 4 out.   He is testifying       "we ".   Last time     I looked , "we "

 5 is not on the stand      , it is only     Detective    Sakala .

 6            Secondly , we found out , he's talking about what

 7 someone else told him.       This is exactly the point we

 8 brought up yesterday and we brought up this morning.                    I

 9 don't wish to make it sound like that              Your Honor , but I

10 have to phrase it that way if           I hope to preserve the

11 record.

12            I don't really care what he found out.        Those

13 people come in , Crawford       really    gives me that right .         I

14 don't really care what        "we " testifies to, if      Ms.

15 Johnston has 25 witnesses and we have 24 waiting along

16 with Detective     Sakala .    What we -- it's inappropriate,

17 Your Honor , and this is exact         ly the problem with the

18 detective's testimony and exactly the point we were

19 trying to make.

20            THE COURT:    Ms. Johnston.

21            MS. JOHNSTON:      Well, I can a sk him some more

22 questions .     H e's familiar with the documents recovered

23 from her    residence.      Based upon that , he's reached that

24 conclusion.

25            THE COURT:    Make it clear     --




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 1          MS. JOHNSTON:       I t's a term of art he uses.

 2          THE COURT:       Make it clear when you ask him

 3 questions,    when he says he's not aware of any tickets

 4 it's a result of searches.

 5          MS. JOHNSTON:        I will.

 6          MR. MONTEMARANO :        Ms. Johnston has stepped into

 7 the second problem        , and that is she has to have an

 8 opinion coming into the investigation.                 An opinion

 9 based upon what he saw in         Ms. Martin's documents is not

10 an opinion , is not expertise in advance of.             It's a

11 conclusion he's come to, based on the investigation                     .

12 Those are very different         things,   and we are now

13 con fusing the issue of        fact versus expert witness,

14 again as the     defense called to the       Court's at tention .

15          MS. JOHNSTON:       We are not at all con        fus ing fact

16 with opinion .     H e's allowed     to rely upon something more

17 than jus t the call .        If h e has relied upon his personal

18 knowledge of the investigation          , including the fact he

19 has seen the document        s that were recover       ed from    the

20 search warrant , and it helps him , that is something he

21 relies upon in forming his opinion about what each of

22 these calls mean , just like he doesn't recall on one

23 call in isolation     .     H e's entitled to rely on his

24 knowledge of the investigation          , in particular his

25 personal knowledge of the investigation            .




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 1          THE COURT:    You need      to get close r to the       mike

 2 or we can't pick it up       .

 3          MR. SUSSMAN :       I f the detective is     going to

 4 testify in this fashion for all these calls, we're

 5 going to be here until August 11.        There is no

 6 limitation to the scope and the length of his

 7 testimony.

 8          MS. JOHNSTON:        Your Honor , the government        has

 9 been very limit ed in what we're asking           .   I f we didn't

10 have all these bench conferences and hadn't wa                sted the

11 first 20 minutes of this morning reiterat             ing what we

12 did yesterday --

13          THE COURT:        I've ruled on this issue.      I    've

14 asked Ms. Johnston , and she's going to make it clear

15 that if he 's testifying that there is no ticket               , that

16 he's basing    that upon not      only jus t the conversations ,

17 but also his personal knowledge of what was seize                d from

18 the residence , which does not indicate any business

19 selling shows or tickets.        All right?

20          And he can base it on his personal knowledge.

21 He is not -- there is not a         Crawford     issue as long as

22 he's doing    that.   That's my ruling.       Let's continue

23 with the testimony     .

24          MR. MONTEMARANO :       Your Honor, so we're clear.

25 Do you want me, every --         I assume     Detective   Sakala




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 1 will , in my opinion , and that's my call to make, do

 2 this again and again and again.             Your Honor's ruled --

 3            THE COURT:    No.     I will give you a continuing

 4 objection .

 5            MR. MONTEMARANO :      S o you don't want me        up here

 6 or out of my chair saying, "object," "object              ,"

 7 "object."

 8            THE COURT:    Not every single time.      As        I already

 9 told you , if there is a         Crawford   issue that goes beyond

10 what we just discussed         , you can certainly     raise it,       but

11 I don't believe that this is --

12            MR. MONTEMARANO :      A Crawford issue of this

13 scope , you do not expect         --

14            THE COURT:    Based upon his personal knowledge

15 ,and he is on the stand and he's available for

16 cross-examination.         I have overruled it.      If he basis

17 it upon what somebody told him         , we may have a         Crawford

18 problem,    then you should raise that when you think that

19 bridge has been crossed.

20            MR. MONTEMARANO :      Thank you .

21                  (B ack in open court.      )

22            BY MS. JOHNSTON:

23 Q.         Detective    Sakala , i n terms of   rendering       your

24 opinion , if you could use the pronoun           "I" instead of

25 "we ," that would be inofficial        .




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 1 A.       Okay.    I'm sorry.

 2 Q.       In terms of your conclusion that there was no

 3 legitimate ticket business       , is that based upon your

 4 review of documents that were found in the various

 5 locations   dur ing the execution of the search warrants

 6 in this case?

 7 A.       That was one of the reasons, yes.

 8 Q.       Now, if we can go to the -- again          , in that call ,

 9 what was , based on your training and experience            , the

10 code word for tickets?

11 A.       It refers to the drugs.

12 Q.       On what page?

13 A.       On Page 12 and     Page 13.

14 Q.       If you could just write next to the word ticket

15 on that chart there those page numbers, please.

16 A.       (Witness indicating.     )

17 Q.       We could go to the next call on Page 14,            Call

18 B159.   Again , is that call also on        March 9th of 2004?

19 A.       Yes, it is.

20 Q.       Approximately what time is that call?

21 A.       11 :10 p.m. or 23 :10.

22 Q.       Who are the part ies to       that call?

23 A.       Paulette   Martin and    Luis Mangual , Jr .

24 Q.       If we could play the call please.

25          (Audio recording begins playing at 10          :34 a.m. )




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 1                  (A udio recording stops playing at 10           :34

 2 a.m. )

 3          BY MS. JOHNSTON:

 4 Q.       If you could also play call A11 on Page 15.

 5 When did they have that call?

 6 A.       This is the next day, March 10 at 12          :17 , a

 7 little after noon.

 8 Q.       And the parties?     Are they the same parties?

 9 A.       The same parties      Ms. Martin and     Mr. Mangual .

10 Q.       If we could play that      , please.

11          (Audio recording begins playing at 10          :35 a.m. )

12          (Audio recording stops playing at 10          :35 a.m. )

13          BY MS. JOHNSTON:

14 Q.       Based upon your train      ing and experience , can you

15 tell us , based upon the first conversation          , what Ms.

16 Martin was discussing with        Mr. Mangual ?

17 A.       In Call B159 , she's ordering cocaine from

18 Mr. Mangual .

19 Q.       And w hat is the    code word she      is using to order

20 cocaine from    Mr. Mangual ?

21 A.       A box of envelopes.

22 Q.       Are you familiar with search warrants executed

23 at the residence of      Mr. Mangual ?

24 A.       Yes.

25 Q.       In terms of those     , based on your training and




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 1 experience and a review of those documents               , did you

 2 form an opinion as to whether or not he was involved in

 3 the station ary business?

 4 A.        He was not.

 5 Q.        What is the significance of the call the next

 6 day at noon on March 10 of 2004?

 7 A.        This is   Mr. Mangual    telling   Ms. Martin that he's

 8 right behind her as she's driving to her house.                 Larch

 9 Avenue is the intersecting street for             Hayward .

10 Q.        That's based on your surveillance and your

11 familiarity with that location?

12 A.        Yes.

13 Q.        If we could go to the next call.        A116        on Page

14 16 .    Well, before we do that, if       I could ask you , let

15 me -- what's the code word in that conversation between

16 Mr. Mangual ?

17 A.        A box of envelopes.

18 Q.        And the page number?

19 A.        Fourteen .

20 Q.        Now , if we can go to the next call B           11 -- A116

21 on Page 16.      Now, that is an     A call.   What does that

22 mean?

23 A.        This is a call that was intercepted over the

24 cellular telephone used by         Ms. Mart in.

25 Q.        What date an d time is that?




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 1 A.       March 10, 2004 at approximately 1             :26 p.m, 13:26.

 2 Q.       Is that approximately an hour and ten minutes

 3 after the preceding call      ?

 4 A.       Yes.

 5 Q.       Who are the parties to this call?

 6 A.       John Martin and     Paulette    Martin.

 7 Q.       Now if we could play it please.

 8          (Audio recording begins playing at 10             :38 a.m. )

 9          (Audio recording stops playing at 10             :39 a.m. )

10          BY MS. JOHNSTON:

11 Q.       Okay.    Now, in regards to that call, did you

12 notice any error s in the transcript?

13 A.       Yes.

14 Q.       What w as that?

15 A.       The second line from the bottom where the word

16 nickel is attribute     d to Paulette        Martin.    I don't hear

17 that.   I believe that should have been eliminate              d from

18 the transcript and it was         , but somehow it made it back

19 in.

20 Q.       Did you hear what she said instead of nickel?

21 A.       Just inaudible , I would leave it as.

22 Q.       Why do you use inaudible?

23 A.       A lot of times in conversations          , you just can't

24 make out what's being said         , so we    use "unintelligible"

25 or "inaudible."




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 1 Q.         That call seemed to end abruptly           .   C an you

 2 explain what happened with that?

 3 A.         My guess is , and I don't know        --

 4            MR. HALL:    Objection.

 5            BY MS . JOHNSTON:

 6 Q.         All right.   Was that something that the agents

 7 did or something in terms of the call itself                ?

 8 A.         It's just something with the cellular telephone.

 9 It just ended.

10            MS. JOHNSTON:     Now, Your Honor before we proceed

11 to the next call,       B19 7, we 'd like to interrupt          Agent

12 Sakala's    testimony and call        Officer   Sean Deere to

13 testify as to surveillance that was conducted on March

14 10 of 2004.

15            THE COURT:    All right.    All right, you may.

16

17            (Witness excused from the stand at 10            :40 a.m. )

18            MS. JOHNSTON:     Your Honor , just so the           Court is

19 aware , we will be calling agent         s to te stify with regard

20 to particular surveillances and recalling them if they

21 have additional surveillances.

22            THE COURT:    All right.

23 Thereupon,

24                              SEAN DEERE ,

25 having been called as a witness on behalf of the




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 1 Plaintiff , and having been first duly sworn by the

 2 Courtroom Deputy, was examined and testified as

 3 follows:

 4            THE CLERK:     Please be seated.         I need you to

 5 state your name for the record.

 6            THE WITNESS:      Detective    Sean Deere.       S E A N,

 7 D E E R E.

 8            THE CLERK:      Thank you.

 9                           DIRECT   EXAMINATION

10            BY MS. GREENBERG:

11 Q.         Sir , where are you employed?

12 A.         I'm employ ed with      the Prince    George's    County

13 Police Department assigned to the            Major Narcotics

14 Section , currently assigned to          DEA Task Force Group 36.

15 Q.         Are you deputized?

16 A.         Yes .

17 Q.         You have the powers      , duties,    and

18 responsibilities of        a federal agent?

19 A.         Yes , I do.

20 Q.         How long have you been        employed      with the   Prince

21 George's     County    Police Department?

22 A.         For over 16 years.

23 Q.         Could you     give the jury some kind of idea of

24 your duties and responsibilities?

25 A.         I participate in federal narcotic




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1 investigations , local narcotic investigations, have

2 done so for the past ten years.

3 Q.        How long have you worked in the narcotics?

4 A.        Since 1996.

5 Q.        What is your current assignment and           duties and

6 responsibilities?

7 A.        Working with federal task force with the             Drug

8 Enforcement     Administration in      Washington out of the

9 Washington division office.

10 Q.       Where were you employ      ed in March of 2004?

11 A.       With the   Prince   George's    County   Police Major

12 Narcotics    Section.

13 Q.       Directing your attention back to          March of 2004 ,

14 did you have your own case assignments?

15 A.       Yes, I did.

16 Q.       Were you also assigned to assist with an ongoing

17 investigation?

18 A.       That's correct.

19 Q.       That was in connection with         Detective    Eveler and

20 Sergeant    Sakala and others?

21 A.       That's correct.

22 Q.       What was the nature of the assistance that you

23 were called    on to provide?

24 A.       We were assisting      Detective    Eveler , who's

25 assign ed to the Customs      Task Force , in relation to a




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1 drug investigation       Title 3,   where he was intercepting

2 phone calls pursuant to a court order.

3 Q.        Was it just you or was there a lot of other

4 people?

5 A.        Myself and my squad were assigned to assist

6 Detective     Eveler in surveillance and whatever other

7 assistance was need      ed.

8 Q.        When you say    Title 3    investigation, what are you

9 talking about?

10 A.       Title 3   investigation is a court order that

11 Detective    Eveler obtained to investigate and intercept

12 phone calls from his main targets.

13 Q.       Specifically if you could go into detail           , what

14 would you and your squad do in order to assist him with

15 that?

16 A.       When he intercepted a phone call that was

17 pertinent to his investigation, we would be assigned to

18 go to a location, set up surveillance that coincided

19 with whatever phone calls he received.

20 Q.       How long did you -- how long was this assistance

21 provided?    Months?   Years?      Weeks ?

22 A.       His investigation was months.

23 Q.       Now , did you become familiar with the different

24 locations?

25 A.       Yes.




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 1 Q.         And did you become familiar with different

 2 players?

 3 A.         Yes, I did.

 4 Q.         Did you ever get sent out to surveil 810          Hayward

 5 Avenue in    Takoma     Park, Maryland?

 6 A.         That's correct.    Several times.     810    Hayward

 7 Avenue was one of        Detective   Eveler's   main targets ,

 8 which was    Paulette     Martin , seated right here on the

 9 end.

10 Q.         Your Honor may the record reflect -- could you

11 describe what she's wearing please?

12 A.         A pinstriped suit    , she has glass es .

13            MS. GREENBERG:      Your Honor , may the record

14 reflect that the witness has identif            ied the defendant ,

15 Paulette    Martin?

16            THE COURT:    Yes , the record will so indicate.

17            BY MS. GREENBERG:

18 Q.         When you say main target       , are you talking about

19 the telephone s that you were intercepting?

20 A.         Yes.

21 Q.         And certain targets -- certain telephones were

22 associated with       Ms. Martin?

23 A.         That's correct.

24 Q.         That's why you went to that address frequently?

25 A.         Correct.




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 1 Q.       Calling your attention to March 10, 2004.         Were

 2 you asked to do surveillance at 810           Hayward    Drive on

 3 that date?

 4 A.       That's correct.      We were asked to do

 5 surveillance .     W e were sent to    Paulette    Martin's

 6 address , and I arrived to set up a surveillance van

 7 approximately 11 :30 in the morning.

 8 Q.       Could you explain to the jury what you saw --

 9 let me back     you up .   What kind of vehicle did you go in

10 and how were you dressed and who was there?

11 A.       I was in a surveillance van with video cameras

12 so I could film her address.

13 Q.       Who was in the van with you?

14 A.       I was by myself.

15 Q.       Were there other surveillance vehicles in the

16 neighborhood?

17 A.       Yes, they were strategically placed around the

18 neighborhood , but I had the camera fil         ming .

19 Q.       Could you explain to the jury what kind of

20 hi -tech equipment we have here in the          DEA and with the

21 Immigration and     Customs    Enforcement?

22 A.       It's just a typical video camera that's placed

23 on top o f a van and we're able to film from inside.

24 Q.       When we see this surveillance, is there

25 something blocking your view a little bit?




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 1 A.       The camera's placed inside of a               -- like a vent ,

 2 and there's louvers     .    S o when you zoom in       , the louvers

 3 will disappear , but if you zoomed out            , you would be

 4 able to see the louvers.

 5 Q.       So it appears as lines across the               --

 6 A.       That's correct.

 7 Q.       And did you have any better equipment to use

 8 that day?

 9 A.       No, that was the only equipment we had.

10 Q.       Not hundreds       of thousands dollars         of cam eras --

11 A.       No.

12 Q.       -- o r secret --

13          MR. MONTEMARANO :       Objection , Your Honor .

14          Relevance.

15          THE COURT:     Sustained.

16          BY MS. GREENBERG:

17 Q.       In any event , that's what you used that day?

18 A.       Correct.

19 Q.       Could you describe for the jury what you

20 observed while you were out at that location?

21 A.       Approximately 11 :30 I set the van up to

22 videotape, and      I observed a red      Mercedes pull up at

23 approximately 12 :2 2.        Paulette   Martin    was driving a

24 Mercedes,   went inside of her residence           .    S he parked the

25 vehicle out front and walked inside her residence.




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 1 Q.       What did you observe next?

 2 A.       After that     --

 3          MR. MITCHELL:        Objection     , Your Honor.

 4          He's reading .        I don't know what he's reading.

 5          BY MS. GREENBERG:

 6 Q.       Are you refreshing your recollection as to times

 7 from your report?

 8 A.       Yes.    This is my surveillance notes that were

 9 taken that day.

10 Q.       Provided in dis covery to          counsel?

11 A.       Yes .

12          MR. SUSSMAN :        O bjection.

13          MR. MITCHELL:         Your Honor,     I don't believe that

14 we have established that he has no memory of the event.

15          THE COURT:      Why don't you lay a foundation as to

16 his memory.

17          BY MS. GREENBERG:

18 Q.       Do you remember the exact times that these

19 events occurred?

20 A.       Not off the top of my head exactly.           That's why

21 I wrote them down.

22 Q.       Do you remember the events?

23 A.       Yes.

24 Q.       When you say        "12 :22, " is that based on

25 refreshing your recollection from the notes?




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 1 A.        That's correct.

 2 Q.        If you would    only refresh your recollection as

 3 to times and recall the rest from your memory?

 4 A.        Yes.

 5 Q.        And if you don't remember something         , let us know

 6 and I'll ask you to refer to your notes.

 7 A.        Okay.

 8 Q.        Thank you.    So could you tell the jury what

 9 happened at 12 :22?

10 A.        12 :22 , Paulette    Martin parks her vehicle in

11 front of her address, gets out and goes inside.

12 Q.        Next?

13 A.        Approximately 13 :02 --

14           MR. MITCHELL:       Your Honor , I renew my objection        .

15 He continues to read from something         , I can't see what

16 it is .   If he needs to refresh his memory, it's only if

17 he can't remember      , and I think the state -- the

18 government has to establish that.

19           THE COURT:     Well, he's indicated at the precise

20 time he's looking for his note for the time of it             .   He

21 remembers if there's something at variance with that              ,

22 we'll deal with it.

23           BY MS. GREENBERG:

24 Q.        What happened next?

25 A.        At 13 :02 a red pickup truck       --




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1 Q.          When you say 13 :02 -- military time       ?

2 A.          I'm sorry.   1 :02 in the afternoon     , a red pickup

3 truck pulls up out front that belonged to             Luis Mangual .

4 Luis Mangual       exits his pickup truck and walks into

5 Paulette     Martin's residence.

6 Q.          Now, if   I could take you back to your

7 observations.      What type of truck was it?

8 A.          It was a red pickup.

9 Q.          And did you know about this person         Mangual

10 through your investigation?

11 A.         That's correct .     H e was one   of Detective

12 Eveler's    other main targets.

13 Q.         And did you see anything with        Mr. Mangual ?

14 A.         Yes.   Mr. Mangual    exited his pickup truck

15 carrying a paper bag      , shopping type bag     , and walked

16 into the house.

17 Q.         How long did he stay in the residence?

18 A.         If I may look at my notes for the times.       He

19 walked in at 1 :02 and he exit ed the residence at 1 :27.

20 Q.         That's approximately 25 minutes; is that

21 correct?

22 A.         That's correct.

23 Q.         Have you had occasion to review what's been

24 marked for purposes of these proceeding           s as V -1, a

25 videotape ?




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 1 A.       Yes, I have.

 2          MS. GREENBERG:      With t he Court's permission        , may

 3 I play the videotape ?

 4          THE COURT:    You may.

 5          MS. GREENBERG:      Your Honor , this is new

 6 equipment , so I might have to stop          .   I'm not sure what

 7 the sound is do in g, but I think they tr ied to fix that.

 8          THE COURT:     I'll pray for you.

 9          MS. GREENBERG:     If     I could just warn everyone      ,

10 there might be a loud       noise .

11          BY MS. GREENBERG:

12 Q.       What are we looking at here?

13 A.       That's   Luis Mangual's      pick up.   He pulls up     right

14 behind   Paulette   Martin's red      Mercedes a nd he pulls away

15 and pulls in front of her         Mercedes.

16 Q.       Are those the louvers you were talking about?

17 A.       Correct.   When the       cameras   zoom in and out , you

18 can see the louvers .       B ut when you zoom in     , they

19 disappear.

20 Q.       Were you able to get the number on the truck

21 there?

22 A.       That's correct .        H is tag number is , if I may

23 look at my notes , 30N 5 91, which is register          ed to Luis

24 Mangual .

25 Q.       What state?




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1 A.          Maryland.

2             That audio is my radio     when I keyed up the

3 frequency.

4 Q.          What are we looking at here?

5 A.          This is   Luis Mangual   getting out of his truck

6 with a shopping bag and he walks into            Paulette     Martin's

7 residence.

8 Q.          That's the shopping bag you spoke about earlier?

9 A.          That's correct.

10 Q.         And which entrance does he walk up to?

11 A.         He goes into the side entrance.

12 Q.         Were you familiar with that side        entrance

13 through your investigations?

14 A.         That's correct .     T hat was the entrance that

15 Paulette    Martin used.

16 Q.         How long did you say he was in there?

17 A.         Approximately     25 minutes.

18 Q.         I'm going to fast forward.      Did you observe

19 anyone in the vehicle with him?

20 A.         No , I did not.

21 Q.         Anyone come in on or out of the residence at the

22 time that you observed him?

23 A.         No.

24 Q.         During the course of your surveillance         , had you

25 seen anyone else driving that red           Mercedes that you




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1 observed in front of the house?

2 A.        Yes.    Paulette   Martin's husband or boyfriend,

3 John Martin.

4 Q.        During the course of your surveillance, h           ad seen

5 anyone else      driving   the red   Mercedes ?

6 A.        No , I haven't.

7 Q.        Did you see anyone driving it on that day?

8 A.        No.

9 Q.        Who normally drove the red        Mercedes?

10 A.       Paulette   Martin.

11 Q.       From your observation,       about what time was

12 Mr. Mangual     leaving the house?

13 A.       He left at 1 :27.

14 Q.       Now, your time here     , is that cued up to any

15 other times , the wiretap times, watch time?

16 A.       It's probably right, you know it's a good time                ,

17 but I'm not sure if you know the time on my watch was

18 the same as this or.

19 Q.       Through the whole investigation         , did you key up

20 the time s to everything?

21 A.       I'm not sure if they did or not.

22 Q.       Could be a minute or two off?

23 A.       They could be seconds off probably.

24 Q.       Please tell us when you see your next

25 observation from your surveillance on March 10, 2004.




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 1           Was that your radio     again?

 2 A.        Yes.

 3           Like I said, at 1 :27 , this is         Luis Mangual

 4 exiting   Paulette     Martin's residence with a shopping bag

 5 walking back to his pickup truck.

 6 Q.        How does that shopping bag compare with the

 7 shopping bag he walked in with?

 8 A.        It's the identical shopping bag.

 9 Q.        What happens next?

10 A.        He gets in his pickup truck and drives away.

11 Q.        Approximately what time did you terminate

12 surveillance on that date?

13 A.        Approximately 2 :30 in the afternoon.

14 Q.        Did you observe any other activity at the house?

15 A.        No, not that day.

16           MS. GREENBERG:      Your Honor,    I have no further

17 questions for    Mr. Deere .

18           THE COURT:    Cross-examination     ?

19           MR. MONTEMARANO :     Thank you,    Your Honor.

20                          CROSS-EXAMINATION

21           BY MR. MONTEMARANO :

22 Q.        Ms. Greenberg was mak     ing a bit of a deal about

23 the time ; correct ?

24 A.        Correct.

25 Q.        If I understand your testimony correctly          , you




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 1 did not synchronize your        VCR with your watch with any

 2 other whatever clocks were used in the wiretap, et

 3 cetera; correct?

 4 A.       I'm not sure.

 5 Q.       That's a yes or     no question , Detective.       You

 6 didn't , did you?

 7 A.       I did not, no.

 8 Q.       Thank you.

 9          And you said you were not sure if it was done by

10 anybody else ?

11 A.       Correct.

12 Q.       But the fact is the time isn't a big deal.               I

13 mean , let's as sume for the sake of discussion you

14 testified that      Mr. Mangual   arrived at two minutes after

15 1:00 .

16 A.       Yes.

17 Q.       And left at 27 after     ?

18 A.       Correct.

19 Q.       Now, you're clear that the time in between

20 wouldn't vary .     I t could have been    , let's say,     12:57 ,

21 five minutes before that that he arrived           , for the    sake

22 of discussion if your clock on the          VC R was wrong?

23 A.       If the clock on the      VCR was wrong , but it's not

24 wrong.

25 Q.       So the answer is yes     ?




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 1            MS. GREENBERG:     Objection.

 2            THE COURT:     Sustain ed .

 3            BY MR. MONTEMARANO :

 4 Q.         If he arrived at     12 :57 , then he would have left

 5 at 1 :22 approximately, 1       :23 because he left at --

 6            MS. GREENBERG:      I'm going to object to the

 7 hypothetical nature of         Mr. Montemarano 's question .

 8

 9            THE COURT:     W ell , let him get the whole question

10 out.   I haven't heard the whole question.

11            Start your question over      .    L et me get the whole

12 question.

13            BY MR. MONTEMARANO :

14 Q.         If the clock s were wrong and he arrived at         ,

15 let's say , 12 :57, five minutes earlier          , then he would

16 have left on that time frame at about             1:22 ; is that a

17 fair statement ?

18            MS. GREENBERG:     Objection.

19            THE COURT:     Overruled.

20            THE WITNESS:     Mathematically?    Sure.

21            BY MR. MONTEMARANO :

22 Q.         Okay.   I wanted t o establish that.        The fact is

23 that he was there       , whether   it was 12 :57 or 1 :02 , that

24 he arrived     there.    He was there for about 25 minutes;

25 correct?




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1 A.        Correct.

2 Q.        That's enough time to share a meal; correct?

3 A.        Sure.

4 Q.        It's enough time to do a lot of different

5 things; correct?

6 A.        Correct.

7 Q.        When he walked in , he had a shopping bag in his

8 hand; correct?

9 A.        Correct .

10 Q.       When he walked out     , he had what appeared to        you

11 to be the same shopping bag; correct?

12 A.       That's correct.

13 Q.       You didn't go over and inspect it in his hands                ,

14 so you don't know     --

15 A.       That's correct.

16 Q.       Could have been a different one from where you

17 were sitting ; correct?

18 A.       That's correct.

19 Q.       If my eyes were looking at        the video , you're

20 about 30 , maybe even 40 yards from         Mr. Mangual , a good

21 100 feet ?

22 A.       One hundred feet , yes.

23 Q.       And maybe eve n a little further because he           , at

24 some point , sort of moves distance -- moves to a

25 greater distance from you in the field of vision




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 1 because you see him     , in the film , shrink.

 2 A.        We were pretty paral    lel.    He walked across.

 3 Q.        No , I'm not talking he didn't go from 100           feet

 4 to a mile , he went from 100       feet to maybe 120      feet .

 5 A.        That could be fair.

 6 Q.        Yeah , maybe he walked around the back of the

 7 truck .   H e was 90 feet away; correct?

 8 A.        Correct.

 9 Q.        So at all times , he was good distance away.

10 A.        Define   "good distance ".     One hundred feet      is 100

11 feet .

12 Q.        Good enough dis tance that you could n't be

13 absolutely positive it was the same bag           ; right?

14 A.        It appeared to be the same bag.

15 Q.        It appear ed to be the same bag , and you          could n't

16 be positive    it was the same one     ; right?

17 A.        Correct.

18 Q.        So Ms. Martin entertained a visitor in the

19 afternoon at her home on March 10         ; right?

20 A.        That is correct.

21 Q.        2004 ?

22 A.        Correct.

23           MR. MONTEMARANO :     No further questions.

24           MR. MARTIN:    Mr. Goodwin has no questions for

25 this witness , Your Honor.




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 1            MR. HALL:    No questions     , Your Honor.

 2            MR. MITCHELL:     Just one question.

 3                            CROSS-EXAMINATION

 4            BY MR. MITCHELL:

 5 Q.         Following up on the time.       The time that we saw

 6 on there , how is that time actually input into the

 7 device that you have?

 8 A.         Just like your typical video camera.         It's

 9 stamped in the video camera           , so you turn the camera

10 off , turn it back on , the time is still going to be

11 correct.

12 Q.         Who did that?

13 A.         At the factory.

14 Q.         The factory input that time?

15 A.         Well , I'm sure on video cameras        , you can pick ,

16 you know , eastern standard time, whatever it is and

17 it's already in there        .    I don't physically put the time

18 in each time       I turn it on.     It's there.

19 Q.         Okay.   Thank you very much.

20            MR. MITCHELL:         No further questions   .

21            MR. WARD:    N o questions , Your Honor .        T hank you .

22            MR. SUSSMAN :     J ust a couple if     I can, sir.

23                            CROSS-EXAMINATION

24            BY MR. SUSSMAN :

25 Q.         Good morning , Officer.




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 1 A.         Good morning.

 2 Q.         You testified that on March 10, 2004            , you did

 3 about three hours of surveillance at 810                 Hayward ;

 4 correct?

 5 A.         That's correct.

 6 Q.         Okay.   Do you recall        how times you did

 7 surveillance at the           Hayward   Street address?

 8 A.         Not exactly.       Several time    s.

 9 Q.         Several times , and off the top of your head               , you

10 don't recall the other dates            , I would imagine.

11 A.         I recall one, March 12.

12 Q.         But the other dates that you were there or how

13 long you were there       ?

14 A.         I'd have to refer to my surveillance notes.

15 Q.         And on other particular dates           , you don't recall

16 who came and went; is that right?

17 A.         On the other days?

18 Q.         Yes.

19 A.         I recall some other people that came and went.

20 Q.         You wouldn't recall the times and the amounts of

21 time that they stayed; is that correct?

22 A.         I would.   I wrote them on my surveillance                list.

23 Q.         That's the next question          I want to    ask you.

24            You were run ning a videotape at least on March

25 10; correct?




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 1 A.         Yes , I was.

 2 Q.         But although the videotape records everything          ,

 3 you're also taking notes of what's           going on?

 4 A.         Sometimes, yes.     Usually     I take notes in my

 5 notebook.

 6 Q.         It's kind of a log      , just for example   , at 18 :40 ,

 7 military time , so -and -so walked in , and you describe

 8 them or name them       , if you know them   ; right?

 9 A.         Correct.

10 Q.         And you use those as a reference in terms of

11 later testimony if need be, right?

12 A.         That's correct.

13 Q.         Because it's     -- although we talk about

14 refreshing recollection        , it's very hard to remember the

15 exact time of thing       s that happened two years ago.

16 A.         That is correct.

17 Q.         And you lean heavily on your written notes to

18 help you remember what occurred; is that right?

19 A.         I lean partially on my written notes.           I

20 remember what occurred        , but the exact times are hard to

21 remember    without logically looking.

22            MR. SUSSMAN :     I have nothing for the defendant          .

23            MR. McKNETT :     Your Honor , may I consult with      Mr.

24 Montemarano     just for a second      ?

25            THE COURT:      Yes .




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 1          MR. McKNETT :        N o questions , Your Honor.

 2          MS. GREENBERG:        We would     excuse   this witness       at

 3 this time,      but if he would remain close         , there are a

 4 few more calls from the March 12 surveillance.

 5

 6          THE WITNESS:     Y ou may step down.

 7                   (Witness excused at 11        :03 a.m. )

 8                   (Witness     resumes the stand        at 11 :04 a.m. )

 9                     FURTHER    DIRECT     EXAMINATION

10          BY MS. JOHNSTON:

11 Q.       Sergeant    Sakala , when we left off          , we had just

12 played   A116 , which took place at 13         :26, 13 :27 hour s.

13 You have a      had chance to review the video that has been

14 introduced into evidence         , the surveillance that

15 occurred and concluded at about 13            :27 hours on that

16 same date ?

17 A.       Yes.

18 Q.       Did you identify the people -- did you identify

19 the individual observed in that video?

20 A.       Mr. Mangual .

21 Q.       Did you form an opinion based upon your training

22 and experience on the content of the calls that -- the

23 two call s that we 've discussed before you left the

24 witness stand as to what          Mr. Mangual    was doing at the

25 residence on March 10 of 2004 at roughly between 11                  :30




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 1 in the afternoon?

 2 A.         Yes.

 3 Q.         What is your opinion     ?

 4 A.         He was delivering a kilogram of cocaine to

 5 Ms. Martin.

 6 Q.         What is that based upon?

 7 A.         The conversations and the surveillance.

 8 Q.         Now , if we could now proceed to the next

 9 telephone     Call B19 7 on Page 17.

10            Does that call , likewise , take place on        the same

11 date?

12 A.         Yes.

13 Q.         Who are the parties to that call?

14 A.         John Martin and    Paulette     Martin.

15 Q.         Approximately what time does the call start?

16 A.         1:54 p.m.

17 Q.         What time does it end?

18 A.         2:17 p.m.

19 Q.         So that's roughly a 23       -minute call; is that

20 correct?

21 A.         About that, yes.

22 Q.         Are we going to listen to the entire call here?

23 A.         No.

24 Q.         There's a reference in the transcript that notes

25 transcribed from 12     :12 to 12 :57 .      C an you explain    to us




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 1 what that is?

 2 A.         That's the time    int o the call , 12 minutes      and 12

 3 seconds , that the transcript starts and 12 minutes                and

 4 57 seconds that the transcript ends.

 5 Q.         That's   not the time of the day    , but the    time

 6 into the call where the transcript begins           ?

 7 A.         Yeah.    That represent   s the duration.

 8 Q.         If we could play the call, please.

 9            (Audio recording begins playing at 11        :06 a.m. )

10            (Audio recording stops playing at        11: 07 a.m.)

11            BY MS. JOHNSTON:

12 Q.         Based upon your training and experience         , were

13 there any code words used during that conversation?

14 A.         Yes.

15 Q.         What were those code words?

16 A.         T-shirt beginning on the first line.

17 Q.         What page is that?

18 A.         Seventeen .

19 Q.         Is there a particular type of       T-shirt ?

20 A.         Th ere are two referenced in the transcript as a

21 starched    T-shirt an d a Downy T-shirt.

22 Q.         Based on your training and experience        , does that

23 have any significance to you?

24 A.         Yes.

25 Q.         Could you explain the significance of those two




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1 terms?

2 A.         The starched   T-shirt would refer to a hard

3 substance , that being starch making a shirt hard              , would

4 refer to crack cocaine       , which is a hard substance, rock

5 hard.

6            The Dow ny T-shirt , which would refer to the

7 fabric softener , would refer to a softer             T-shirt , and

8 that would refer to powder cocaine          , which is softer and

9 a powdery consistency.

10 Q.        Is that what   I recorded there on your chart?

11 A.        Yes.

12 Q.        In addition to that, based on your training and

13 experience and listening to that conversation, did you

14 form an opinion as to another portion of that

15 conversation?

16 A.        Yes.

17 Q.        Could you explain what it was about the

18 conversation and what your opinion is          ?

19 A.        The portion , I guess a little over halfway

20 through the transcribed portion        , where     John Martin

21 refers to the boy    , he' s instructing      Ms. Martin to bring

22 heroin as well as the crack and the powder cocaine.

23 Q.        In listening to that call, what if any          ,

24 observations did you make in terms of his manner of

25 speech?




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 1 A.       He was    fumbling   with the words, stuttering,

 2 try ing to get his    --

 3          MR. SUSSMAN :     O bjection .

 4          I think   that 's beyond the scope       of the

 5 expertise.

 6          THE COURT:     Well, rephrase your question.

 7          BY MS. JOHNSTON:

 8 Q.       What are some of the things you look for as an

 9 individual with your background an         d training and

10 looking -- listening to conversations to determine

11 whether or not it may be related to drug distribution              ?

12          MR. SUSSMAN :     S ame objection .

13          I don't think there's any kind of foundation for

14 that , Your Honor .

15          THE COURT:     O verruled.

16          THE WITNESS:      The flow   of the conversation where

17 people seem to be searching for words to say.

18 Stuttering, having a hard time getting their point

19 across to the other person       , and that's what it appears

20 Mr. Martin is doing in that line.

21          BY MS. JOHNSTON:

22 Q.       Based upon your training and experience           , what 's

23 the significance of that?

24 A.       That he's speaking in coded con         versations    about

25 drugs.




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 1 Q.        What was the word that you indicated referred to

 2 heroin?

 3 A.        Boy is referring to heroin.

 4 Q.        Based on your training and experience           , is that

 5 an unusual term to be used for the drug heroin?

 6 A.        No, it's a very common term.      Boy refer       s to

 7 heroin, girl is cocaine, and it's probably something

 8 I've seen in just about every wire I           've ever been on.

 9 Q.        On that afternoon after       Mr. Mangual     left , was

10 there also a conversation with          Mr. Bynum ?

11           If you could turn to A123 on         Page 18.

12 A.        Yes.

13 Q.        Approximately what time did that conversation

14 take place?

15 A.        3:02 p.m. on the     10 th.

16 Q.        If we could play that call, please,           Page 18,

17 A123.

18           (Audio recording begins playing at 11           :11 a.m. )

19           (Audio recording stops playing at 11          :11 a.m. )

20           BY MS. JOHNSTON:

21 Q.        Based on your training and experience            and the

22 pattern of these calls       , was there any     significant    to

23 you as a drug investigator as to that conversation?

24 A.        Yes.

25 Q.        Could you explain the significance?




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1 A.        Ms. Martin had just received a load of cocaine

2 from Mr. Mangual , and in this conversation she's

3 relating it to      Mr. Bynum that that's what she's got.

4 Q.        That would be through what phrase?

5 A.        I just called to say everything's okay.

6 Q.        Based on your training and experience          , the -- do

7 you have an opinion in terms of the length of calls or

8 communications that occurred between people engaged in

9 drug trafficking?

10 A.       Generally , you're going to find short

11 conversations.    That's not always the rule, but

12 generally conversations about drugs         , especially people

13 who do not have social relationship with each other              ,

14 are generally going to be short and to the point.

15 Q.       Based on your training and experience          , people

16 who have a social      relationship    with each other, the

17 portion of the conversation that has to do with drugs;

18 is that lengthy or short?

19 A.       No.   The part about -- could have a ten          -minute

20 call talking about the baseball game          , but the portion

21 dealing with drugs     , if there is a portion      , that will be

22 a very short part of the conversation.

23 Q.       Based on your training and experience          , why is

24 that?

25 A.       For fear of interception.      You're not going the




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 1 talk on the phone for a long period of time about

 2 something illegal.

 3 Q.       And after this conversation with           Mr. Bynum , was

 4 there another call a few moments later?

 5 A.       Yes.

 6 Q.       Calling your attention to           Page 19 and    Call B204.

 7 Who are the par ties to that call?

 8 A.       George   Harris and      Paulette    Martin.

 9 Q.       If you could play that, please.

10          (Audio recording begins playing at 11             :13 a.m. )

11          (Audio recording stops playing at 11           :13 a.m. )

12          BY MS. JOHNSTON:

13 Q.       Based upon your training and experience, this

14 call in isolation    , does it have any particular drug

15 meaning ?

16 A.       If it was just this call by itself,            I would say

17 no.

18 Q.       Are there a series of calls between            Mr. Harris

19 and Ms. Martin?

20 A.       Yes.

21 Q.       If we could go to the next call on Page 20,

22 A1 36.   Now are there a     series of calls involving the

23 parties that are in      A136 ?

24 A.       Yes.

25 Q.       Who are the parties in these calls?




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 1 A.       In this particular call       , it's Paulette       Martin's

 2 voice mail and Johnnie Mae S       hort.

 3 Q.       If we could begin by playing         A136 on Page 20.

 4          (Audio recording begins playing at 11             :14 a.m. )

 5          (Audio recording stops playing at 11          :15 a.m.)

 6          BY MS. JOHNSTON:

 7 Q.       If we could play the next call, B243 on Page 21.

 8 What time does this call take place in relation to the

 9 message that was just left?

10 A.       This was at 20 :50 hours , the first one -- 8 :50

11 p.m. and the first one was at 7        :45 p.m.

12          MS. JOHNSTON:     If we could play B244       .

13          (A udio recording     begin s playing at     11 :15 a.m. )

14

15          (Audio recording stops playing at 11          :15 a.m. )

16          BY MS. JOHNSTON:

17 Q.       If we could go to      B247 , which is on Page 24.

18          Wh at time is that in relation to the

19 conversation we just heard?

20 A.       This one is at 9 :06 p.m ., which is about six

21 minutes after the one we just heard.

22 Q.       Excuse me ?

23 A.       About six minutes after the one we just heard.

24 Q.       If we could play      B247.

25          (Audio recording begins playing at 11             :16 a.m. )




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 1            (Audio recording stops playing at 11        :16 a.m. )

 2            BY MS. JOHNSTON:

 3 Q.         Finally if we could play      B248 , which is on     Page

 4 26.    Likewise , does that call occur on March 10?

 5 A.         Yes, at 9 :15 p.m.

 6 Q.         Roughly less than ten minutes later?

 7 A.         Yes.

 8            (Audio recording begins playing at 11        :17 a.m. )

 9            (Audio recording stops playing at 11        :17 a.m. )

10            BY MS. JOHNSTON:

11 Q.         Based on your training and experience        , did you

12 form an opinion as to what was discussed and what took

13 place between     Ms. Short and     Ms. Martin that night?

14 A.         Yes.

15 Q.         Tell the ladies and gentlemen of the jury what

16 that is.

17 A.         Ms. Short called     Ms. Martin, ordered drugs      , and

18 then went over the to house and picked them up from

19 her.

20 Q.         What was the term used for drugs?

21 A.         One ticket.

22 Q.         On what pages did we see that?

23 A.         It's on Page s 20 and 21.

24 Q.         Now, there is also -- were you familiar         , based

25 upon surveillance at that location         , as to who was




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 1 residing at      Hayward ?

 2 A.       I'm sorry?

 3 Q.       Are you familiar with         , based on your

 4 surveillance , as to who actually resided at the              Hayward

 5 Avenue address during the time of the wiretap?

 6 A.       Yes.

 7 Q.       Who resided there?

 8 A.       When we initially went up         , it was   Ms. Martin who

 9 resided in the lower part of the residence and

10 Jac queline     Terrell   who resided in the ups      tairs portion

11 of the upper part     , and then    during the wire , John

12 Martin moved into the basement with            Ms. Martin.

13 Q.       So when you say       "the lower part ," you're

14 referring to the basement?

15 A.       That's correct.

16 Q.       Now , if you could write the page numbers down on

17 the board next to the word ticket.

18 A.       (Witness indicating.      )

19 Q.       If we could go back to          Call B244 on    Pages 22   and

20 23.   Who are the parties to this telephone

21 conversation?

22 A.       This is    Paulette    Martin and    Lavon Dobie.     Becky.

23 Q.       Again , is this just a portion         of the    call that

24 we're hearing?

25 A.       That's correct.




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 1 Q.        How long was the entire call?

 2 A.        Took p lace from 8 :57 p.m. to 9 :01 p.m ., about

 3 four minutes.

 4           THE COURT:   What call number is this        ?

 5           MS. JOHNSTON:    C all B244 on Page 22,          Your Honor.

 6           THE COURT:   Thank you.

 7           MS. JOHNSTON:    If we could play it please.

 8           (Audio recording begins playing at 11            :19 a.m. )

 9

10           (A udio recording stops playing at 11        :20 a.m.)

11           BY MS. JOHNSTON:

12 Q.        On Page 23, where     Ms. Dobie says , okay , so we've

13 done already talked     , so I'll be able to come in and

14 out .   B ased up on your training and experience          , is that

15 a significant statement?

16 A.        Yes.

17 Q.        Could you explain the significance?

18 A.        She's telling her    , I'm going to be able to come

19 over, get my drugs , and get out because we          've already

20 talked.

21 Q.        If we could turn to     B27 3, which is on        Page 27.

22 Who are the parties to this conversation?

23 A.        Paulette   Martin and   Ruby Harden .

24 Q.        Are there -- what date does it take place?

25 A.        March 11 of 2004.




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 1 Q.       Are there a series of calls that take place

 2 related to the first call,        B27 3?

 3 A.       Yes.

 4 Q.       Okay.   If we could play it       , we'll play those

 5 series of calls , then I ask you some questions

 6 beginning with     B27 3 on Page 27 .

 7          (A udio recording begins playing at 11         :21 a.m. )

 8          (Audio recording stops playing at 11          :2 1 a.m. )

 9          MS. JOHNSTON:     If we could play       B27 4 on Page 29.

10          (Audio recording begins playing at 11          :23 a.m. )

11          (Audio recording stops playing at 11          :23 a.m. )

12          MS. JOHNSTON:     Then if we could proceed to          Call

13 B305 on Page 3 4.

14          (Audio recording      begins playing at 11 :23 a.m. )

15          (Audio recording stop      s playing at 11 :24 a.m.)

16          MS. JOHNSTON:     And then if we can proceed to

17 call B306 on     Pages 36 and 37.

18          (Audio recording begins playing at 11          :25 a.m. )

19          (Audio recording stops playing at 11          :25 a.m. )

20          MS. JOHNSTON:     If we go could go to the next

21 call, B319 on     Page 38.

22          (Audio recording begins playing at 11          :25 a.m. )

23          (Audio recording stops playing at 11          :25 a.m. )

24          BY MS. JOHNSTON:

25 Q.       Who are the parties to this call         ?




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 1 A.         Ruby Harden    and Paulette     Martin.

 2 Q.         There's conversation in there by          Ms. Martin

 3 about waiting for her        boss and calling her      boss in

 4 reference to      Danker's   Furniture .    D o you recall those

 5 references?

 6 A.         Yes.

 7 Q.         In reviewing the intercepted calls         , in between

 8 these cal ls, were there any calls w         hen Ms. Martin

 9 called someone identified a        s her boss or someone at

10 Danker's?

11 A.         No, she didn't talk to anybody.

12 Q.         And based upon your training and experience,

13 what is    Ms. Martin and     Ms. Hard en trying to      arrange --

14 what is    Ms. Hard en trying to      arrange with    Ms. Martin

15 here.

16 A.         Ms. Harden    is try ing to arrange to meet         Ms.

17 Martin .    T hrough the series of calls       , they eventually

18 decide to -- that        Ms. Harden   is going to park at a

19 shopping center , go to a shopping center near             Ms.

20 Mart in 's residence , and Ms. Martin will meet her there.

21 Q.         When she make s a reference where she can't get

22 down in there , do you know what that refer           s to ?

23 A.         She's driv ing a tractor -trailer and she can't

24 get the tractor -trailer down into the neighborhood.

25 Q.         Now if we could go to call        B279 on Page 30.




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 1            (A udio recording begins playing at 11               :27 a.m. )

 2            (Audio recording stops playing at 11               :27 a.m. )

 3            BY MS. JOHNSTON:

 4 Q.         Now, did you recognize those voices?

 5 A.         Yes.    It's    Paulette     Martin and    Milburn     Walker.

 6 Q.         The same    Milburn       Walker you identified in one of

 7 the earlier calls we played yesterday?

 8 A.         Yes.

 9 Q.         There's a reference to          Ms. Martin leaving that

10 evening to go to          Philly .    Based upon your review of

11 this call and then later cal             ls, you determine whether

12 or not she actually left an            d went to     Philly ?

13 A.         No.    There was no indication that was true.

14 Q.         Now , if we could go to the next call,                B289 on

15 Page 31.     Who are the parties to this conversation?

16 A.         This is    Learley    Goodwin and       Paulette     Martin.

17 Q.         Did you , in reviewing them over the past few

18 days , notice any corrections you            'd like to make to the

19 transcript?

20 A.         Yes.

21 Q.         Could you tell us what that is?

22 A.         In the middle of that long paragraph on Page 31                     ,

23 you will see a " UI," which stands for unintelligible                      .

24 That should say " Becky."

25 Q.         Is it -- based on your experience, is it unusual




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 1 for you to make changes right up to the time you

 2 testify?

 3 A.         We've been through -- excuse me.         I know   I've

 4 been through these transcripts so many times            , and they

 5 probably, on their fourth or         fifth,   at least, review.

 6 I hate to say it , but you still find         , you know , small

 7 things that you miss.

 8 Q.         If we could play    B289 on Page 31.

 9            (Audio recording begins playing at 11        :29 a.m. )

10            (Audio recording s tops playing at 11       :3 2 a.m. )

11            BY MS. JOHNSTON:

12 Q.         Now, the    Tony referred to in this call      , did you

13 identify who the        Tony was?

14 A.         Yes.

15 Q.         Who was it?

16 A.         An thony Hall .

17            MR. WARD:     I'm sorry , Counsel , could you keep

18 your voice up , please ?

19            THE COURT:     I didn't hear the answer.

20            BY MS. JOHNSTON:

21 Q.         What was your answer?

22 A.         Anthony    Hall.

23 Q.         In this conversation or on Page 31       , this long

24 litany from       Ms. Martin, what is she referring to when

25 she refers to her brother's case getting thrown out and




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1 --

2 A.          She's talking about his arrest in        Prince

3 George's      County in    November of 2003.

4 Q.          In terms of relaying the conversation about              Tony

5 or Mr. Hall, what was         Mr. -- what was she        tell ing Mr.

6 Goodwin in regards to         Mr. Hall ?

7 A.          Ms. Martin is telling     Mr. Goodwin that       Mr. Hall

8 told Ms. Martin that if         Mr. Goodwin had to go to jail,

9 in other words, step back for a minute because of his

10 case in    November of 2003 in     Prince     George's    County,

11 then Mr. Hall would take care of            Mr. Goodwin's business

12 while Mr. Goodwin was in jail, if that's clear.

13 Q.         What is the reaction of        Mr. Goodwin ?

14 A.         He laughs because    Ms. Hall -- excuse me       ,

15 Mr. Martin --      Ms. Martin tells       Mr. Goodwin    that if he

16 actually said that       , he's going to put     him in    St.

17 Elizabeth's, which is        a psychiatric facility       , that if

18 he actually said , that that's where           Mr. Goodwin

19 belongs.

20 Q.         And the reference to my brother.      Who was

21 Ms. Martin referring to?       It's on Page 32      .

22 A.         Mr. Goodwin .    They refer to each other as

23 brother and sister.

24 Q.         Does that occur throughout the wiretap?

25 A.         Yes .




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1 Q.         There's also reference to       Becky and    J. R.    Do you

2 know who those individuals are?

3 A.         Yes.

4 Q.         Okay.   Who are they?

5 A.         I believe   J. R. is J. R. Rice and     Lavon Dobie.

6 Q.         Now, you used a phrase -- you refer to the

7 phrase , step back for a minute        .   B ased on your training

8 and experience w , hat does that refer to?

9 A.         That's a common --      I don't know if it's a street

10 slang.    Being stepped back means being put in prison                ,

11 put in jail.

12 Q.        And then there's a reference to that trigger on

13 that hammer.      Based on your training and experience           ,

14 does the term hammer have any significance?

15 A.        It's trigger on a gun     , to keep from pulling the

16 trigger on the gun that she had with her.

17 Q.        Now, on Page 33 , there is a reference to            Cuba.

18 A.        Yes.

19 Q.        Who was   Cuba?

20 A.        Cuba was the individual that we talked about

21 yesterday purchasing the drugs from           Mr. Goodwin      and Ms.

22 Martin.

23 Q.        That was in the call reference to sweet potato

24 pie or half a sweet potato pie?

25 A.        That's correct.




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 1 Q.        Now , if we could go to        Call B336 .

 2           THE COURT:     Ms. Johnston , would this be an

 3 appropriate time to take a recess               ?

 4           MS. JOHNSTON:    It would indeed            , Your Honor.

 5           THE COURT:    All right    .    W e'll recess until ten

 6 minutes of 12 :00 .

 7                  (Jury excused at 11:36 a.m.)

 8                  (Off the record at 11:36 a.m.)

 9                  (On the record at 11:52 a.m.)

10           MS. JOHNSTON:      Your Honor, it's the government's

11 intent to have      Sergeant     Sakala's   stay in the courtroom

12 while the surveillance officers are testifying.                   I

13 wanted to put that on the record            .

14           MR. MONTEMARANO :       That would be part of that

15 continuing objection thing.

16           THE COURT:     I believe it's appropriate that he

17 stay in the    courtroom .

18           THE CLERK:    Judge, are you ready for the jury             ?

19           THE COURT:     Y es.   Bring them in.

20                  (Jury returns       at 11 :56 a.m. )

21           THE COURT:    A ll right,      you may proceed.

22           BY MS. JOHNSTON:

23 Q.        Detective    Sakala , in addition to the calls with

24 Ms. Harden and      Mr. Walker , were there calls on April 11

25 between   Derrick     Bynum and Paulette            Martin?




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 1 A.        Yes.

 2 Q.        Now, there were a series of call        s that begin on

 3 March 11, at roughly 9      :20 in the evening     .

 4 A.        Yes.

 5 Q.        Calling your attention to       B336, Page 39.      If we

 6 could play that call      , please.

 7           (A udio recording begins playing at 11        :57 a.m. )

 8

 9           (A udio recording stops playing at 11        :57 a.m. )

10           BY MS. JOHNSTON:

11 Q.        Now, if we could go to the next call, B341.

12 That occur s how many minutes after the call we just

13 listened to?

14 A.        About five minutes     ; 9 :25 p.m.

15 Q.        If we could play B341.

16           (Audio recording begins playing at 11         :58 a.m. )

17           (Audio recording stops playing at 11         :58 a.m.)

18           MS. JOHNSTON:     Can we play B342 on Page 43?

19 That's less than ten minutes later?

20           (Audio recording begins playing at 11         :59 a.m. )

21           (Audio recording stops playing at 12         :00 p.m. )

22           MS. JOHNSTON:    And    B346 on Page 44, two minutes

23 later .   I f we could play that call.

24           (Audio recording begins playing at 12         :00 p.m. )

25




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 1            (A udio recording stops playing at 12          :00 p.m. )

 2            BY MS. JOHNSTON:

 3 Q.         Who are the parties to those calls?

 4 A.         Paul ette Martin    and Derrick    Bynum .

 5 Q.         Based upon your training and experience           , did you

 6 form an opinion as to what they were discussing?

 7 A.         Yes.

 8 Q.         What is that opinion?

 9 A.         They were making arrangements for            Mr. Bynum to

10 purchase cocaine from         Ms. Martin.

11 Q.         Could you point out what it was about the

12 various conversations that led you to that conclusion?

13 A.         Yes.   In the first call on       B336 , Mr. Bynum

14 refers -- is telling her         I'll -- you know what        I'll be

15 telling to get me, right?       She says she'll call him

16 back.   The next call on Page 41         , Ms. Martin refers to

17 the amount as being the $62 that            I usually loan you.

18 Sixty-two    is a common term for 62 grams of crack

19 cocaine.     A 62 is a very common street term.

20            She says she has to check and make sure that she

21 has it, and the next call, 342        , she --    Ms. Martin tells

22 Mr. Bynum that she does have it and that            Mr. Bynum says

23 he'll get it      in the morning .    A nd then the final call

24 on 346 , Ms. Martin just tells        Mr. Bynum that she will

25 be leaving by quarter of         9:00 in the morning , so he has




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1 to come before that.

2 Q.        What did you do as a result of those series of

3 telephone calls?

4 A.        Set up surveillance the next morning on             Ms.

5 Martin's residence.

6 Q.        Were you persona lly involve d in that

7 surveillance?

8 A.        Yes, I was.

9 Q.        Can you tell us approximately what time you

10 arrived there?

11 A.       A little after seven a.m.

12 Q.       What did you -- what observations -- where did

13 you arrive?

14 A.       810 Hayward    Avenue , Tacoma    Park , Maryland.

15 Q.       When you initially arrived there         , what

16 observations did you make?

17 A.       I s aw the residence,      Ms. Martin's vehicle was

18 parked -- the red      Mercedes was parked in front of it.

19 Q.       What happened after got there?

20 A.       Established surveillance at about 8          :13.   Mr.

21 Bynum showed up in a min      ivan.

22 Q.       Describe your observations.

23 A.       Mr. Bynum went into the residence and continued

24 on surveillance , and at approximately 8         :22 hours , so

25 ten minutes later    , he exit ed the     residence , returned to




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1 the min ivan and left.

2 Q.         You were looking -- were you looking at

3 something to refresh your recollection concerning the

4 specific times?

5 A.         Just the report for the specific times, yes.

6 Q.         Did you prepare that report?

7 A.         Yes, I did.

8 Q.         Now showing you what's been marked as           P-27 6.

9 Can you tell us what we're looking at in this

10 photograph?

11 A.        The red vehicle is      Ms. Martin's    red Mercedes

12 Benz facing the rear.      The    van parked directly in front

13 of the red    Mercedes is the van      Mr. Bynum showed up in

14 that morning.

15 Q.        P-27 7.

16 A.        Mr. Bynum walking up to the residence.            The

17 residence is , I believe , not pictured .          I t's off to the

18 right of the photograph.

19 Q.        P-278.

20 A.        Just another picture of       Mr. Bynum walking

21 towards   the residence.

22 Q.        Is that the residence      that you refer to?

23 A.        That's 810    Hayward   Avenue , yes.

24 Q.        And P-279.

25 A.        Another picture of      Mr. Bynum walking from the




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1 residence.

2 Q.         Now, when you observed him and looking at the

3 picture , was he carrying anything in his hand?

4 A.         Not tha t I could tell.       I would have to look         --

5 there's another picture --

6 Q.         Let me --     I'll continue with the pictures.

7 P-280.

8 A.         That's another picture of       Mr. Bynum and I can't

9 see his    hands in that photograph      , and off the top of my

10 head , I don't recall specifically if he had something

11 in his hand or not.

12 Q.        You mentioned that you believed he was ordering

13 62 grams of crack cocaine or cocaine base.         Based on

14 your training and experience, how large would 62 grams

15 of crack be?

16 A.        I'm trying to -- it would be a sandwich bag            ,

17 certainly something you could hold in your fist.          Much

18 smaller than a baseball but you could put it in your

19 pocket.    It's not big.

20 Q.        And P-28 1.

21 A.        That's a picture of      Mr. Bynum 's van.

22 Q.        And you were able to get the tag number on that

23 van?

24 A.        Yes , it's registered to him.

25 Q.        Do you know what address it's registered to him




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 1 at?

 2 A.       I'm sorry ?

 3 Q.       Do you know the address that the vehicle is

 4 registered to?

 5 A.       I believe it's     registered    to him at his     address

 6 on Ray Road.

 7 Q.       Now , did you make any      effort to stop     Mr. Bynum

 8 that morning when you observed him leaving?

 9 A.       No.   In fact , I think we were doing this just to

10 identify to make sure it was         Mr. Bynum coming over.

11 Q.       If you had an opinion that he was picking up 62

12 grams of cocaine base, why didn't you make an effort to

13 stop him at that time?

14 A.       To allow the investigation to continue.

15 Q.       Why is that important?

16 A.       To identify all     the participants and continue to

17 collect evidence against other people that at that

18 point we still didn't even know who they were.

19 Q.       If we could turn to B357       , which is on Page 45.

20 What is the date and time of this call?

21 A.       March 12, 2004 , at approximately 6        :53 a.m.

22 Q.       Is that actually before you arrived there for

23 your surveillance?

24 A.       Yes, j ust a little before.

25          (Audio recording begins playing at 12          :05 p.m. )




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 1          (Audio recording stops playing at 12              :06 p.m. )

 2          BY MS. JOHNSTON:

 3 Q.       If we could please play B357 on Page 45.

 4 A.       I think the call actually starts on Page 52.

 5 Q.       No, B357 on Page 45 is the beginning of the

 6 transcript.    Is this -- how long was this call?

 7 A.       The call was nine minutes and the portion on the

 8 CD only covers the last page starting on Page 52.

 9 Q.       I believe in the transcript books              , those other

10 -- other than Page 45,       Pages 46 through 51 should be

11 omitted from the transcript books          ?

12          THE COURT:    Y es, that's correct.

13          MS. JOHNSTON:     If we could start it now           , please

14          (A udio recording begins playing at 12             :06 p.m. )

15          (Audio recording stop      s playing at 12 :07 p.m. )

16          BY MS. JOHNSTON:

17 Q.       Who are the part ies in this conversation?

18 A.       Paulette   Martin and    Eugene       Bird .

19 Q.       Based on your training and experience              , what did

20 you determine was going on during the portion that

21 we've listened to?

22 A.       Mr. Bird 's ordering a quantity of cocaine from

23 Ms. Martin.

24 Q.       Can you tell us what portion of that

25 conversation refers to that and what terms?




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1 A.          Ms. Martin asks         Mr. Bird if he wants one or two

2 of the tickets.         Mr. Bird replies that he wants half of

3 the flavored stuff          .    Ms. Martin clarifies       , a small one

4 like Juanita        gets?       And then       Mr. Bird says half.     Half

5 the plate.      And then         Ms. Martin says, oh, just like the

6 one that     Juanita    got the last time           .   T hat would refer

7 to the drug purchase.

8 Q.          What are the codes that are use              d in that

9 conversation to refer to drugs?

10 A.         The first one         is the tickets , and then the

11 description of half the plate by                  Mr. Bird .

12 Q.         Okay.   If you could, write the page number next

13 to tickets up on that chart, Page 52.

14 A.         (Witness indicating.           )

15 Q.         And if you -- well, let me take the pen               .    W hat

16 was the other word that you said referred to drugs?

17 A.         Mr. Bird 's describing it as half the plate.

18 Q.         Half a plate?

19 A.         Half the plate.        Half of a plate.

20 Q.         And the page number?

21 A.         Fifty-two .

22 Q.         And back before when we discussed the call with

23 John Martin ordering the two                  T-shirts and the boy,

24 referring to heroin, that was on                  Page 17; is that

25 correct?      The reference to the boy.             Was that on the




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 1 same page?

 2 A.         Yes, it is.

 3 Q.         Okay.   Now , there is also a reference to

 4 flavored stuff.     Did that have any particular

 5 significance to you?

 6 A.         Cooked stuff.   Flavored.   Crack cocaine means

 7 cocaine base.

 8 Q.         As opposed to what?

 9 A.         Cocaine powder.

10 Q.         Is there any significance to the reference to

11 half a plate?

12 A.         When you cook -- a common way for cocaine powder

13 to be turned into a base i        s i t comes out in the form of

14 a small disk .      S ometimes they refer to it as a biscuit.

15 Obviously , it would resemble a plate.

16 Q.         Now , if we could go to the next call       , B380 on

17 Page 55.     When does this call take place in relation to

18 the call that we've just heard?

19 A.         The first call was at 6     :53 a.m.    This is at

20 11 :58 a.m. on March 12.

21            MS. JOHNSTON:     If we could play it    , please.

22            (Audio recording begins playing at 12        :10 p.m. )

23            (Audio recording stops playing at 12        :10 p.m. )

24            BY MS. JOHNSTON:

25 Q.         Was that the same two parties?




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 1 A.         Yeah , it was    Paulette     Mart in and Eugene    Bird .

 2 Q.         As a result of gett      ing that   call , was further

 3 investigation conducted?

 4 A.         With regard to ?

 5 Q.         Surveillance on that day        .

 6 A.         Yes.

 7            MS. JOHNSTON:        If I could ask this witness to

 8 step down , and I believe we will recall               Sean Deere to

 9 testify about the surveillance on March 12.

10            THE COURT:     All right.

11            (Witness excused from the stand at 12            :11 p.m. )

12            (Witness    Deere recalled at 12 :11 p.m. )

13                       FURTHER   DIRECT   EXAMINATION

14            BY MS. GREENBERG:

15 Q.         Sir, you remain under oath from last time            , and

16 I'm going to ask you if you can tell this jury a little

17 bit about your surveillance          .   D id you conduct     any

18 surveillance on March 12 of 2004?

19 A.         Yes, I did.     At approximately 1     0: 12 in the

20 morning , I set surveillance up at 810            Hayward .

21 Q.         Why did you do that on that day?

22 A.         I was directed by       Detective   Eveler to set up at

23 Paulette    Martin's residence because he had received

24 some phone calls , so we set up there for some important

25 meets.




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1 Q.          Could you tell the jury     , then , what address that

2 was?

3 A.          810 Hayward    in Takoma   Park.

4 Q.          And were you part of a team on that date again?

5 A.          Yes , part of the surveillance team.

6 Q.          And what was your role that date?

7 A.          To run the surveillance van and the video

8 equipment.

9 Q.          Could you tell the jury your first observation

10 on March 12, 2004 after you set up at 810            Hayward

11 Avenue , Takoma       Park , Maryland , and what time that first

12 observation was?

13 A.         At 10 :47 , Paulette    Martin pulled up at her

14 address    and had a male     passenger .     They both exit   ed the

15 vehicle and went into the residence.

16 Q.         Were you able to videotape that?

17 A.         Yes, I was.

18 Q.         Is that videotape part of what's been pre-marked

19 as Video 4- A?

20 A.         Yes.

21 Q.         Did you    -- a few weeks ago , did you review this?

22 A.         Yes.   Yes,   I did.

23 Q.         What was    Paulette   Martin driving at that point

24 in time?

25 A.         Her red    Mercedes.




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 1 Q.         What was your next observation?

 2 A.         At approximately 11     :53 , a green   Max ima , Maryland

 3 registration       MEK 36 4 pulled up and parked.        A black

 4 male exited that vehicle         , who was identified as       George

 5 Harris , went into the residence.

 6 Q.         And between 10 :47 and 11 :53, did you see anyone

 7 else come in or leave the residence?

 8 A.         Just Paulette      Martin and    John Martin.

 9 Q.         So going back to 10     :47 , you mentioned a      that

10 Paulette    Martin pulled       up in a red   Mercedes with a

11 passenger.     Who was that passenger?

12 A.         John Martin.

13 Q.         Between 10 :47 and your next observation at

14 11 :53 , did you observe whether or not anyone left the

15 residence    at 810    Hayward    Avenue?

16 A.         If I may refer to my notes        , please.

17 Q.         Sure.

18 A.         No, just at 10 :47 , red Mercedes pulled up, they

19 went in the residence         , and then 11 :53 , the green        Max ima

20 pulled up.     That's what       I have in my note   s.

21 Q.         Is it correct this video marked as            4- A is keyed

22 up to that 11 :53 time?

23 A.         I think so.

24 Q.         And your testimony is that no one left the

25 residence --       Paulette    Martin and   John Martin walked in ,




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1 but you didn't see anybody leave the residence?

2 A.          Correct.

3 Q.          Who was it that you identified pulling            up to the

4 residence     at 11 :53?

5 A.          George   Harris in a dark green       Max im a.

6 Q.          At this time , Your Honor , I would play          Video

7 4- A.

8             (Videotape begins playing at 12        :14 p.m. )

9             BY MS. GREENBERG:

10 Q.         Could you tell the jury what       we're looking at

11 here on    4- A?

12 A.         The green    Maxima park s in front of      Paulette

13 Martin's    Mercedes.     The black male identified as         George

14 Harris gets out , puts his jacket on         , walks inside the

15 residence.

16 Q.         Which door does he enter?

17 A.         In the side door.

18 Q.         Did you continue to make observations on this

19 residence?

20 A.         Yes.

21 Q.         Did you see that same individual leave?

22 A.         Correct.    Approximately 12   :02.

23 Q.         I'm sorry, what time did you -- if you look at

24 the videotape, approximately what time does this

25 individual leave the residence?           Are you refreshing




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 1 your recollection?

 2 A.         Yes, I'm sorry.       I'm sorry, 11 :57 he leaves the

 3 residence.         He's in there for four minutes.

 4 Q.         And is that reflected on this videotape?

 5 A.         Yes.

 6 Q.         Could you tell the jury when you see the same

 7 individual leave the residence?

 8 A.         It's George     Harris --     I'm sorry , that's    John

 9 Martin there , and he's get ting into           the red   Mercedes.

10 Q.         Does he depart the area?

11 A.         Eventually , George     Harris comes out and they

12 speak for a minute or so.

13 Q.         So based on your observations         , approximately how

14 long was    George     Harris in 810     Hayward   Avenue,    Takoma

15 Park, Maryland ?

16 A.         App roximately four or        five minutes.

17 Q.         Who is that individual?

18 A.         That's    George   Harris .    H e ca me out and he's

19 talk ing to       John Martin through the passenger side

20 window of     Paulette    Mar tin's red     Mercedes .

21 Q.         Just so the record is clear        , is this

22 approximately 11 :59?

23 A.         Yes.

24 Q.         And Mr. Harris is kneeling         by the red Mercedes?

25 A.         That's correct.




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 1 Q.        Who is he talking to?

 2 A.        John Martin.

 3 Q.        What's happening now?

 4 A.        George   Harris just finished talking to him         , and

 5 then he gets inside of his        green Maxima and both the

 6 red Mercedes and the      Maxima leave.

 7 Q.        What is your next observation during

 8 surveillance that date?

 9 A.        12 :02 , a Toy ota pulls up,     Maryland , Frank

10 William   Yankee , FWY 828 , pulls up at 12 :02.

11 Q.        What type of car was that?

12 A.        A Toyota .

13 Q.        What did you observe the        Toyota -- what happene d

14 with the Toyota ?

15 A.        I'm not exactly sure.     The     Toyota leaves at

16 12 :07.   I didn't know if somebody got out or not.

17 Q.        What happened next?

18 A.        At 2 :54 , the red   Mercedes returns to the

19 residence .    Paulette   Martin gets into the passenger

20 seat and leaves.

21 Q.        What is your next observation?

22 A.        At 18 minutes after     3:00 Paulette     Martin returns

23 by herself and she's driving the red           Mercedes and she

24 goes into the residence.

25 Q.        That would be at 810      Hayward   Avenue , Takoma




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 1 Park, Maryland?

 2 A.       That's correct.

 3 Q.       Did you make another observation that afternoon?

 4 A.       Yes.    At ten minutes to      4:00, a vehicle pulls

 5 up , has Pennsylvania tags      , EMD 0507 , and a female exits

 6 the vehicle and goes in the residence.

 7 Q.       Did you recognize that female?

 8 A.       No, I'm not sure who it was.

 9 Q.       When you didn't recognize someone on the film              ,

10 what would you do with the information?

11 A.       I would relay it to      Detective       Eveler , who would

12 verify who it was either        by the videotape or the

13 registration of the vehicle.

14 Q.       So is it fair to say based on your role in               the

15 investigation,     you couldn't identify everyone that you

16 saw?

17 A.       Not exactly everyone.

18 Q.       Is this tape that you reviewed cued up to the

19 ten minutes to     3:00 --

20 A.       I think so.

21 Q.       -- t ime that you talked about       ?

22          MS . GREENBERG :    Your Honor , I'd now play          Video

23 4- B.

24          (Videotap e begins playing at 12          :21 p.m. )

25          BY MS. GREENBERG:




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 1 Q.         If you could tell the jury what's depicted in

 2 this videotape.        I have ten minutes to       4:00; is that

 3 correct ?

 4 A.         That's correct.

 5 Q.         What is occurring here?

 6 A.         The vehicle with     Pennsylvania tags pul       ls up,

 7 parks in front of the red           Mercedes.   This is the one

 8 with the    Pennsylvania tags.

 9 Q.         This is the vehicle you spoke about        ,

10 Pennsylvania tag       EMD 0507?

11 A.         Correct.    EMD 0507.      And a fe male gets out , goes

12 into Paulette      Martin's residence.

13 Q.         If you could tell the jury your observations              ,

14 which door does she enter?

15 A.         The side door.

16 Q.         Now, is it reflected on this videotape           ,

17 Government's      Exhibit 4 -B, when this individual leaves

18 the residence?

19 A.         Yes.   She leaves it at 4     :33.

20 Q.         Did you terminate your surveillance shortly

21 thereafter?

22 A.         Correct .   A t 4 :45.

23            MS. GREENBERG :    No further questions        , Your

24 Honor .

25            (V ideotape stops at 12     :22 p.m. ).




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1             THE COURT:      A ny cross-examination?    Any cross?

2             MR. MARTIN :     Court's indulgence.

3                             CROSS-EXAMINATION

4             BY MR. MARTIN:

5 Q.          Officer, good day.       Anthony    Martin.    I represent

6 Mr. Le arle y Reed Goodwin.

7             Would it be fair to say that you were called to

8 assist   Task Force Officer         Eveler ?

9 A.          Yes.

10 Q.         At the beginning of this investigation          , or would

11 it be more towards the middle?

12 A.         I'm not sure exactly when his in        vestigation

13 started.

14 Q.         All right.     But in any event, the only time you

15 ever went to the        Hayward   residence was when you were

16 called by     Special    Agent Eveler ; is that correct?

17 A.         That's correct.

18 Q.         So it would be fair to say that as far as you

19 know anyway, there wasn't a 24         -hour surveillance on

20 that residence; correct?

21 A.         I can't say if there was or was not 24          -hour

22 surveillance.

23 Q.         Well , let me ask you this     :    You said you were

24 part of the       Major Narcotics    Section of the      Prince

25 George's    County police; correct?




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1 A.        That's correct.

2 Q.        How many officer s are in that section?

3 A.        In my section?      Sixteen?     I don't know.     Close

4 to 20.

5 Q.        Close to 20?

6 A.        Yes.

7 Q.        It would be fair to say      , then , you would know

8 everybody who's in that section, right?

9 A.        Yes.

10 Q.       If other s were    work ing with    Special   Agent

11 Eveler , you would know about that        ; right ?

12 A.       Yes.

13 Q.       And were there any others working this

14 particular investigation other than you?

15 A.       That's correct.

16 Q.       So you were the only one?

17 A.       No.    Others were working besides me.

18 Q.       Were others tasked with the responsibility of

19 taking videos in addition to you?

20 A.       That's correct.

21 Q.       In light of the fact that others were tasked

22 with that responsibility, did you have opportunities to

23 debrief with them or talk to them about their

24 observations?

25 A.       Yes.




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 1 Q.         Would it be fair to say       , then , that there were

 2 hundred s of hours     duri ng the course of this

 3 investigation when there was no surveillance?

 4 A.         I couldn't tell you if there was or was not

 5 surveillance at any given time           , how long or --    I can

 6 only know     I did.

 7 Q.         Well , you had other investigations going on          ;

 8 right ?

 9 A.         Yes.

10 Q.         You have a limited amount of vans        ; right ?

11 A.         Yes.

12 Q.         You have a limited amount of video         cameras;

13 right ?

14 A.         Define limited amount     .    W e have several video

15 cameras.

16 Q.         You don't have an in    exhaustible     supply of video

17 cameras ; do you?

18 A.         We have several video cameras.

19 Q.         How many is several?

20 A.         We might have ten.

21 Q.         You might have ten   , and Prince      George's   County

22 has , what , 700 ,000 residents?

23 A.         I think closer to 800     ,000.

24 Q.         800 ,000 residents , and you're      responsible     for

25 the entire county; right?




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1 A.          That's correct .

2 Q.          You didn't devote all ten        cameras     to this

3 particular house ; did you?

4 A.          Probably not.

5 Q.          Probably not or you didn't       ?

6 A.          Look, we have a set amount of cameras.         When        I

7 did surveillance , I had a camera .              T hat's all   I can

8 testify to.

9 Q.          That's all you know?

10 A.         Yes.

11 Q.         But this wasn't the only investigation             ; right ?

12 A.         As far as    I'm concerne d.

13 Q.         Right?

14 A.         No , I have other investigation         s.

15 Q.         The other 19 or 20 off    icers have other

16 investigations going as well        ; right?

17 A.         Correct.

18 Q.         They had other surveillance          s to do as well;

19 correct?

20 A.         I can't testify, but probably.

21 Q.         So wouldn't it be fair to say that this place

22 wasn't watched 24 hours a day?

23 A.         I can't testify to that        it was or was not

24 watched 24 hours a day       .   I can only testify to what           I

25 watched    and the     days I watched.




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 1 Q.       All right .      T hen with respect to what you

 2 watched , you can't say whether or not there were other

 3 contacts taking place at that residence other than the

 4 people that you saw in that video         ; right?

 5 A.       I don't understand the question.

 6 Q.       Well --

 7 A.       Were there other people --

 8 Q.       Perhaps there were other people coming and

 9 going?    You wouldn't     know that ; would you?

10 A.       If I wasn't there , it's only lo gical .

11 Q.       You wouldn't have been th       ere unless you were

12 called   by the agent ; correct?

13 A.       Yeah , I was called by the agent.

14 Q.       You don't work 24 hour      s a day , so.

15          MS. GREENBERG:       Your Honor , could the witness

16 finish his answer     .

17          THE COURT:       L et him finish.

18          MR. MARTIN:      The witness may not have understood

19 the question , so I was going to repeat it.

20          BY MR. MARTIN:

21 Q.       You would not gone there unless you were called

22 by the special agent involved in the investigation;

23 right?

24 A.       That is correct.

25 Q.       So you wouldn't know what else is taking place




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 1 there unless you're called; right?

 2 A.       Correct.    Unless    I'm there,      I won't know what's

 3 going on.

 4 Q.       Thank you, sir.

 5          MR . MARTIN:     I have no further questions       , Your

 6 Honor.

 7          THE COURT:     Any other    cross ?

 8          MR. HALL:    No questions    , Your Honor .

 9          MR. MITCHELL:     N o, Your Honor .

10          MR. WARD:      A couple,   Your Honor.

11                          CROSS-EXAMINATION

12          BY MR. WARD:

13 Q.       Detective    Deere , do I understand that your sole

14 involvement in this case was to go out upon call or

15 direction and make observations and            --

16 A.       That's correct.

17 Q.       In other words , do surveillance?

18 A.       Correct.

19 Q.       All right , sir.     Now before you started going

20 out and doing surveillance, were you           , for example ,

21 shown photographs in a book of people who were

22 suspected of being involved in this case            ?

23 A.       I can't recall at this time        , but sure , during

24 the investigation       I've seen photographs of people.

25 Q.       During the investigation.      But let's take       , for




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1 example , George        Harris, because you testified about

2 George    Harris a couple of times.        Perhaps your eyes are

3 better than mine , but I didn't really see much of

4 George    Harris on the screen        .

5             But in any event , when you saw a person you're

6 testifying now is         George    Harris , when you first saw

7 him , did you know who it was?

8 A.          I'm not sure    if I knew who it was at the time.

9 Q.          When you went back, you showed the video to

10 other people; is that right?             And they told you that's

11 George   Harris?

12 A.         No.     I've seen a picture of     George    Harris.

13 Q.         Afterwards.    Not before     ; right ?

14 A.         I'm not sure if it was before or after.             I knew

15 that that car belonged to him and            I had seen a picture

16 at a certain time that           I can testify that    , in fact ,

17 that was    George     Harris.

18 Q.         With respect to some of the people that you have

19 talked about in observations, when you first saw them                ,

20 you didn't know who they were.

21 A.         That's not true.        I might have --     I knew who

22 Paulette    Martin was before        I saw her.

23 Q.         Yeah.

24 A.         I had seen her picture before          I saw her

25 physically.        I can't say that that happened the same




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 1 with George      Harris or not.     During the investigation        ,

 2 I've seen a picture of        George    Harris and   I can testify

 3 that that was him that        I saw that day.

 4 Q.         But you cannot say whether that was before or

 5 after you saw      George   Harris , the person you now believe

 6 to be George      Harris , in your surveillance; is that

 7 correct?

 8 A.         I would say more that it was before.       Before        I

 9 physically saw him      , I knew who he was.

10 Q.         The last video , you were shown a female arriving

11 in a Pennsylvania -- a car with            Pennsylvania tags.   Who

12 was that ?

13 A.         I do not know .    I can't remember what her name

14 was.   I can't testify to who she is right now.

15 Q.         You didn't know at       that time --

16 A.         No.

17 Q.         -- t hat you saw her ?

18 A.         Correct.

19 Q.         And you haven't -- as far as you recall          , you

20 haven't learned her name s         ince?

21 A.         I can't recall her name.

22 Q.         All right.   Thank you sir very much.

23            THE COURT:   Any further cross?

24            All right.   Any re     direct ?

25            MS. GREENBERG:    No,     Your Honor .    M ay the witness




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 1 be excused ?

 2            THE COURT:     Yes, he may          .   I s he going to be

 3 recalled ?

 4            MS. GREENBERG:         I don't believe so         , Your Honor.

 5            THE COURT:     All right       .     Y ou may be excused     .

 6 Thank you very much       , Officer .

 7            (W itness excused at 12            :31 p.m. )

 8            (Witness    Sakala     resume s the stand at 12 :31 p.m. )

 9                       FURTHER    DIRECT       EXAMINATION

10            BY MS. JOHNSTON:

11 Q.         Sergeant    Sakala , I may have put the cart before

12 the horse in this instance.           Were there also calls

13 intercepted with        Mr. Harris on the morning of March 12

14 prior to the time that we observed him on the video?

15 A.         Yes.

16 Q.         Would those be calls           A168 on     Page 53 and B372 on

17 Page 54?

18 A.         Yes.

19 Q.         During the course of this -- in reviewing those

20 call s, were there any -- was there any code words used

21 in either of those two telephone conversations?

22            MR. McKNETT :        Your Honor , could         I have the --

23            MS. JOHNSTON:        Page 53        and 54 are the two calls

24 A168 and     B37 2.

25            MR. McKNETT :        T hank you.




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1            THE WITNESS:     I do not see any codes words

2 specifically.

3            BY MS. JOHNSTON:

4 Q.         You heard   Detective   Deere testify that        Mr.

5 Harris was in the house for a very brief period of

6 time.

7            Do you recall that testimony?

8 A.         Yes.

9 Q.         Based on your training and experience         , is there

10 any significance to that fact?

11 A.        Yes.

12 Q.        In referring to call       A168 and    B37 2, in reviewing

13 the call s, did you determine whether or not there was a

14 pattern and practice between          Ms. Martin and several

15 individuals including       George    Harris and    Mr. Bird and

16 others?

17 A.        Yes.

18 Q.        Can you describe that pattern that you noticed?

19 A.        People would call her to see if they were home.

20 Sometimes they would use code words to identify

21 specific amount s of cocaine         -- or excuse me , a specific

22 amount of drugs or type of drugs.        They would then come

23 by the residence .       T hey would stay for a very short

24 period of time and then they would leave the residence.

25 Q.        Based on your training and ex         perience,   what's




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1 the significance of that?

2 A.        It's indicative of drug trafficking.

3 Q.        Now, in addition to that, did you see the video

4 that was played during          Mr. Deere 's testimony concerning

5 the female operating a car with          Pennsylvania tags?

6 A.        Yes.

7 Q.        Did you recognize that female        ?

8 A.        Yes.

9 Q.        Who was that?

10 A.       Gwendolyn    Levi .

11 Q.       During the same time period, around March 12,

12 March 11, did you intercept telephone calls between                Ms.

13 Martin and      Ms. Levi   that are not included in the

14 transcript book?

15 A.       Yes.

16 Q.       If you could tell us for what reason we didn't

17 include all of the calls between all of these people in

18 the transcript books.

19 A.       For expediency , there are literally          -- I think

20 we intercepted around 10        ,000 calls , and we would be

21 here a long time if we played calls that were not

22 pertinent to this case or not germane.

23 Q.       Based on those -- on intercepted calls between

24 Ms. Martin and      Ms. Levi, including calls that we        're

25 going to hear over the next few day         s, did you form an




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 1 opinion as to what       Ms. Levi was doing at       Ms. Martin's

 2 house?

 3 A.        Yes .

 4           MR. WARD:     O bjection , Your Honor , as to those

 5 calls he's already said were not pertinent.

 6           THE COURT:    Well, approach the bench        .

 7                   (At the bar of the Court.)

 8           MR. WARD:     I'm not sure    I understand what the

 9 government is trying to do here        , but I suspect some

10 ulterior m otive.      He has testified that h       e had many,

11 many calls that were not pertinent         .     T he question then

12 was , well , based on the calls that you heard              and the

13 calls that have been transcribed an            d the other call s,

14 if they're not pertinent       , they can't      -- he can't form

15 any bases for his opinion.

16           MS. JOHNSTON:      I didn't ask him about any

17 non-pertinent cal      ls.   I asked him if there were calls

18 between some of the parties       , including      Ms. Martin and

19 Ms. Levi , that are not included in the transcripts                  and

20 the calls we're presenting here today            , and he said ,

21 yes , they were .      I said , why weren't they included        .     He

22 said , for expediency , we didn't include all of the

23 calls .    I asked him , well , based upon the calls and the

24 calls we're going to hear subsequent to this time               , did

25 you --    during the course of the next few days            , did you




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 1 have an opinion as to what          Ms. Levi and       Ms. Martin were

 2 doing .

 3           THE COURT:     It seems to me       you ought to have him

 4 limiting his testimony to interpretation of the lines

 5 being used by the parties.        If he      's going to state that

 6 based on several conversations he heard code language

 7 used which was consistent with that used by those

 8 engaged   in the drug trade, he can say that             .   B ut I

 9 think we should try to steer away from             giv ing an

10 ultimate opinion.      So that's -- to that extent, I will

11 sustain the objection      .

12                         (B ack in open court.      )

13           BY MS. JOHNSTON:

14 Q.        Detective    Sakala , based upon the intercepted

15 calls you reviewed between          Ms. Levi and       Ms. Martin , did

16 you form an opinion as to what            Ms. Levi and       Ms. Martin

17 were engaged in on that date in            March of 2003?

18 A.        Yes.

19 Q.        What was it about their conversation that led

20 you to that conclusion?

21 A.        The conversations identified          Ms. Levi as someone

22 who supplies drugs to          Ms. Martin.

23 Q.        What was the language or code that was being

24 used in their conversation?

25 A.        I believe primarily they identified the drugs as




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1 tickets.

2 Q.          In addition    to that , did you have occasion to

3 review items that were seized from             Ms. Levi and     Ms.

4 Levi's residence on or about April 23 o            r 24?

5 A.          Yes.

6 Q.          What do those items include?

7 A.          Her residence was a heroin processing lab for

8 packaging and cutting heroin.

9 Q.          Was that consistent with your opinion of what

10 was going on in the telephone calls?

11 A.         Yes.   Ms. Levi was supplying heroin to           Ms.

12 Martin.

13 Q.         In fact, are there -- will we eventually get to

14 some of those call       s that we've included in this

15 transcript?

16 A.         Yes.

17 Q.         The calls that are being presented to the jury?

18 A.         Yes.

19 Q.         Now , if we could go to page -- to call           B38 4 on

20 Page 56    and 57.   Who are the parties to this call           ?

21 A.         Reece Whiting and     Paulette   Martin.

22 Q.         Again , taking place on March 12; is that

23 correct?

24 A.         Yes, at 12 :57 p.m.

25 Q.         If we could play it    , please.




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 1            (Audio recording begins playing at 12            :38 p.m. )

 2            (Audio recording stops playing at 12            :38 p.m. )

 3            BY MS. JOHNSTON:

 4 Q.         Based upon your training and experience, do you

 5 know what    Mr. Whiting was asking for when he asked if

 6 she had heard anything?

 7 A.         Yes.

 8 Q.         What is that?

 9 A.         He's referring to one of two things.              I can't

10 make a determination of exactly which one it is.             He's

11 referring to either        --

12            MR. HALL:    Object , Your Honor.       He doesn't know

13 which of these two things it is          .    I don't think he

14 should be expressing an opinion          .

15            THE COURT:   D oes he have an opinion or is he

16 speculating ?

17            MS. JOHNSTON:        Your Honor , I believe he has an

18 opinion.

19            THE COURT:   If he has an opinion        , I'll hear the

20 opinion.

21            BY MS. JOHNSTON:

22 Q.         What is your opinion?

23 A.         He's referring to either          Mr. Pernell    Philpot

24 returning from     California , or Ms. Tiffany         Vessels

25 returning from     Texas.




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 1 Q.       Do you have an opinion as to what             Mr. Ph ilpot

 2 and Ms. Vessels were transporting at that time              ?

 3          MR. HALL:       Objection , Your Honor.

 4          THE COURT:      Overruled.

 5          THE WITNESS:      They were both obtaining cocaine

 6 from different sources       .

 7          MS. JOHNSTON:      Now , if we could move on to the

 8 next call,      B46 6.   What date and time does this call

 9 take place?

10 A.       This was on March 13 at approximately 10               :54 in

11 the morning.

12 Q.       Are there a series of calls that are related to

13 this one?

14 A.       Yes.

15 Q.       If we could play        B46 6, please.

16          (Audio recording begins playing at 12            :40 p.m. )

17          (Audio recording stops playing at 12            :40 p.m. )

18          BY MS. JOHNSTON:

19 Q.       And again , who are the par ties to           that call?

20 A.       Derrick     Bynum and Paulette     Martin.

21 Q.       If we could go to next call         B467 .     What time

22 does that call take place in relation to the one we

23 just heard?

24 A.       The first one was at 10       :54 a.m.       This is eight

25 min utes later at 11 :02 a.m.




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 1 Q.        If we could play it     , please.

 2           (Audio recording begins playing at 12          :40 p.m. )

 3

 4           (Audio recording     stops playing at 12     :41 p.m. )

 5           BY MS. JOHNSTON:

 6 Q.        Was that the call with the same parties?

 7 A.        Yes .

 8 Q.        If we could go     to call   B47 1 on Page 6 2.     Is this

 9 call , likewise , on the same day?

10 A.        Yes, it is.

11 Q.        And approximately how soon after          Mr. Bynum

12 ex plains his problem to       Ms. Martin is this call made?

13 A.        Approximately ten minutes later        , 11 :13 a.m.

14 Q.        And the parties to this call?

15 A.        This is   Paulette   Martin and     Luis Mangual .

16 Q.        If we could play it     , please.

17           (Audio r ecording begins playing at 12         :41 p.m. )

18           (Audio recording stops playing at 12         :42 p.m. )

19           BY MS. JOHNSTON:

20 Q.        Is there a related call to that on Page 66,

21 B48 7?

22 A.        Yes.

23 Q.        How soon after the preceding call does this one

24 happen?

25 A.        This is about an hour and a half later          , at 12 :39




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 1 p.m.

 2 Q.       If we could play this call        , please.

 3          (Audio recording begins playing at 12           :42 p.m. )

 4          (Audio recording stops playing at 12          :43 p.m. )

 5          BY MS. JOHNSTON:

 6 Q.       And A19 1 on Page 67.       Is t hat , likewise , with

 7 the same parties?

 8 A.       Yes.

 9 Q.       What time does that occur?

10 A.       2:48 p.m ., about two hours after the first one.

11 Q.       If we could play that      , please.

12          (Audio recording begins playing at 12           :43 p.m. )

13          (Audio recording stops playing at 12          :43 p.m. )

14          BY MS. JOHNSTON:

15 Q.       During that afternoon -- morning and afternoon

16 on March 13, was there also a call involving              Mr. Bird?

17 Calling your attention to         B47 2 on Pages 64    and 65 .

18 A.       Yes.

19 Q.       If we could play this as well.

20          (Audio recording begins playing at 12           :44 p.m. )

21          (Audio recording stops playing at 12          :45 p.m.)

22          BY MS. JOHNSTON:

23 Q.       That call with      Mr. Bird occurs during a series

24 of calls with     Mr. Mangual ?

25 A.       Yes.




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 1 Q.         Now , if we could go back to call        B47 1 on

 2 Page 62.     In terms of the series of calls between             Ms.

 3 Martin and        Mr. Mangual   on March 13, did you form an

 4 opinion as to what they were arranging and what was to

 5 be dropped off on March 13 of 2002?

 6 A.         Yes.

 7 Q.         And what 's that opinion?

 8 A.         Mr. Mangual    was delivering a kil     ogram of cocaine

 9 to Ms. Martin.

10 Q.         Calling your attention to         B47 1, can you tell     us

11 what about that call brings          you to that conclusion?

12 A.         The first -- the fourth line down        , Paulette

13 Martin said that book was really good that you let me

14 read the other day.       Do you have any        more?   The other

15 day , she referred to a box of envelopes           , not a book.

16 Now she 's calling the box of e        nvelopes    a book , which is

17 certainly an indication to me that the book she's

18 talking about and the box of envelopes are not books or

19 boxes of envelopes.

20            She then goes on to relay the story that the

21 person that she's waiting on is a guy whose clutch went

22 out , which refers back to         Derrick   Bynum , who was on his

23 way over to her house to pick up when his -- he called

24 her and told        Ms. Martin that his clutch went out.

25 Q.         Based on your training and experience         , what was




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 1 Mr. Bynum on his way over there to pick up?

 2 A.         To pick   up the cocaine    that Ms. Martin was going

 3 to obtain from       Mr. Mangual .

 4 Q.         Now, in reference to that call       , I believe you

 5 said what term refer       s to drugs .

 6 A.         In this call on Page 62     , she's referring to       it

 7 as a book.

 8 Q.         Does that appear in another one of the          Mangual

 9 calls that we've just played?        What      are the pages of

10 that reference?

11 A.         On Page 66 , Paulette     Martin tells     Mr. Mangual

12 that she can -- he can go ahead and bring the book for

13 her to read.

14 Q.         And the page that that is first reference          d is

15 what?

16 A.         Sixty-two .

17 Q.         Now , during those --     during   that same time

18 period , there's also a call from           Eugene   Bird; is that

19 correct?

20 A.         That's correct.

21 Q.         Now, that call , were you able to identify the

22 individuals they were discussing?

23 A.         Yes .

24            MR. SUSSMAN :     Ms. Johnston , could you keep your

25 voice up please?




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1            MS. JOHNSTON:      Thank you again     , Mr. Sussman .

2            MR. SUSSMAN :      M y pleasure.

3            BY MS. JOHNSTON:

4 Q.         Who were they discussing in          B47 2 on Page 64?

5 A.         On Page 64 , they're talking about         Estelle       Brim

6 and Steve Brim, Steve Brim's mother.

7 Q.         Steve --

8 A.         -- Brim's mother.

9 Q.         Estelle    Brim?

10 A.        No, no, no they're talking about          Estelle       Brim ,

11 who is the    Estelle   that they're talking about on the

12 fifth line down , when you talk to           Estelle,   this i s

13 Estelle   Brim.     Further down the page      , she's talking

14 about Steve Brim's mother.

15 Q.        Okay.   And in that discussion they're talking

16 about a suit or suit for someone and some money               ?

17 A.        Correct.

18 Q.        Based on your training and experience          , does that

19 have anything do with drug trafficking?

20 A.        Nothing to do with drug trafficking.

21 Q.        The significance of the call is what portion of

22 that call?

23 A.        The second page of the call on Page 65 where                Mr.

24 Bird orders twice of the same thing that he got before.

25 Q.        Now, also on that evening of March 13, was there




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 1 another call with      Mr. Bynum ?    Calling your attention to

 2 B515 on Page 68.

 3 A.        Yes.

 4 Q.        If we could play that call       , please.

 5           (Audio recording begins playing at 12          :49 p.m. )

 6           (Audio recording stops playing at 12         :49 p.m. )

 7           BY MS. JOHNSTON:

 8 Q.        Based upon your training and experience, what is

 9 Ms. Martin telling      Mr. Bynum in that call?

10 A.        She now has the cocaine for him to come and get

11 it.

12 Q.        Was there surveillance conducted on that date?

13 A.        Yes.

14           MS. JOHNSTON:      Your Honor, at this time we       'd --

15 I don't know if the       Court wants -- we'll call a

16 surveillance agent at this time to discuss March 13.

17 That is   Detective    Scheirer , I believe.

18           THE COURT:    Is this just one surveillance?

19           MS. JOHNSTON:    Just the surveillance on March 13

20 at this time.

21           THE COURT:    If we can do this in ten minutes,

22 that's fine.

23           MS. JOHNSTON:      I don't know .     Your Honor , I 've

24 been advised     Detective   Scheirer    is in front of     Judge

25 Messitte , I believe, f or another court proceeding            , so




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 1 we will play      at least   another call    that relates to the

 2 same transaction .

 3            THE COURT:   All right.

 4            BY MS. JOHNSTON:

 5 Q.         Was there a contact between       Ms. Martin and     Mr.

 6 Mangual    the morning of the next day,        March 14?

 7 A.         Yes.

 8 Q.         Would that be the telephone B563 on Page 69?

 9 A.         Yes.

10 Q.         If could play that call     , please.

11            (Audio recording begins playing at 12         :51 p.m. )

12            (Audio recording stops playing at 12        :51 p.m. )

13            BY MS. JOHNSTON:

14 Q.         Based upon your training and experience         , what

15 was the significance of this call?

16 A.         Ms. Martin was checking with       Mr. Mangual     to make

17 sure the money she gave him for the cocaine the

18 previous    day is the correct amount.

19 Q.         Did you determine   , based on your training and

20 experience of the review of these calls            , their use of a

21 particular phrase in terms of their drug activity?

22 A.         With regard to this call?        I don't understand.

23 Q.         We've seen   previously   the use of the phrase

24 everything's okay, everything's right.         Did that have

25 any significance to you in terms of these calls?




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 1 A.         In some calls , it does.        In this particular

 2 case , she's just saying are we straight.           In other

 3 words , she's check ing to make sure the money she gave

 4 him yesterday was counted correctly and that he agrees

 5 with that count and he confirms that everything is

 6 straight.

 7            MS. JOHNSTON:     Your Honor , this might be an

 8 appropriate place to break while hopefully we'll have

 9 Detective    Scheirer     so we can pick       up with     the

10 surveillance.

11            THE COURT:    All right    .    W hy don't we take a

12 break until     2 o'clock.

13                  (Jury excused at 12:52 p.m.)

14                  (Off the record          at 12 :52 p.m. )

15                  (O n the record at 2        :0 4 p.m. )

16                  (J ury returns at 2 :04 p.m. )

17            MS. GREENBERG:     Your Honor , we've got             Detective

18 Scheirer    and Detective     Grant both at the same time.

19 Detective    Scheirer     was released      and it made more sense

20 if we could call        Detective    Grant first.

21            THE COURT:    All right    .    Y ou may proceed.

22 Thereupon,

23                             RAPHAEL   GRANT ,

24 having been called as a witness on behalf of the

25 Plaintiff , and having been first duly sworn by the




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1 Courtroom Deputy, was examined and testified as

2 follows:

3                            DIRECT   EXAMINATION

4             BY MS. GREENBERG:

5 Q.          Would you state your name and spell your last

6 name for the court reporter          , please?

7 A.          Detective    Grant , G R A N T, ID 2437 , of the

8 Prince    George's      County   Police Department.

9 Q.          What is your position with the           Prince   George's

10 County   Police Department?

11 A.         I'm a detective in the        Narcotic    Enforcement

12 division.

13 Q.         How long have you been so employed?

14 A.         About approximately      one and a half years.

15 Q.         Could you tell the jury some of your duties and

16 responsibilities as a narcotics officer with the                  Prince

17 George's    County     Police Department?

18 A.         To investigate major      traffickers      in Prince

19 George's    County , which is doing search warrants           , doing

20 undercover buys , and assisting street           -level buy s with

21 the Street Narcotic        Enforcement    Division.

22 Q.         Have you also , as part of your duties and

23 responsibilities , done search         warrants     -- searches

24 without warrants , probable cause searches?

25 A.         Yes, ma'am.




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1 Q.          How often do you do those?     On a daily?   Weekly?

2 Monthly basis?

3 A.          Weekly basis.

4 Q.          How about surveillances?

5 A.          Surveillance on a daily basis.

6 Q.          Now, I'd like to call you today for two

7 purposes .      I understand you did a number of

8 surveillances .       I'd like to talk to you about your

9 March 13, 2004 , surveillance , but if         I could back you

10 up a couple of years before that and talk a lit            tle bit

11 -- it's a lit tle bit out of order        , but were you

12 involve d with a Detective      Martini    involving some -- a

13 search and an arrest on November 25, 2003?

14 A.         Yes, I was.

15 Q.         What role did you play in connection with those

16 events on November 25, 2003?

17 A.         On that date , my initial rol e was to --        I had to

18 speak --    the source of my vehicle       -- the confidential

19 informant in my vehicle     , and my initial      role on that

20 day was    just to control the confidential informant.

21 Q.         What happened on that date?

22 A.         On that date , the confidential informant ordered

23 up a quantity of cocaine from a supplier and that

24 supplier brought the cocaine out to a location in

25 Prince    George's   County , Maryland.




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 1 Q.        Do you remember the location?

 2 A.        Yes.     It was    Prince George's     Plaza in

 3 Hy attsville , Maryland.

 4 Q.        What role , if any , did you play in on the scene

 5 at the    Prince    George's     County    Plaza in   Maryland?

 6 A.        On that -- after the stop was done, the

 7 detectives were searching the vehicle             , could not find

 8 the drugs .      I then went over to the vehicle          , talked to

 9 a teenage female who was there             , and from talking to

10 her , I discovered where the drugs were at.

11 Q.        Who was the teenage female?

12 A.        It was the daughter of the target of -- of

13 Detective     Martini 's inv estigation .

14 Q.        Do you remember the target's name?

15 A.        I believe     it was    Goody.    Something to that

16 nature.

17 Q.        Could you explain to the jury what it means when

18 you find something?         How did you find it?      What does

19 that mean , in your experience in this case?

20 A.        How 'd I find the --

21 Q.        What do you mean by "find"?

22 A.        When I discovered from talking to the female

23 where the drugs were located,              I then informed   Detective

24 Martini where       the drugs were , I went over and         I found

25 the item , which was a         Pepsi bottle , and pointed out to




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 1 Detective    Martini,     and detective    Martini      recovered the

 2 item which had the cocaine inside of              it.

 3 Q.         Did you in any way move the item before you

 4 found it?

 5 A.         No, I didn't.

 6 Q.         Who actually took the item out of the car?

 7 A.         Detective    Martini .

 8 Q.         Were any of items moved at all before they were

 9 found?

10            MR. MARTIN:     Objection.   Leading     .    So rry for not

11 standing .

12            THE COURT:     S ustained.   Ask it     in a different

13 way .

14            BY MS. GREENBERG:

15 Q.         Where was the    Pepsi bottle before you found it?

16 A.         It was in the vehicle.

17 Q.         Was it in the vehicle when you first approached

18 to search the vehicle?

19 A.         Yes, it was.

20 Q.         Where was it in the vehicle when you first

21 approached to search the vehicle?

22 A.         I believe it was in the center of the vehicle              ,

23 either on the floor or on the center console of the

24 vehicle.

25 Q.         Showing you what's been marked as P           -77.   Do   you




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 1 recognize    that?

 2 A.        Yes, that's     the Pepsi bottle.

 3 Q.        Where was the      Pepsi bottle when law enforcement

 4 first approach ed the vehicle?

 5 A.        In the vehicle.

 6 Q.        Where?

 7 A.        It looks like it was on the chair         , it looks like

 8 on the seat.        I can't really --

 9 Q.        Would you like to see this up close?

10 A.        Please.

11           MS. GREENBERG :       May I approach,    Your Honor?

12           THE COURT:     You may.

13           THE WITNESS:       T his looks like it's right there

14 on the backseat in the center towards the -- well              , the

15 front seat towards the scepter console.

16           BY MS. GREENBERG:

17 Q.        That is a shot of the front seat of the vehicle?

18 A.        Yes.

19 Q.        Showing you what's been          previously   marked as

20 Government's       Exhibit   Goodwin 27.     How does that appear

21 to you?

22 A.        It appears , except for when we found           tha t, it

23 had Pepsi actually inside the top of it to conceal it,

24 but this is the same way as it was when we found it

25 that day.




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1 Q.        Directing your attention to        March -- let me back

2 you up.    Where were you employed on November 25, 2003?

3 A.        Prince   George's   County   Police Department

4 assigned to    Narcotic    Enforcement    Division.

5 Q.        How l ong had you been employed there at that

6 time?

7 A.        In 2003 , I would have been on there

8 approximately five years.

9 Q.        Doing narcotics work?

10 A.       Doing narcotics w ork for approximately three

11 years of the time.     Approximately three years.

12 Q.       Directing your attention to March 13, 2004.

13 Were you assigned to do surveillance that day?

14 A.       Yes, I was.

15 Q.       How did you come to be assigned to do

16 surveillance that day?

17 A.       Detective   Eveler instructed me to go to a

18 location and conduct surveillance.

19 Q.       Where did you go?

20 A.       To an address on     Hayward   in -- I believe that's

21 Takoma   Park, Maryland.

22 Q.       What time did you go there?

23 A.       Approximately     3 p.m.

24 Q.       Do you recall the exact house that you were

25 assign ed to surveil?




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 1 A.         815 Hay ward .

 2 Q.         What is the first thing you observed when you

 3 were out there on March 13, 2           004 ?

 4 A.         If I could refer to my notes for the exact

 5 times.

 6 Q.         Certainly.

 7 A.         At approximately 3    :15 p.m ., a red       Dodge pickup

 8 truck arrived at the location.

 9 Q.         Did you see from which location it came?

10 A.         Yes.   It came from    Larch,        which would be from

11 New Hampshire , and th en made a left on to              Hayward

12 [sic] .

13 Q.         What did you observe about the red            Dodge pickup.

14 A.         It was occupied two times.       It was a male

15 driving and a female in the passenger seat.

16 Q.         Showing you what's been marked as            P-218.     Do you

17 recognize what's depict      ed in that picture?

18 A.         Yes.   It's the red    Dodge pickup truck arriving

19 that day     with the male getting out of the driver's

20 door.

21 Q.         Approximately what time did you see the male get

22 out of the driver's door?

23 A.         It's approximately 3    :17 p.m.

24 Q.         Now, were you able to get the tag number -- let

25 me show you the next picture        .     S howing you what 's been




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 1 marked as   P-19 .    From a closer look on that vehicle,

 2 were you able to record the tag number?

 3 A.      Yes.

 4 Q.      What is the tag number        of this vehicle?

 5 A.      30N 591

 6 Q.      What state?

 7 A.      Maryland.

 8 Q.      When you saw the male get out of the vehicle at

 9 approximately 3 :17 , what did you observe happen next?

10 A.      The male then walked around to the right rear

11 passenger door of the vehicle       , got a white bag out of

12 the vehicle , and then walked into the residence.

13 Q.      Showing you what's been marked as P          -220.    Can

14 you tell us what's depicted in this picture?

15 A.      That's the male about to go to the right rear

16 passenger door.

17 Q.      And P -221?

18 A.      That's the male after he got the bag out the

19 passenger door , and then if you can look through             his

20 legs , you can see the bag he's carrying through his

21 legs.

22 Q.      And what did you observe him do next?

23 A.      He was walking towards the residence.

24 Q.      Did you see which door he went into?

25 A.      No.    From the location      I was at , I couldn't see




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1 the side door .      I could just see him walking towards

2 the door .

3 Q.       Did you stay that the location 810           Hayward ?

4 A.       Yes, I did.

5 Q.       What did you see next?

6 A.       At approximately 3     :21 p.m ., the male exited the

7 house carrying the same white bag.

8 Q.       What time was that?

9 A.       3:21 p.m.

10 Q.      What did you observe him do then         ?

11 A.      He put the bag back in the right rear passenger

12 seat and got back into the vehicle.

13 Q.      Could you tell if it was the same bag or not             ?

14 A.      It appear ed to be the same bag        , yes, ma'am.

15 Q.      What did you see next?

16 A.      He got back in the driver's seat and he left the

17 area.

18 Q.      What time , again , did you see him arrive at the

19 residence and get out of the vehicle?

20 A.      It was approximately       three -- he arrived       at 3 :15

21 p.m .; he got out the vehicle at 3       :17 p.m.

22 Q.      What time did he leave the area?

23 A.      Approximately 3 :23 p.m.

24 Q.      So he was at the residence for a total of how

25 long?




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 1 A.        From the time he got there to the time he

 2 actually left was approximately eight minutes.

 3 Q.        Did the     fe male stay in the vehicle or get out of

 4 the vehicle ?

 5 A.          Sh e stayed in the vehicle     , ma'am.

 6           MS. GREENBERG:      No further questions       , Your

 7 Honor.

 8           THE COURT:     Cross-examination?

 9           MR. MARTIN:     Yes, sir.

10                           CROSS-EXAMINATION

11           BY MR. MARTIN:

12 Q.        Go od afternoon,    Detective    Grant.   My name's

13 Anthony    Martin and     I represent    Mr. Le arle y Reed

14 Goodwin.

15           Detective, are you reading from notes?

16 A.        I was re ferr ing to my notes yes, sir.

17 Q.        Do those notes relate to the November 25, 2003              ,

18 stop that    you talked     about in the beginning of your

19 testimony?

20 A.        No , sir.

21 Q.        You talked a little bit about the           confidential

22 witness that you had at the time, the in            formant .

23 A.        Yes, sir.

24 Q.        His name was     Raynard    Dorsey ; right ?

25 A.        I don't recall his name, sir        .   I t was detective




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1 Martini 's informant.

2 Q.         You don't recall his name but you do recall

3 specifics that happened on that particular day?

4 A.         Yes, sir.   I never knew the informant's --

5 Q.         Answer either yes or no     , Detective .     Y ou recall

6 the incident that happen       ed that day ; right ?

7 A.         Yes, sir.

8 Q.         And Mr. Dorsey you said , if I heard you

9 correctly , was in the car with you.        You were

10 maintaining control over him       ; right?

11 A.        Yes, sir.

12 Q.        And Mr. Dorsey was also the one who told           you to

13 be on the lookout for a white        Cadillac ; right?

14 A.        That's correct , sir.

15 Q.        He told you that that white         Cadillac would be

16 coming at    PG plaza ; is that right?

17 A.        That's correct , sir.

18 Q.        Did Mr. Dorsey at any time tell you that was his

19 car?

20 A.        No, he didn't , sir.

21 Q.        And it's also your testimony that when          Detective

22 Martini   and the search team was having trouble          s looking

23 for the drugs , that it was only that the moment that

24 you came out of your car with        Dorsey?     Is that your

25 testimony?




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1 A.         That's   when I came out of my vehicle      , yes, sir.

2 Q.         You came out of your vehicle at that time after

3 speak ing to    Mr. Dorsey; right ?

4 A.         I was talking to him the whole time, yes, sir.

5 Q.         And it was after speak    ing to   Mr. Dorsey that you

6 went over to help him search for the drugs in the

7 vehicle?

8 A.         Yes, sir.

9 Q.         And it's your testimony that the daughter of

10 Learley    Reed Goodwin   was the one who told you to look

11 in the    Pepsi bottle.

12 A.        That's correct , sir.

13 Q.        You remembered that even though that incident

14 took place two     and a half years ago      and you have     no

15 notes with you today; correct?

16 A.        Yes, sir.

17 Q.        Prior to testifying here this afternoon before

18 the ladies and gentlemen of the jury, you met with the

19 government, didn't you?

20 A.        Yes, sir.

21 Q.        And they told you that      Detective    Martini   had

22 testified , didn't they?

23 A.        Yes, sir.

24 Q.        And they told you there was an issue regarding

25 how they found the drugs that were in that white




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 1 Cadillac ; didn't they?

 2 A.         No , they didn't tell me it was an issue.

 3 Q.         Well , you knew that you were going to be asked

 4 questions about where the bottle was            ; correct?

 5 A.         Yes, sir.

 6 Q.         And you knew you were going to be asked

 7 questions about whether or not it had a false bottom               ;

 8 right ?

 9 A.         Yes, sir.

10 Q.         And they specifically told you or asked you

11 whether or not you remembered who told you about the

12 drugs in the bottle       ; right ?

13 A.         Yes, they asked me.     Yes, sir.

14 Q.         So you knew that question was coming up           ; right ?

15 A.         Yes, sir.

16 Q.         And you knew that      I might ask you about that      ;

17 right ?

18 A.         Yes, sir.

19 Q.         And at no time -- disregard that.

20            And they also told you that there was an issue

21 about Raynard        Dorsey   and whether he was the one who

22 told you where to look         ; didn't they?

23 A.         No , they didn't say there was an issue with

24 that.     No, sir.

25 Q.         You had no note s to refresh your recollection




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 1 about this particular incident        ?

 2 A.       No, sir.

 3 Q.       How many years have you been on the force?

 4 A.       Approximately eight years or eight           and a half

 5 years.

 6 Q.       How many investigation      s have you been involved

 7 in?

 8 A.       Over 100.    Hundreds.

 9 Q.       Hundreds?

10 A.       At least over a hundred.

11 Q.       A hundred , and you remember details of all those

12 investigations?

13 A.       Yes, I do.      I remember the      on es that are

14 particular s.     Specifically     ones such as a     Pepsi bottle

15 having a false bottom.         I never seen that befor        e.   It

16 was my first time seeing that         and it stuck in my mind.

17 Q.       And you remember the informant's information

18 that was given to you over two            and a half years ago     ,

19 after these hundreds       of investigations?

20 A.       I remember the information about me going over

21 and talking to the daughter         and her telling me where

22 the Pepsi bottle was.

23 Q.       Do you remember what you wore last           Friday?

24 A.       No , I don't.

25          MS. GREENBERG:     Objection.




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1          THE COURT:     Overruled.

2          BY MR. MARTIN:

3 Q.       You 've been through the police academy          ; right ?

4 A.       Yes, sir.

5 Q.       At the police academy       , one of the things they do

6 is they go through moot court          ; right ?

7 A.       Yes, sir.

8 Q.       And you practice testifying        ; don't you?

9 A.       Yes, we had mock testify.

10 Q.      Yes.    And you've testified many times in court

11 before ; haven't you?

12 A.      Yes, sir.

13 Q.      And you're trained to look         at the jury when you

14 testify ?

15 A.      Yes, sir.

16 Q.      And how to be persuasive in the presentation of

17 your testimony?

18 A.      Persuasive?      I'm trained to tell the truth.

19 Q.      You're trained to tell the truth.         Exactly.        And

20 in being trained to tell the truth, it's not so much

21 try ing to figure out where counsel is going          , it's just

22 telling it like it is     ; right ?

23 A.      That's correct.

24 Q.      Your job is to make sure that the government

25 gets a conviction    , isn't it ?




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1          MS. GREENBERG:     Objection.

2          THE COURT:      Ap proach the bench.

3                   (At the bar of the Court.)

4          MR. MARTIN:      Your Honor , I will withdraw the

5 question.

6          THE COURT:     Thank you.

7          MR. MARTIN:      I would like to move on.

8                   (Back in open court.)

9          BY MR. MARTIN:

10 Q.      With respect to this        Raynard   Dorsey.    Was he in

11 custody prior to your bringing him to            P. G. Plaza?

12 A.      What do you mean when you say          "custody ," sir.

13 Q.      Was he locked up?

14 A.      Yes, he was locked up.

15 Q.      And while he was locked        up , was he locked up the

16 day before?

17 A.      I don't know when he was actually locked up

18 physically.      I just know he was locked up at the time

19 we did the case.

20 Q.      So you don't remember if        it was    a day or two

21 days before he was locked up.

22 A.      Yeah , and I don't know when he was physically

23 locked up initially on the first incident, no.

24 Q.      You weren't the one who actually went            and

25 arrested him ?




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1 A.       No I wasn't.

2 Q.       Did you record any of        these phone conversations

3 within the 24 hours of this controlled buy?

4 A.       No, I didn't.

5 Q.       You don't know , then , whether he was free to

6 come and go the day before the controlled buy, do you?

7 A.       The day before?     No,    I don't know the day

8 before, no.

9 Q.       And the particular vehicle in question           , the

10 white Cadillac , that car wasn't under          surveillance     a

11 day or two before this controlled buy         , was it?

12 A.      No, it wasn't.

13 Q.      You didn't have      Mr. Goodwin    under surveillance a

14 day or two before the controlled buy either            , did you?

15 A.      No, I didn't.

16 Q.      Did you ever ask      Mr. Dorsey whether there were

17 other people who had access to the white             Cadillac?

18 A.      No, I didn't.

19 Q.      So you don't know if he was the only one who was

20 able to drive that car at the time, do you?

21 A.      No, I didn't.

22 Q.      Did you have a telephone with you on the day you

23 made this stop at     P. G. Plaza?

24 A.      A cellular telephone?      Yes,     I did.    Yes,   I did.

25 Q.      During the stop      of the white    Cadillac , the




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 1 tel ephone rang, didn't it?

 2 A.        My telephone rang?

 3 Q.        Yeah.

 4 A.        People on my squad right --         I don't recall if my

 5 telephone   rang specific ally.

 6 Q.        How many people      were involved in that arrest?

 7 A.        Approximately -- it was my squad            and the

 8 emergency services team, so approximately maybe                 10 , 11

 9 people.

10 Q.        Ten or 11 people , and when you left           Mr. Dorsey

11 in the car, who was with him?

12 A.        Detective   Piazza    came over    and sat with       Dorsey

13 while I went over to the white            Cadillac.

14 Q.        At that particular vehicle        , the car that

15 Detective   Piazza was in, does it have a telephone in

16 it?

17 A.        Detective   Piazza came and sat in my vehicle with

18 the informant.

19 Q.        Please, please listen to the question.         The car.

20 The car that      Dorsey was in , and Piazza was in that car ,

21 too ?

22 A.        That was my vehicle.

23 Q.        That was your vehicle       ?

24 A.        Correct.

25 Q.        It was your vehicl     e.   Did you have a phone on




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 1 your person when you went over to the white              Cadillac?

 2 A.         Yes, I did.

 3 Q.         And Detective     Piazza did he have a phone?

 4 A.         Yes, he did.

 5            MR. MARTIN:      I have no further questions      , Your

 6 Honor.

 7            THE COURT:     A dditional cross-examination?

 8            MR. HALL:    No , Your Honor.

 9            THE COURT:     Any redirect?

10            MS. GREENBERG:     Briefly    , Your Honor.

11                          REDIRECT     EXAMINATION

12            BY MS. GREENBERG:

13 Q.         You were asked some questions about           Mr. Dorsey

14 and his cooperation.        Who was the person or agency that

15 arrested    Mr. Dorsey,     if you know?

16 A.         I don't know what agency actually arrested him

17 physically on that first occasion.

18 Q.         Were you involved        -- d id you have any role at

19 all in debriefing him or preparing him for this

20 controlled buy ?

21 A.         No, it was     Detective    Martini .

22 Q.         Did you have any role in         arresting   Mr. Dorsey ?

23 A.         No , I didn't.

24 Q.         Did you -- were you the one that had the

25 discussion with        Goody's daughter ?




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 1 A.        Yes, I was.

 2 Q.        Were you the one that went over         and talked to

 3 her?

 4 A.        Yes, I was.

 5 Q.        Do you have a clear recollection of that

 6 conversation?

 7 A.        Yes, I do.

 8 Q.        Any doubt    that it    happened?

 9 A.        No.    No, ma'am.

10 Q.        What did that discussion lead you to?

11 A.        The Pepsi bottle with the co        caine in it.

12 Q.        Were you the one that rela       yed that information

13 --

14 A.        Yes.

15 Q.        -- d irectly from      Mr. Goodwin 's daughter?

16 A.        That is correct.

17           MS. GREENBERG:      No further questions     , Your

18 Honor .

19           THE COURT:     A ny Recross ?

20           MR. MARTIN:    Brief.

21                         RECROSS-EXAMINATION

22           BY MR. MARTIN:

23 Q.        Did you write a report that day?

24 A.        No, I didn't.

25           MR. MARTIN:     Nothing further , Your Honor.




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 1            THE COURT:     All right.

 2            MS. GREENBERG:       Your Honor , may the witness         be

 3 excused?

 4            MR. MONTEMARANO :      Court's indulgence, please.

 5            MR. MARTIN:     Detective        Grant --   Your Honor, with

 6 the court's permission.

 7            THE COURT:     You may.

 8            BY MR. MARTIN:

 9 Q.         Detective    Grant , when Mr. Goodwin 's daughter

10 allegedly told you this, was there anyone else who

11 heard it?

12 A.         No , I was talking to her by myself.

13            MR. MARTIN:      Nothing further , Your Honor.

14                   THE COURT:      T hank you .

15            MS. GREENBERG:       Your Honor , the witness ' next

16 surveillance would be March 22              , if he can be excused

17 for now , subject to recall          .

18            THE COURT:     A ll right.       You may be excused.

19                   (W itness excused at 2         :27 p.m. )

20            (Witness    Sakala   re sumes the stand. )

21            MS. GREENBERG:       Your Honor , just for the record,

22 p-221 was up on the screen               and would be moved to be

23 admitted , just to be clear .

24            THE COURT:     A ll right .       I t will be received.

25                       FURTHER   DIRECT     EXAMINATION




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 1            BY MS. JOHNSTON:

 2 Q.         Detective    Sakala , were there add itional      calls

 3 from March 13, 2004?

 4 A.         On March 13?    Yes.

 5 Q.         Calling your attention to       B-469 on Page 60.         Do

 6 you have that call in front of you?

 7 A.         Yes.

 8 Q.         Who a re the participant     s in that telephone

 9 conversation?

10 A.         Paulette    Martin   and Tiffany vessels.

11 Q.         Is that an incoming call or an outgoing call?

12 A.         It's an outgoing call.

13 Q.         Outgoing from the residence on        Hayward;   is that

14 correct?

15 A.         That's correct , from the hard line at the

16 residen ce on Hayward       Avenue.

17 Q.         If we could please play       B469.

18            (Audio recording begins playing at 2        :28 p.m. )

19            (Audio recording stops playing at         2:2 9 p.m. )

20            BY MS. JOHNSTON:

21 Q.         The telephone number that       Ms. Martin cal led , was

22 that a cellular        telephone?

23 A.         Yes, it is.

24 Q.         And did you find any errors in the transcript             ?

25 A.         Yeah on Page 61,       fifth line from the bottom    ,




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 1 where Tiffany        Vessels , it says    -- transcript reads

 2 including    Friday , she actually says including travel.

 3 Q.         Now, in addition to that, there's a reference to

 4 do you know where my brother is.          Do you know who            Ms.

 5 Martin was referring to?

 6 A.         Yes.

 7 Q.         Who was that?

 8 A.         Learley    Goodwin .

 9 Q.         If we could go to        Call B27 2 on Page 64 .     W ho are

10 the parties to this conversation?

11 A.         Paulette    Martin     and Eugene   Bird .

12 Q.         That's the one we played this morning; is that

13 correct?

14 A.         That is correct.

15 Q.         If we could move on to B5       66 on Page 70.      What is

16 the date of the next call?

17 A.         March 14,    2004 .

18 Q.         We moved from March 13 to the 14t            h; is that

19 correct ?

20 A.         That's correct.

21 Q.         Who are the     parties    to this call?

22 A.         Paulette    Martin     and LaNora   Ali .

23 Q.         If we could play it       , please.

24            (Audio recording begins playing at 2            :30 p.m. )

25            (Audio recording stops playing at 2            :30 p.m. )




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1          BY MS. JOHNSTON:

2 Q.       If we could play the next call         , B567 .    W hen does

3 the next call happen in relation to the call               we 've just

4 heard?

5 A.       One day later .

6          (Audio recording starts a       t 2 :30 p.m. )

7          (A udio recording     stops at 2 :30 p.m. )

8          BY MS. JOHNSTON:

9 Q.       Based on your training        and experience as well as

10 this call    and the other calls that we will hear later           ,

11 did you form an opinion as to what was being discussed

12 by Ms. Al i and Ms. Martin?

13 A.      Yes.

14 Q.      What were they were dis       cuss ing?

15 A.      Ms. Gardner in the first call, 566, is ordering

16 drugs from     Ms. Martin, ordering just one, being the

17 quantity.    In the second call,       Paulette   Martin    is

18 asking whether she wants to put the previous purchase

19 on the books .     I n other words , carr y it to Ms. A li's

20 debt and Ms. Ali says , no, she's going to the bank now                ,

21 inferring she is bringing money to pay for that one              , so

22 it won't go on her debt.

23 Q.      From what in the conversation did you form your

24 opinion that there was a previous transaction?

25 A.      Correct.




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1 Q.          From what in the conversation      ?

2 A.          Oh, on Page 71 where    Paulette       Martin says , you

3 know I forgot to ask you        , the other one you got the

4 other day , do you want me to put that on the books               ,

5 right , refer ring to     a previous transaction.

6 Q.          Are you able to -- d o you have        an opinion based

7 on these calls as well as other calls we're going hear

8 what drug was involved in these transactions?

9 A.          Yes.

10 Q.         What drug was it?

11 A.         Cocaine.

12 Q.         Are you able to ascertain or do          you have   an

13 opinion based upon your training          and experience in

14 these calls as well as other calls we'll hear in this

15 trial as to what the quantity of the drugs was?

16 A.         An eight ball.   Eighth of an ounce.

17 Q.         Which would be how many grams?

18 A.         Three point five    grams.

19 Q.         Is there anything in these two call         s in

20 particular that establishes that          quantity ?

21 A.         Not in these two calls in particular, no.          Other

22 than just one , she wants the one.

23 Q.         If we could go to call B572.     Does that -- on

24 Page 72.     Does that also take place on March 14?

25 A.         Yes.




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 1 Q.         Who are the parties to this call?

 2 A.         Paulette   Martin   and Reece Whiting .

 3 Q.         If we could play it    , please .

 4            (A udio recording    be gins playing at 2       :33 p.m. )

 5            (A udio recording stops playing at 2        :33 p.m. )

 6            BY MS. JOHNSTON:

 7 Q.         Based on your training        and experience , do you

 8 know what     Ms. Martin was referring to when she told              Mr.

 9 Whiting    she hadn't heard nothing yet?

10 A.         Yes.

11 Q.         What was that?

12 A.         She's referring to awaiting a shipment of

13 cocaine to come in       and she hadn't heard anything.

14 Q.         If we could go to the     next call , B609 on Page

15 73.   Does that , likewise , take place on March 15 in the

16 morning?

17 A.         Yes, March 15, 10    :08 in the morning     .

18 Q.         If you could play it    , please .

19            (Audio recording begins playing at 2            :34 p.m. )

20            (Audio recording stops playing at 2         :34 p.m. )

21            BY MS. JOHNSTON:

22 Q.         And who are the     parties    in that conversation?

23 A.         Paulette   Martin   and Bruce Walker --         Milburn

24 Walker.

25 Q.         Based upon that call     and the other calls we'll




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 1 hear between those parties       , did you form an opinion as

 2 to what they were meeting about?

 3 A.       Yes.

 4 Q.       What was that?

 5 A.       That Milburn      Walker was meeting     Ms. Martin to

 6 purchase cocaine from her.

 7 Q.       Were you able -- do you know -- were you able to

 8 form an opinion as to that particular date              and

 9 conversation , what kind of drugs he was ordering from

10 her?

11 A.       No.

12 Q.       Why is that?

13 A.       Not based on this information.

14 Q.       Why is that?

15 A.       The conversation      is not specific enough.

16 Q.       If we could turn to       B647 on Page 74 .      D oes this

17 call also take place on March 15?

18 A.       Yes.

19 Q.       Play it , please.

20          (Audio recording begins playing at 2           :35 p.m. )

21          (Audio recording stops playing at            2: 35 p.m. )

22          BY MS. JOHNSTON:

23 Q.       Who are the parties to that conversation?

24 A.       George   Harris    and Paulette    Martin.

25 Q.       Based on your training        and experience     and the




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 1 calls that you've heard between          Ms. Martin    and Mr.

 2 Harris,   did you form an opinion as to what they were

 3 discussing?

 4 A.        Yes.

 5 Q.        What is that?

 6 A.        Mr. Martin was ordering a quantity of cocaine

 7 from -- Mr. Harris was ordering a quantity of cocaine

 8 from Ms. Martin.

 9 Q.        Okay.    Is t here any term s that are      use d in that

10 conversation to refer to drugs?

11 A.        Yes .   Ms. Martin says what size       out fit do you

12 want for your son     ; Mr. Harris re plie s about an eight.

13 Q.        Would you please make a notation on our chart up

14 there that reference to outfit appears on Page 74.

15 A.        (Witness indicating.     )

16 Q.        If we could proceed to the next conversation on

17 March 15, B684 on Page 75.

18           (Audio recording begins playing at 2         :36 p.m. )

19                   (A udio recording stops playing at 2           :37

20 p.m.)

21           BY MS. JOHNSTON:

22 Q.        Who are the parties to that conversation           ?

23 A.        Paulette   Martin   and Jo Johnson .

24 Q.        Did you form an     opinion a s to what Ms. Martin

25 and Ms. Johnson were discussing?




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 1 A.         Yes.

 2 Q.         What was that?

 3 A.         Ms. Johnson was ordering $150        worth of cocaine

 4 from Ms. Martin.

 5 Q.         What was the term used       to refer to that?

 6 A.         An outfit , a 150 outfit.

 7 Q.         What's the significance of the 150 in front of

 8 the outfit?

 9 A.         Clothes , as far as    I know , don't    come in   a size

10 150.

11 Q.         If you could make a note on the chart what page

12 that phrase appears on.

13 A.         (Witness indicating.     )

14 Q.         We could go to the next call, B669.

15            (Audio recording begins playing at 2        :38 p.m. )

16            (A udio recording stops playing at 2       :38 p.m. )

17            BY MS. JOHNSTON:

18 Q.         Before we discuss that call      , can we also play

19 A231 ?   And how soon after B669 does A231 take place on

20 Page 77?

21 A.         B669 took place at 7     :1 4 p.m. and A231 took place

22 at 7 :23 p.m .

23 Q.         If we could play it    , please.

24            (Audio recording begins playing at 2        :39 p.m. )

25            (Audio recording stops playing at 2        :39 p.m. )




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 1          BY MS. JOHNSTON:

 2 Q.       Did you recognize the -- were you able to

 3 identify the person speaking with           Ms. Martin in call

 4 A231?

 5 A.       Yes.

 6 Q.       Was that call from her home or from her cell

 7 phone?

 8 A.       That is a call from her cell phone.

 9 Q.       Based upon your review of these two calls as

10 well as the other calls between these part            ies, did    you

11 form an opinion as to what they were discussing?

12 A.       Yes.

13 Q.       What is that opinion?

14 A.       First call , B669 , LaNora      Ali is informing -- is

15 ordering cocaine from       Ms. Martin in a quantity       , and she

16 specif ies the quantity      as one.    She tells her that        --

17 Ms. Ali tells     Ms. Martin that when       Ms. Martin delivers

18 it , to give her a call      and she will bring it

19 downstairs , meaning the money.

20          In the second call     , A231 , it's Ms. Martin

21 calling into the      Gardner   residence , speaking with        Ms.

22 Ali Gardner 's husband , and telling         Mr. Gardner    to tell

23 his wife that she's downstairs with the            -- doesn't say

24 with the cocaine , but she's downstairs to make the

25 delivery of the drug      s to Ms. Ali Gardner .




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 1 Q.        If we could turn to the         next calls       B679 and

 2 B685 , which appear on Page 78           and 79.     Who are the

 3 parties   in those two calls?

 4 A.        I'm sorry?

 5 Q.        Who are the parties to those two calls?

 6 A.        Paulette   Martin       and Derrick    Bynum on both of

 7 those call s.

 8 Q.        If we could play those calls           , please , one right

 9 after the other.

10           (Audio recording begins playing at 2              :40 p.m. )

11           (Audio   recording stops playing at 2            :41 p.m. )

12           MS. JOHNSTON:          And the next call .

13           (A udio recording begins playing at 2             :41 p.m. )

14           (Audio record ing stops playing at 2             :41 p.m. )

15           BY MS. JOHNSTON:

16 Q.        Based upon your training         and experience, what

17 did those calls involve?

18 A.        Mr. Bynum is going over to            Paulette    Martin's

19 residence on the       15 th .    H e previously picked up the

20 drugs from her two days before           , going back to pay for

21 them -- for the drugs he's picked up             .

22 Q.        Back in March -- in         March of 2004, did you have

23 -- you or    Detective     Eveler or any of the other agents             ,

24 have 24 hour surveillance on that residence?

25 A.        No.




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1 Q.          Were there any difficulties with actually

2 conducting physical surveillance at that location?

3 A.          Yeah .    I think we will see very      shortly   it's a

4 very tight neighborhood.         It's a quiet residential

5 neighborhood, and          vehicles unknown to the area can

6 cause suspicion on the part of the neighbors              and of the

7 target , and unfortunately in this case            , that's exactly

8 what happened.

9 Q.          Before we move on to the         Call B696 on Page 80    ,

10 let me   ask you      a question.   You were present when

11 Detective     Grant testified concerning these photographs

12 P-218, P-219, P -220, and P -221.           Do you recognize the

13 individual depicted in those photographs?

14 A.         Yes.

15 Q.         Who was that?

16 A.         That's    Luis Mangual , Jr.

17 Q.         Was that consistent with your interpretation             of

18 the telephone        conversations that occurred      on March 12

19 through March 13?

20 A.         Yes.     This surveillance happened -- this

21 delivery     happened after sh      e -- excuse me , after she

22 ordered the drugs         and the calls .    We t hen showed up .

23 She then contacted         Mr. Bynum to say she     received the

24 quantity     of drug s.

25 Q.         If we could move on to call B        696 on Page 80 of




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 1 the transcripts .      W ho are the parties to this        telephone

 2 call ?

 3 A.       Paulette    Martin   and Merta Martin ez.

 4 Q.       Do you know who      Merta Martinez is?

 5 A.       Yes.

 6 Q.       Who is   she?

 7 A.       She's the sister of       Emilio Acharta .

 8 Q.       If we could play the call       .

 9          (Audio recording begins playing at 2          :44 p.m. )

10          (Audio recording stops playing at 2          :4 4 p.m. )

11          BY MS. JOHNSTON:

12 Q.       Based upon your training        and experience      and your

13 familiarity , did you have an opinion in terms of what

14 they were talking about with regard to 30 to life or

15 ten to life ?

16          MR. HALL:       Your Honor , I'm going to     object.

17 This is not drug terminology.

18          THE COURT:       It 's not what ?

19          MR. HALL:     This is not drug terminology that's

20 being used here .      I t's simply discussing a legal issue.

21          THE COURT:      Let's see if he has an opinion --

22 has any basis for it.

23          THE WITNESS:      Yes , I do.

24          BY MS. JOHNSTON:

25 Q.       What is that opinion?




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 1 A.         They're discussing her brother's possible

 2 sentence.

 3            MR. HALL:    Your Honor , that's exactly why         I

 4 objected.

 5            THE COURT:   Well, if he's not -- if it's not

 6 necessary to interpret it        , we don't need an opinion         ,

 7 Ms. Johnston.

 8            MS. JOHNSTON:       I don't know whether or not       it' s

 9 necessary to interpret for a jury         , who are not lawyers         ,

10 in terms of what that means.

11            THE COURT:   Well , this is not drug terminology             .

12 It's simply talking about a sentence           of ten to life

13 in stead of 30 to life     .    I don't think we need expert

14 testimony for that.

15            BY MS. JOHNSTON:

16 Q.         Based upon your training      and experience , calling

17 your attention to Page 82        .

18 A.         Yes.

19 Q.         Did you place any significance on the statements

20 that Ms. Martinez made concerning where he had been

21 placed     and someone trying to get information from him?

22 A.         Yes.

23 Q.         What is that opinion      ?

24            MR. HALL:    Again , Your Honor , I'm going to

25 objec t.    T his is not drug terminology      .   T his is a




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 1 discussion about what is going on in this person's

 2 case.

 3            THE COURT:   All right    .    S ustained.

 4            BY MS. JOHNSTON:

 5 Q.         Detective,   based on your training          and

 6 experience , can you tell the ladies and gentlemen of

 7 the jury how cooperators are developed in criminal --

 8 when you 've got somebody un        der arrest pending drug

 9 charges?

10 A.         Quite often , when someone's arrested for drug

11 cases, they will choose to cooperate            and provide

12 information to the government            in any number of ways in

13 exchange for consideration on their sentence.            That

14 could be a lesser sentence, a probation            .    I t could be

15 any number of things      , depending on the personal

16 circumstances of the person arrested.

17 Q.         Now, based on your training        and experience , when

18 a member of a drug organization is arrested on drug

19 charges, what if any concerns do the other members of

20 the drug conspiracy have as a result of the arrest of

21 one of the participants       ?

22            MR. HALL:    Objection , Your Honor.          May we

23 approach ?

24            THE COURT:   Approach the bench

25                    (At the bar of the Court.)




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 1            MR. HALL:    I didn't want to make a speaking

 2 objection, but this question is designed to             -- what

 3 this question is design      ed to elicit from       Sergeant

 4 Sakala   is something that falls         , I think , way outside

 5 the purview of what he has been designated as an expert

 6 for.

 7            You're talking about the psychology of people

 8 who are involved in the drug trade.         He's not an expert

 9 on that.     He's here to interpret terms.      These are not

10 terms.     We're talking about legal ramifications of a

11 particular individual's plea agreement           , assuming that's

12 what they were talking about         .    And this particular

13 question is simply designed to bring out the same sort

14 of information but not ma         king it case specific.        I

15 suggest to the     Court that's still equally

16 inappropriate.

17            MS. JOHNSTON:     Your Honor, he was qualified as

18 an expert witness not only to testify about drug                words

19 but drug    traffic    patterns    and practices.   He's already

20 testified without objection in terms of how cooperators

21 are developed .

22 This goes to what other members of a drug organization

23 do when they learn one of their members is arrested.

24 That is clearly within his realm of his training                and

25 experience,     and it is an area that would not




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 1 necessarily be known to the jury.        It's certainly

 2 within his qualification in terms of his expert             ise of

 3 how drug    traffickers     conduct their business.

 4 It is part     and practice of the business.       They want to

 5 know who the person is       , they want to make certain

 6 whether that person is cooperating or not so that they

 7 can take step s to protect themselves.            That's what he's

 8 going to say.    It is certainly something that is within

 9 his expertise.

10            MR. MITCHELL :    Can I add something to that       , Your

11 Honor?     I think   what the government      is try ing to do is

12 also get in from this expert witness that clients              , like

13 other drug organizations       , are potentially using

14 violence or other means to intimidate these people who

15 cooperate.

16            That's what the government is try        ing to do ,

17 getting from this witness that our clients here subtly

18 are involved in violence       , and that I think is no

19 purpose of that because you cannot           -- she cannot

20 establish with this witness that all persons in every

21 drug organization involve themselves in violence when

22 they find out someone's cooperating          , and I don't see

23 how this officer could testify to every single person

24 in every drug organization.

25            THE COURT:   Step back.      Mr. Montemarano      wants to




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 1 say something.     We have a one-person            mike.

 2           MR. MONTEMARANO:     Thank         you, Your Honor.          I

 3 think that     Ms. Johnston misses the point by suggesting

 4 this is pattern      and practice of narcotics

 5 organization s.     What this is           a pattern   and practice        of

 6 is a prosecutor's office        and law enforcement agency

 7 cuts a    deal , what he's    doing a t that point is no longer

 8 part of his     trafficking    activity .        I t is what somebody

 9 does to get out of under       , and that includes , in some

10 cases , not telling the truth          .     D o we really want to go

11 down this road?     There are huge numbers of cases about

12 jailhouse snitches who read            newspapers      or stealing

13 newspapers from their cell            mates .    Your Honor , we could

14 spend until August 11 on this topic alone                .

15           MS. JOHNSTON:       Your Honor , I'm not asking him

16 about government practices        .        I'm asking him based on

17 his training     and experience , do people in               -- what

18 actions    or what concerns do people have who are

19 involve d in the drug trafficking organization when

20 someone gets arrested        and he's going to testify that

21 they -- you know , that they have a concern                  , so they

22 take the steps to protect their own business                   , to make

23 sure that    -- or to learn whether or not that person is

24 cooperating with the government              , because if it causes a

25 potential danger to them        and their organization.




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 1          I don't an ticipate      him saying that anyone uses

 2 violence in particular      , but merely that it is important

 3 for them to find out whether the person is cooperating                  ,

 4 so that they can protect their business.         That is a

 5 practice that you have seen over          and over in terms of

 6 how drug organizations      , drug conspiracies       operate .

 7          When somebody gets arrested        , they want to be

 8 sure that that person isn't cooperating so that they

 9 can protect their business.       That's the extent of the

10 opinion based on his experience.        It has nothing to do

11 with trying to inject violence into this case.               It has

12 nothing do with what the government's            practices   are.

13 It has to do with what people engaged in the drug

14 conspiracy do when somebody they know has been

15 arrested.

16          THE COURT:      I'm going to sustain the objection.

17 I think we've gone far enough with this type of

18 testimony.    He's been qualified as an expert in the

19 terminology    and procedure s, techniques        used by those

20 engaged in the drug business        , but I think going to the

21 question of what they do when somebody is arrested                and

22 so forth is going too far       , so I will sustain the

23 objection.

24                        (Back in open court.      )

25          BY MS. JOHNSTON:




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 1 Q.       The individual being discussed in that call was

 2 whom?

 3 A.       Emilio E charta.

 4 Q.       Calling your attention to call B703          .     O n what

 5 date and time does that call take place?

 6 A.       March 16 at     1: 09 p.m. in the afternoon.

 7 Q.       Is that the same date as the preceding call?           Is

 8 that the same date      as the preceding call?

 9 A.       Yes .

10 Q.       Emilio E charta,     does he have any nicknames?

11 A.       Yes.

12 Q.       What is that ?

13 A.       Julio.

14 Q.       Call B703 on Page 84        .   W ould you please play it?

15          (Audio recording start s playing at 2 :56 p.m. )

16          (Audio r ecording stop s playing at 2 :57 p.m. )

17          BY MS. JOHNSTON:

18 Q.       Again the    Julio refer s to whom?

19 A.       Mr. Echarta .

20 Q.       Based upon your training          and experience , what is

21 Mr. Whiting      referring to when he says he might be able

22 to see something, you know       ?

23          MR. HALL:     Objection , Your Honor.

24          THE COURT:     Overruled.

25          THE WITNESS:     He's    going    to look at the




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 1 paperwork     -- Mr. Echarta 's court papers to see if          Mr.

 2 Echarta is cooperating.

 3            MR. HALL:    Objection.

 4            THE COURT:    Overruled.

 5            BY MS. JOHNSTON:

 6 Q.         Based on your training       and experience , why is

 7 that important to the people involved in the drug

 8 business?

 9 A.         Mr. Echarta possessed or possesses information

10 that would be useful to the government in prosecution

11 of people in this case.

12 Q.         Now , if we could turn to the next series of

13 calls beginning with B722.

14            What date does this series of calls B722 through

15 B768 take place ?

16 A.         On March 16, 2004.

17 Q.         What time period?    From when to when?

18 A.         From 3 :35 in the afternoon was the first call           ,

19 and 768 , I believe      -- is that the one you said the last

20 call -- concludes or takes           place at 8 :20 p.m. that

21 evening.      So afternoon, evening on the        16 th.

22 Q.         If we could play beginning with B722 on Page 86.

23            (Audio r ecording begins playing at 2       :59 p.m. )

24            (Audio r ecording stops playing at 3       :00 p.m. )

25            BY MS. JOHNSTON:




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 1 Q.       If we could go to the ne       xt call, 750 on       Page 87.

 2 Who are the parties to the next call?

 3 A.       Paulette    Martin   and Larry Nun n.

 4 Q.       Please play it .

 5          (Audio r ecording begins playing at 3         :00 p.m. )

 6          (Audio r ecording stops playing at 3         :00 p.m. )

 7          BY MS. JOHNSTON:

 8 Q.       That call is at what time?

 9 A.       6:18 p.m.

10 Q.       If we could go to      Call B751 on Page 88      .   W hat

11 time is this call?

12 A.       6:19 p.m.

13 Q.       If we could play it.

14          (Audio r ecording begins playing at 3         :00 p.m. )

15          (Audio recording stops playing at 3          :01 p.m.)

16          BY MS. JOHNSTON:

17 Q.       Go to the next call      , B752 .   W hen does that take

18 place in relation to the call we've just heard?

19 A.       Not even a minute later       , 6: 20 p.m.

20 Q.       Please play it .

21          (A udio recording begins playing at 3         :01 p.m. )

22          (A udio recording stops playing at 3         :01 p.m. )

23          BY MS. JOHNSTON:

24 Q.       B753.   Is that the next call on Page 90?

25 A.       Yes.




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 1 Q.         Is that in the same minute time frame?

 2 A.         Yes, 6 :20.

 3 Q.         Please play 753 on Page 90.

 4            (Audio recording start         s playing at 3 :02 p.m. )

 5            (Audio recording stops playing at 3          :02 p.m.)

 6            BY MS. JOHNSTON:

 7 Q.         The next call , B762 , takes place approximately

 8 how --

 9 A.         At 7 :25 p.m.

10 Q.         Please play that call,          Page 91 .

11            (Audio    recording begins playing at 3       :03 p.m. )

12            (A udio recording stops playing at 3         :03 p.m. )

13            BY MS. JOHNSTON:

14 Q.         The next call , B764.      Again , on the same

15 evening?

16 A.         Yes.     A minute later.   7     :26 p.m.

17 Q.         Please play it , B764 on Page 92.

18            (Audio recording begins playing at 3          :03 p.m. )

19            (Audio recording stops playing at 3          :04 p.m. )

20            BY MS. JOHNSTON:

21 Q.         If you would     go to B765 , who are the part     ies in

22 this call?

23 A.         Paulette    Martin   and John Martin.

24 Q.         If you could , please play it.

25            (Audio r ecording starts at 3        :04 p.m. )




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 1            (Audio    recording stops at 3     :0 4 p.m. )

 2            BY MS. JOHNSTON:

 3 Q.         If we could go to the next call, B766            , on Page

 4 95.   Again , on the same date later that evening?

 5 A.         Yes.     7:55 p.m.

 6 Q.         If we could play it     , please.

 7            (Audio r ecording begins at 3       :06 p.m. )

 8            (Audio    recording ends at 3     :07 p.m .)

 9            BY MS. JOHNSTON:

10 Q.         And B768 , is that also on the same date            and

11 evening ?

12 A.         Yes , at 8 :20 p.m.

13 Q.         Could you play it     , please?

14            (Audio recording begins at 3        :07 p.m. )

15            (A udio recording stops at 3       :07 p.m. )

16            BY MS. JOHNSTON:

17 Q.         Based on your training      and experience , are all

18 of those calls related?

19 A.         Yes.

20 Q.         Could you describe to the jury what they relate

21 to?

22 A.         Paulette    Martin is obtaining 81 grams of heroin

23 from Gwen Levi and then reselling it to              Larry Nunn.

24 The transaction took place at her residence on                Hayward

25 Avenue .




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 1 Q.      If we could go back to B722 on Page 86.

 2 A.      Okay.

 3 Q.      There's a reference to        Julio.    Who is that

 4 referring to?

 5 A.      That's    Mr. Echarta .

 6 Q.      There's    a reference    to Larry, can you call me

 7 later on?

 8 A.      Yes.

 9 Q.      And then Ms. Martin will call when he calls?

10 A.      Yes.

11 Q.      And who's the     Larry they're referring to?

12 A.      Larry Nunn .

13 Q.      Now on the next page, Page 87.         What      does Ms.

14 Martin ask     Larry Nunn ?

15 A.      Ms. Martin     is asking how much -- how many

16 tickets he wants, 100 referring to 100 grams of heroin.

17 Q.      What is it that you base your conclusion that

18 tickets , when Ms. Martin uses that term with             Mr. Nunn,

19 refer s to heroin?

20 A.      If you look further       , she'll actually change the

21 code words to envelopes       and then they go back        and forth

22 a couple of times between tickets -- excuse me             ,

23 envelopes    and tickets, but the call pattern          , as we'll

24 see , is the drugs going from       Ms. Levi to       Ms. Martin    to

25 Mr. Nunn, and then when we arrested            Ms. Levi , we




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1 recovered the heroin processing plant in her house.

2 Q.       Is that how you      distinguished     tickets in these

3 conversations from tickets in some of the earlier

4 conversations that referred to cocaine?

5 A.       That's correct.

6 Q.       Then if we go to the next telephone call            , page

7 88.   What   is Ms. Martin ordering from         Ms. Levi?

8 A.       She's ordering 106 grams of heroin, 1           00, and

9 then a separate package of six grams          , which she refers

10 to six separate envelopes.

11 Q.      Now, based upon your training          and experience in

12 these conversations    , did you form an opinion as to

13 whether or not all of the 106 grams was for            Mr. Nunn ?

14 A.      It was not.

15 Q.      Why do you say that?

16 A.      She wanted six separate grams for herself.

17 Q.      If could go onto the chart that you have behind

18 you and add Page 87 next to the word tickets.

19 A.      (Witness indicating.      )

20 Q.      And Page 88 next to the word envelopes.

21 A.      (Witness indicating.      )

22 Q.      Now, after that conversation when           Ms. Martin

23 gets on the phone with      Mr. Nunn , based on your training

24 and experience is there a change in the quantity of

25 drugs that he wants?




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 1 A.       Yes.

 2 Q.       What is the change?

 3 A.       He changes the quantity from 100 grams to 75

 4 grams.

 5 Q.       Is there also a reference to money in that call?

 6 A.       Yes.    Paulette    Martin is -- she says you need to

 7 get the money.

 8 Q.       Based upon your training        and experience in your

 9 view of the calls in this case between            Mr. Martin , Mr.

10 Nunn and Ms. Martin       and Ms. Levi , did you form an

11 opinion as to whether or not         Mr. Nunn was being fronted

12 drugs or paying for them before receiving them?

13 A.       He paid cash on delivery to         Ms. Martin.

14 Q.       Now, going to the next conversation on Page 90.

15 Does Ms. Martin then contact         Ms. Levi consistent with

16 the change in order by       Mr. Nunn?

17 A.       Yeah , she immediately calls        Ms. Levi back     and

18 changes the order from 106 down to 81, 75             and then six

19 separate for another person.

20 Q.       Do you know who that person is?

21 A.       No.

22          MS. JOHNSTON:       Your Honor , at this time , if I

23 could ask the officer to step down           and we would call

24 Detective    Roger St. Louis to testify concerning

25 surveillance on      March 16.




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 1            MR. MARTIN:     Your Honor, before we do that          , my

 2 client has asked if we could take a brief five               -minute

 3 break .

 4            THE COURT:     H e has ESP .      I was think ing

 5 precise ly the same thing.          We will take a break until

 6 3:30 .

 7                  (Jury excused at 3:12 p.m.)

 8                  (O ff the record       at 3 :12 p.m. )

 9                  (On the record at 3:32 p.m.)

10            THE CLERK:     Ready for the jury      ?

11            THE COURT:     Yes.

12            THE CLERK:     Ready,    Judge?

13            THE COURT:     Yes.

14                          (Jury returns at 3      :33 p.m.)

15            THE CLERK:     If you will raise your right hand

16 for m e, please.

17 Thereupon,

18                            ROGER ST. LOUIS ,

19 having been called as a witness on behalf of the

20 plaintiff , and having been first duly sworn by the

21 Courtroom Deputy, was examined and testified as

22 follows:

23            THE CLERK:     Please be seated.      If would state

24 your name for the record.

25            THE WITNESS:     Sure.    Detective        Roger St. Louis.




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1 Just like the city     , S T, period , L O U I S.

2          THE COURT:     What was the first name again         ?

3          THE WITNESS:      Roger.

4          THE COURT:     Very nice name.

5                         DIRECT   EXAMINATION

6          BY MS. JOHNSTON:

7 Q.       Detective    St. Louis , where are you employed?

8 A.       Currently employ ed with the Montgomery           County

9 Police , Special     Investigations     Division.

10 Q.      In what capacity?

11 A.      I work in an undercover capacity.

12 Q.      Are you a    Montgomery    County police officer?

13 A.      Yes, I am.

14 Q.      How long have you been a         Montgomery   County

15 police officer?

16 A.      Been a    Montgomery    County police officer a little

17 over 15 years.

18 Q.      During those 15 years      , have you -- how long have

19 been in your current assignment?

20 A.      My current assignment      , two and a half months.

21 Prior to that , in the     Narcotics    Section for

22 approximately nine years.

23 Q.      During t hose nine years , could you describe to

24 us so me of your duties     and responsibilities?

25 A.      I worked in an undercover capacity where we made




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 1 purchases , acted as drug dealer        s.   A lot of the time

 2 was spent conducting interdiction            work, interdicting

 3 narcotics that came into the          Washington metropolitan

 4 area.

 5 Q.       Calling your attention back to          March 16 of 2003.

 6 Were you working on that date?

 7 A.       Yes, I was.

 8 Q.       Of 2004 , I'm sorry?

 9 A.       Yes, I was.

10 Q.       Were you requested to assist          Detective      Sakala

11 and Detective     Eveler in an ongoing investigation?

12 A.       Yes, I was.

13 Q.       Were you involved in that investigation as one

14 of the lead investigators?

15 A.       No , I was just one of the assistant           s in that.

16 Q.       What kind of assistance were you asked to

17 provide on     March 16 of 2004?

18 A.       March 16, 2004 , I responded to 810            Hayward

19 Avenue , which is     in Takoma     Park , Montgomery    County ,

20 Maryland to conduct surveillance on traffic coming in

21 and out of that residence       .    A pproximately 7 :48 , I

22 observed a tan     Toyota   Camry.     It had temporary tags ,

23 05683 E, as in    Edward,   A as in    Adam , pull up.

24          The vehicle was occupied by subjects            .    O ne of

25 the subjects     was known to me as      Larry Nunn.         B oth




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1 subjects     exit ed the vehicle      and went into 810    Hayward

2 Avenue using         -- if you're facing the residence     , there's

3 a side door on the right side of the residence.           They

4 both went in         there .

5 Q.          If I c ould interrupt you.     That occurred at

6 about 7 :45 ; is that correct ?

7 A.          That's correct.

8 Q.          What time did you arrive there to start your

9 surveillance?

10 A.         I arrived there about 7     :30.

11 Q.         Did you get much advance notice that you would

12 be going there?

13 A.         No, not much advance notice.

14 Q.         When you got there     , were you in a marked cruiser

15 or uniform?

16 A.         When I arrived      there , I was in an unmarked

17 vehicle.

18 Q.         Do you recall where you located your vehicle in

19 relation to     the residence ?

20 A.         Almost    exactly   directly across the street from

21 the residence.

22 Q.         After making that observation of        Mr. Nunn and

23 his companion, what did you observe after that?

24 A.         After that , I stayed there on surveillance          .   At

25 approximately 8 :20 , I then observed a tan          Mitsubishi




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 1 Gal lant.   This   vehicle   had Pennsylvania tags      , E,

 2 Edward , M as in     Mary, D as in    David , 0507.

 3          MR. MARTIN:      Your Honor , I'm going to object if

 4 the witness is reading.

 5          BY MS. JOHNSTON:

 6 Q.       Did you prepare notes       and reports     during the

 7 time of the surveillance?

 8 A.       Yes, I did.

 9 Q.       Can you give us an idea of how many other

10 surveillances you've done since          March 16 of 2004?

11 A.       Thousands.

12 Q.       Why do you make notes at the time of the

13 surveillance?

14 A.       Make notes at the time of surveillance so             I can

15 come back    and recall exactly what        occurred.

16 Q.       Are you using your note       s to refresh your

17 recollection of the events that happened on             March 16 of

18 2004?

19 A.       Yes , so I can have the times        and tag numbers      and

20 such as that.

21 Q.       Otherwise , would it be difficult for you to

22 determine at precisely what time         , whether it be 7 :48

23 or 08 :20 , an individual      arrived   at a location?

24 A.       That's correct.

25 Q.       Could you describe for us what vehicle you




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 1 observed    arrive at 8 :20?

 2 A.         Sure.   As   I stated , it was a tan     Mitsubishi

 3 Ga llant with      Pennsylvania tags    EMD 0507.    The vehicle

 4 pulled up in front of the residence           , at which time the

 5 subject identified -- th        at I knew to be a       Gwen Levi

 6 exited the vehicle       .   S he was carrying a duffel bag type

 7 bag .   S he then walked out of the vehicle         , walked down ,

 8 and once again went into the exact same side door that

 9 Mr. Larry    Nunn and the unidentified male walked into.

10 Q.         And prior to conducting surveillance in this

11 case, did you       familiarize   yourself with the identities

12 of some of the targets through photographs                and

13 information provided         by the agents?

14 A.         Yes, I did.

15 Q.         Now, after observing      Ms. Levi   enter the

16 residence, did you make any other observations at that

17 location?

18 A.         Sure.   Approximately 8     :33 , Ms. Levi     and the

19 other unidentified sol --         Mr. Nunn and the unidentified

20 male exit ed the residence , walking back to the vehicle.

21 They both got into the vehicle         , they turn ed the lights

22 on , at which time they turned it off.

23            Approximately two minutes later        , the

24 unidentified male passenger got back out of the vehicle

25 and went back into the side door of the residence.              He




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1 was in there for a very short pe         riod of time ,

2 approximately two minutes       , at which time he came back

3 to the vehicle, went to the back passenger side of the

4 vehicle, leaned in       , and appeared to be looking around

5 in the back of the vehicle.       He then got back into the

6 front seat passenger of the vehicle           and then left.

7            I continued the surveillance there        .   At

8 approximately 9 :15 that evening , Ms. Gwen           Levi then

9 exited the residence carrying the same bag            , at which

10 time she walked back to her vehicle         , the tan    Mitsubishi

11 Gallant , got into the vehicle      , and then drove away.

12 Q.        Continue .

13 A.        I'm sorry.     I stayed there until about 9        :30 that

14 evening , at which time the surveillance was terminated.

15 Q.        Did you follow either     Ms. Levi or Mr. Nunn 's

16 vehicle to see where they went?

17 A.        No, I did not.

18 Q.        Why not?

19 A.        My job was just to conduct surveillance right

20 there at the house.

21 Q.        Did you report your observations to the case

22 agents?

23 A.        Yes, I did.

24 Q.        Now, you testified concerning the --          Mr. Nunn

25 and his companion coming out of the residence             --




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 1 A.         Yes.

 2 Q.         -- and going into their vehicle        and turning on

 3 the light.

 4 A.         That's correct.

 5 Q.         Were you able to see what they were doing inside

 6 the vehicle with the light on?

 7 A.         I could not see what they were doing inside.

 8 Q.         Other than that observation      , did you make any

 9 other observations concerning other people at that

10 location at that time?

11 A.         No.

12            MS. JOHNSTON:      Your Honor , I have no other

13 questions of this witness.

14            THE COURT:    Any cross-examination?

15            MR. MARTIN:    Yes,   Your Honor.

16                           CROSS-EXAMINATION

17            BY MR. MARTIN:

18 Q.         Is it Sergeant     St. Louis ?

19 A.         No, Detective     St. Louis .

20 Q.         I can't promote you?

21 A.         No.

22 Q.         I objected earlier because       I thought you were

23 reading.     Would it be fair to say that it would be hard

24 to remember event       s that happen ed a year or two years

25 ago without looking at your report?




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 1 A.        Yes, it would be.

 2 Q.        Would it also be fair to say that the reason you

 3 memorialize or write things down          is so that you can

 4 refer back to them later on when you have to come into

 5 court and testify?

 6 A.        That's correct.

 7 Q.        So that's a standard practice on the part of

 8 police to do that; right?

 9 A.        I would say it would be a standard practice on

10 the part of good police officers -- most police

11 officers.    Sometimes notes aren't taken.           I can't

12 explain why they are or why they're not, but as far as

13 for my purposes in this case         , we take notes for such

14 occasions.

15 Q.        And in the report of investigation -- well           , if

16 that's what you call it.      Do you call it a report of

17 investigation?

18 A.        On this   one, it's just     notes   that I took   so I

19 can recollect my knowledge      .

20 Q.        With respect to those note      s that you take , you

21 memorialize    those facts that you think are important           ;

22 right ?

23 A.        I'm memorializ ing that I observe        -- in a case

24 like this , everything that we're observing          , we would --

25 I don't really dictate what          I think is important in




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1 this case because      I'm not the case agent.          I put down

2 everything that      I see and then let the case agent

3 determine what they -- from their knowledge of the

4 whole case , what is important to their case.

5 Q.        That's fair.    But in terms of writing down

6 things,   you would    write things down like the time?

7 A.        That's correct.

8 Q.        And you would     write down the date     ?

9 A.        That's correct.

10 Q.       And you would write down people that you

11 observed , if you knew who they were        ?

12 A.       That's correct.

13 Q.       And if you knew names     , you would write the names

14 down ; right?

15 A.       That's correct.

16 Q.       You would write down license plate numbers?

17 A.       Yes.

18 Q.       If you had occasion to talk to someone          , you

19 would write that down?

20 A.       If I talked to somebody.

21 Q.       If you talked to somebody      , and that's the kind

22 of thing that you would learn        at the academy ; right ?

23 A.       That's the kind of thing you would learn through

24 experience.     The academy will teach you so much         , but

25 most of the stuff will come through experience.




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 1 Q.       Through experience.        And how long would it take

 2 -- how long did it take you        , for example , to determine

 3 that it was important to write those things down?

 4 Would it be fair to say after two years you knew that?

 5 A.       No , I wouldn't even say that after two years            .

 6 It actually took actually doing          more in vestigative     work

 7 to realize how important -- the importance             of a lot of

 8 things being written down.

 9 Q.       Well, you said you were in narcotics for nine

10 years ; right?

11 A.       That's correct.

12 Q.       By the time you reach      ed the eight -year point ,

13 would you have realized that?

14 A.       Yes.

15          MR. MARTIN:      Nothing further.     Thank you.

16          THE COURT:     Any further     cross?

17          MR. HALL:     Very briefly.

18                          CROSS-EXAMINATION

19          BY MR. HALL:

20 Q.       The passenger in      Mr. Nunn 's vehicle , was that

21 somebody who you were not familiar with?

22 A.       That's correct.

23 Q.       Okay.   So you had an opportunity to look at

24 photographs of other people who were involved in this

25 case , and his features did not strike any familiarity




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 1 with you; is that right?

 2 A.         That's correct.

 3            MR. HALL:     That's all,        Your Honor .

 4            THE COURT:     Redirect?

 5            MS. JOHNSTON:        Just one or two questions.

 6                          REDIRECT     EXAMINATION

 7            BY MS. JOHNSTON:

 8 Q.         Detective    St. Louis , in your past experience             ,

 9 have there been occasions when you              've not made

10 appropriate notes        and been called to try to recall

11 events?

12 A.         Yes, there has been       .

13            MS. JOHNSTON:         I have nothing.

14            THE COURT:     All right.       Thank you.    You may step

15 down.   Thank you very much.

16            (Witness excused at 3          :44 p.m. )

17            (Witness    Sakala resumes the stand.           )

18                       FURTHER    DIRECT    EXAMINATION

19            BY MS. JOHNSTON:

20 Q.         Before we leave the events we've just discussed                  ,

21 I want to show you what's been marked as                 Government's

22 Exhibit    N-1, and ask you if you're            familiar      with this

23 exhibit.

24 A.         Yes.

25 Q.         Okay.   And what is that?




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1 A.          It's a drug ledger.

2 Q.          Do you know where that drug ledger was

3 recovered?

4 A.          Yes.

5 Q.          From where?

6 A.          New York City from the possession of           Moises

7 Uriarte .

8 Q.          Who is    Moises   Uriarte?

9 Q.          The heroin supplier for         Gwendolyn   Levi.

10 Q.         And did Gwendolyn      Levi have any partners in her

11 heroin business?

12 A.         Yes.

13 Q.         Who was that?

14 A.         William    Turner.

15 Q.         What was he -- did he have anything he was

16 referred to?

17 A.         Yes.

18 Q.         And in looking at the drug ledger of           Mr.

19 Uriarte,    what if any , indication is there of a drug

20 delivery received by          Mr. Turner   and Ms. Levi in the

21 vicinity of       March 16 of 2000?

22 A.         On March 14 , there's a notation.

23 Q.         If I could put it up on the screen so everyone

24 can see what you're referring to.              And in that regard ,

25 were those drugs being delivered here in               Maryland or




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 1 picked up in      New York?

 2 A.        Picked up in    New York.

 3 Q.        What is the entr y you're referring to?

 4 A.        I gave him 3 /14 /04, 1,000.

 5 Q.        What does that refer to?

 6 A.        One kilogram of cocaine.         One thousand      grams .

 7 I'm sorry , one kilogram of heroin         .    I believe    I said

 8 cocaine .    I t's one kilogram of heroin.

 9 Q.        Do you have any indication whatsoever that             Mr.

10 Uriarte   was delivering anything other than heroin to

11 Ms. Levi?

12 A.        No.    The li sted prices would not match cocaine.

13 The prices match      heroin .

14 Q.        What price are you referring to          there ?

15 A.        It was $60,000 for the kilogram of heroin.

16 Q.        Now , if we could move back on to the calls.

17 Calling your attention to the next call, B778               , which in

18 the transcript begins on         Page 97   and continues through

19 Page 102.

20           Have you reviewed that transcript          and the actual

21 portion of the telephone call that we have available to

22 play in court?

23 A.        Yes.

24 Q.        Is there a discrepancy between this transcript

25 and the portion we're going t         o play?




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 1 A.         The transcript is longer than the -- is not

 2 edited ; whereas the portion we're going to play is

 3 edited.

 4 Q.         Okay.    And what portion of the call are we going

 5 to play?

 6 A.         Until Page 99 .    T he last thing we'll hear is         ,

 7 John Martin saying at the        top, yeah, I know,       young-un.

 8 Q.         Again , why is it that you have edited the calls             ,

 9 or why is it that we're only playing portions of the

10 call?

11 A.         Just for the sake of saving the        Court's time.

12 This is a six -minute call , and to play the entire call

13 would waste the      Court's time.

14 Q.         Who are the parties to this telephone

15 conversation?

16 A.         Lavon Dobie, " Becky ", and John Martin.

17 Q.         It's taking place over?

18 A.         The home residence or home telephone line on

19 Hayward    Avenue.

20 Q.         If we could play B778     , please.

21            (Audio   recording starts at 3    :48 p.m. )

22            (Audio recording    stops at 3 :50 p.m.)

23            BY MS. JOHNSTON:

24 Q.         Again, wh o again who are the      parties     to this

25 conversation?




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 1 A.         John Martin    and Lavon Dobie.

 2 Q.         Based upon your training       and experience, what is

 3 Ms. Dobie explaining to         Mr. Martin concerning vehicles

 4 used in drug trafficking?

 5 A.         They're talking about getting a car, a cheap,

 6 inexpensive car so that if you're dealing drugs in your

 7 car and the police take it           and it's seized    and

 8 forfeited , you're not losing your good car.           Basically

 9 you have a throw -away car to use in your drug

10 trafficking.

11 Q.         Where is that in the conversation?

12 A.         At the bottom of Page 97 where        Ms. Dobie starts

13 talking , take one of those paychecks          , buy a car .    T hey

14 have nice , used , reliable cars .         Y ou can get a car .

15 You get the car an       d then my lifestyle    , I try to keep

16 one of them kind of cars anyway to do what              I do in.

17 That way if you got to leave it or if the police take

18 it , like you said , the feds got your car.

19 Q.         You know what her reference was when she said

20 when the feds got his car, referring to            Mr. Martin,     on

21 Page 97.

22 A.         That was , I believe , a reference       to his Takoma

23 Park incident where        --

24            MR. WARD:     I'm sorry , what incident ?

25            THE WITNESS:     Takoma    Park incident where he was




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 1 arrested with the 25 kilogram wrap          pers .

 2          BY MS. JOHNSTON:

 3 Q.       Now, based upon your training          and experience, is

 4 it the practice of narcotics officers to seize people's

 5 vehicles when they're used for drug trafficking

 6 activities?

 7 A.       Yes, it is.

 8 Q.       If we could go to the next call         , A258 , which is

 9 on Page 103 .     W hat is the date     and time of this call?

10 A.       This was on     March 17 at 9 :06 a.m.

11 Q.       Who are the parties?

12 A.       Paulette    Martin   and Learley    Goodwin.

13 Q.       If we could play the call       , please.

14          (Audio r ecording begins playing at 3          :52 p.m. )

15          (Audio r ecording stops playing at 3         :53 p.m. )

16          BY MS. JOHNSTON:

17 Q.       Based upon your training        and experience, what is

18 Ms. Martin asking      Mr. Goodwin,     and what is he advising

19 her?

20 A.       She's inquiring about the couriers that are down

21 in Texas and when they're going to be getting back with

22 the load of cocaine.

23 Q.       Where do we see that in the conversation?

24 A.       You ain't heard nothing about the tickets yet?

25 Mr. Goodwin    talks about they're stuck in the middle           ,




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 1 and that later on he says         , it's never supposed to have

 2 been this long , but so far it's all right.

 3 Q.         Based upon your training          and experience , what is

 4 he telling her when she says          , so far it's all right?

 5 A.         It's just taking longer.      Nothing's happened to

 6 the people down in       Texas , it's just taking longer than

 7 it should.

 8 Q.         Is there any significance to you based upon your

 9 training    and experience that        Mr.    -- when    Mr. Goodwin

10 says I'll come to see you           and give you an update?

11 A.         Yeah , he's going to talk to her in person as

12 opposed to giving her full details on the phone.

13 Q.         If we could get to the next call         , A26 6.     What is

14 the date    and time of this call?

15 A.         This is on    March 17 at 10 :39 a.m.

16 Q.         Who are the    parties    this call?

17 A.         Paulette   Martin   and Claude      Arnold.

18 Q.         Who is   Mr. Arnold?

19 A.         An associate/friend of       Ms. Martin       and Ms. Levi.

20 Q.         If we could play the call         , please , on 104 , A26 6.

21            (Audio r ecording begins      playing    at 3 :54 p.m. )

22            (Audio r ecording stops      playing at       3:5 4 p.m. )

23            BY MS. JOHNSTON:

24 Q.         In this telephone call between          Ms. Martin     and

25 Mr. Arnold , what are they discussing?




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 1 A.       They're talking about several things.

 2 Initially, they're talking about          Learley     Goodwin    is

 3 back in town but the couriers are still in              Texas.

 4 Q.       Where is that?

 5 A.       I -- well on Page 104      , Ms. Martin is saying,           I

 6 ain't heard nothing.      Like my brother         , he's back , he

 7 say he left on , meaning the couriers         .     H e said he 'd

 8 have to talk to me when he see me         , which reference s the

 9 previous conversation.

10          Then the next -- her next paragraph where she's

11 talking , he had to come on back        , meaning back to

12 Maryland.    He had to see -- he's saying he'll tell me

13 when he see me , so it's apparently something's up

14 there's a hold up or something's wrong             , referring to

15 the load in     Texas.

16 Q.       Then on Page 105 , what is        Ms. Martin discussing

17 with Mr. Arnold ?

18 A.       At the top of the page      , she's talking where

19 she's got other irons in the fire         , meaning that she's

20 working on other supplies of cocaine          , and then there's

21 a typ o, fourth line down where         Ms. Martin says, like         I

22 said, I know people with something but it's just too --

23 she doesn't say hot      , she says too high for me to be

24 bothered.    Then she says     , it's $26 referring to $26,000

25 per kilogram.




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1 Q.       For a kilogram     of what?

2 A.       Cocaine.

3 Q.       What is the -- in reference to heroin            , what was

4 the price that we had noted in            Mr. Uriarte 's book?

5 A.       He was selling --      Mr. Uriarte     was selling the

6 kilo of heroin to      Mr. Turner      and Ms. Levi for $60,000         .

7 Q.       As referenced in that notebook?

8 A.       Correct.

9 Q.       Is that consistent with your training             and

10 experience concerning the difference in prices of a

11 kilo of cocaine as opposed to a kilo of heroin?

12 A.      Heroin is much more expen         sive , yes.

13 Q.      Based on your training          and experience, the $26

14 refer s to $26,000?

15 A.      Yes.

16 Q.      And based on your training          and experience , were

17 you familiar with back in 2004         , what the wholesale

18 price of kilos of co     caine were?

19 A.      That's a high price      .

20 Q.      When Ms. Martin says , you lose on that when you

21 can't do nothing what     's she referring to?

22 A.      Mr. Uriarte     paying $26,000 per kilogram        .    Y ou

23 can't make any profit on it       , so it's not worth it for

24 her to purchase it at that price.

25 Q.      Is that consistent w         ith your training    and




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 1 experience       in regard s to the price of     cocaine ?

 2 A.        Yes.

 3 Q.        Is there a reference to another possible source?

 4 A.        Yeah , she's talking about her         Godson going to

 5 New York and then another unknown individual who is

 6 being released from prison out of           New York.

 7 Q.        Now, I neglected to , in preceding conversation

 8 on Page   3, there was a reference to tickets.          Was that

 9 a code word for drug      s in that conversation?

10 A.        I'm sorry on Page 103?

11 Q.        103.

12 A.        Yes , it is.

13 Q.        If you could write 103 up on our chart next to

14 the word tickets , I'd appreciate that.

15 A.        (Witness indicating.     )

16 Q.        If we could go to the next call         , A267 , also

17 taking place on       March 17 of 2004.    Do you have       A267, on

18 Page 107, in front of you?

19 A.        Yes.

20 Q.        Who are the parties to this conversation?

21 A.        Paulette    Martin   and Gwen Levi .

22 Q.        If we could play it     , please.

23           (Audio recording begins playing at 4           :00 p.m. )

24           (A udio recording stops playing at 4        :0 6 p.m. )

25           BY MS. JOHNSTON:




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1 Q.       Going back to Page 107.       The night that they're

2 discussing , is that the night         of that March 16

3 surveillance we just heard        --

4 A.       Yes.

5 Q.       -- a bout from    Detective     St. Louis ?

6 A.       Yes.

7 Q.       There's a reference on Page 1 to tickets.         Do

8 you see that reference?         On Page 107 , I'm sorry?

9 A.       I see two references, yes.

10 Q.      Based on your training         and experience , do those

11 references have any significance?

12 A.      Talking about drugs.

13 Q.      Okay.     And in particular, when       Ms. Martin says

14 she wants to ride me for one of those tickets             and she

15 already owes me about $3, what is          Ms. Martin telling

16 Ms. Levi in reference t     o Becky?

17 A.      Becky wants     Ms. Martin to front her more           co ca ine

18 and she's already --      Ms. Martin    is already carrying a

19 debt with   Becky.

20 Q.      Now, on Page 108 , again , is there a         typ o in that

21 transcription?

22 A.      Yes.     Just above the middle of the page where

23 Ms. Levi comes back to the conversation          , she doesn't

24 say talk , she says hello.

25 Q.      And the -- could you make a notation on the




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1 chart in reference to tickets being used on Page 107?

2 A.         (Witness indicating.      )

3 Q.         Who is the    "Becky " they're referring to?

4 A.         Lavon Dobie.

5 Q.         Now, on Page 108 near the bottom of the page               ,

6 Ms. Martin references        Larry and something about giving

7 papers at another time       .     B ased on your training      and

8 experience , what was       Ms. Martin discuss      ing there    with

9 Ms. Levi ?

10 A.        The transaction for the 81 grams of heroin            , the

11 papers refers to money.     It's a common term used by               --

12 I've heard on every wiretap          I've ever been on    , and what

13 Ms. Martin is saying is          I couldn't   give you the money

14 because   Becky was there , meaning the money          Larry gave

15 to her for 81 grams of heroin.

16 Q.        Now there's also discussions in here about candy

17 and liquor.

18 A.        Yes.

19 Q.        And bowls    -- wrapped bowls       and refrigerators.

20 Based on your training          and experience , are those -- is

21 that discussion related to drugs?

22 A.        No.

23 Q.        What does    is it related to?

24 A.        They're complaining       -- both of them are

25 complaining about      Becky nosing around the residence




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 1 when -- during the last night        , the previous night that

 2 she's going     and nosing around looking at the places

 3 that they believe she shouldn't be nosing around.

 4 Q.       And candy means candy?

 5 A.       Yes.

 6 Q.       And liquor means liquor?

 7 A.       Yes.

 8 Q.       And Moet means,      I guess , champagne?

 9 A.       Yes.

10 Q.       Then there's a reference to         Harvey 's house on

11 Page 110.     Who is   Harvey ?

12 A.       Harvey   Star Washington,      he's an associate of       Ms.

13 Martin 's .

14 Q.       Calling your attention to Page 1         12.   Based upon

15 your training     and experience, what are        Ms. Martin    and

16 Ms. Levi discussing when they're referencing the fact

17 that Becky has a husband?

18 A.       Selling drugs, hustling is a common term for

19 selling drugs.

20 Q.       Now if we could go to the         next conversation or

21 series of conversations beginning with B811.          These

22 conversations take place on what date?

23 A.       B811 is on    March 17 at 11 :39 a.m.

24 Q.       Is that conversation related to          B816, 8 22, 23,

25 24, 828 , 836 and 838?




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 1 A.       Yes.

 2 Q.       If we could begin by playing B811 on Page 114

 3

 4          (Audio recording begins playing at 4             :10 p.m.)

 5          (Audio recording stops playing at              4 :10 p.m. )

 6          BY MS. JOHNSTON:

 7 Q.       Who are the     parties    to that call ?

 8 A.       Derrick    Bynum and Paulette        Martin.

 9 Q.       What time     does that    call take place?

10 A.       11 :39 a.m.

11 Q.       If we could play      B816, please.

12          (Audio r ecording begins       playing    at 4 :10 p.m. )

13          (Audio r ecording stops       playing    at 4 :11 p.m. )

14          BY MS. JOHNSTON:

15 Q.       What time is that call?

16 A.       That is on the same day       , at 1 :11 p.m.

17 Q.       Before we go into the related calls, B822              , was

18 there surveillance conducted on that date,                March 17?

19 A.       Yes.

20          MS. JOHNSTON:       If I could ask the         Detective

21 Sakala to step down       and we'll call      Detective     Scheirer

22 to testify concerning the          March 17   surveillance.

23          (W itness excused from the stand at 4            :11 p.m. )

24 Thereupon,

25                          GREGORY    SCHEIRER ,




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1 having been called as a witness on behalf of the

2 Plaintiff , and having been first duly sworn by the

3 Courtroom Deputy, was examined and testified as

4 follows:

5                          DIRECT     EXAMINATION

6       BY MS. GREENBERG:

7 Q.          Would you state your name         and spell your last

8 name for the court reporter          , please?

9 A.          Gregory   William    Scheirer , S C H E I R E R.

10 Q.         And sir, where are you employed?

11 A.         I'm employed by the      Prince    George's   County

12 Police Department.

13 Q.         How long have you been employed with the             Prince

14 George's    County   Police Department?

15 A.         For the last eight years.

16 Q.         As such , what are your duties          and

17 responsibilities?

18 A.         I'm currently assigned to the           Major Narcotics

19 Division.     Our main responsibility is to investigate

20 large scale drug operations, money laundering               , drug

21 importations in      and around     Prince George 's County.

22 Q.         What is your current position in the             Major

23 Narcotics     Section for      Prince   George's   County   Police

24 Department?

25 A.         I hold the rank of corporal          and I'm assigne d to




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1 duty rank of detective.

2 Q.         How long have you been a detective?

3 A.         I've been in    Major Narcotics for just over four

4 years , and out of       the eight year s, I've been employed

5 -- six of those have been in the          Narcotics    Division.

6 Q.         Now , if I could direct your attention back to

7 the spring of 2004       , actually   March of 2004 , were you

8 employed as a detective with the          Major Narcotics        Unit

9 for Prince George 's County at that time?

10 A.        Yes, ma'am , I was.

11 Q.        Did you assist in an investigation along with

12 Detective    Eveler   and Sergeant    Sakala    and Special     Agent

13 Snyder?

14 A.        Yes.

15 Q.        As such , what are your     du ties and

16 responsibilities?

17 A.        During   Detective    Eveler's case , I was assigned

18 surveillance.      My squad    , a group of detectives ,

19 different days , different locations.

20 Q.        And were you assigned to do surveillance on

21 March 17, 2004?

22 A.        Yes, I was.

23 Q.        Just to be clear , did you get much notice when

24 you were sent out on surveillance?

25 A.        Sometimes yes , sometimes no.        Sometimes they




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1 could say , you know , tomorrow at this hour          , we want      you

2 to be at this location an       d we can set up , and sometimes

3 it's a frantic phone call        either in      the mid dle of the

4 night or early afternoon       , get to this location as fast

5 as you can.

6 Q.       Do you recall specifically on           March 17 , 2004 ,

7 what kind of notice you got?

8 A.       I think that     was one    of the shorter notices that

9 I was talking     of.

10 Q.      When you went out to do surveillance           , were you

11 in marked, unmarked car, dressed as a -- in

12 plainclothes dressed as -- what kind of clothes?          Jus           t

13 describe to us .

14 A.      On a routine basis     , I report to work dress          ed in

15 plainclothes , blue jeans,      T-shirts , street clothes , and

16 I only have an unmarked vehicle.       No police radios          , no

17 antennas , just a nondescript car.

18 Q.      So based on your work on surveillance on                March

19 17, 2004, where did you go that day?

20 A.      We were sent to 810        Hayward .

21 Q.      That is in what town?

22 A.      I believe that's      Takoma   Park.

23 Q.      In Maryland?

24 A.      Maryland.

25 Q.      What time did you go there?




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 1 A.         If I can refresh the times in my note         s.

 2 Q.         Certainly.

 3 A.         I got to the location at 12      :45 in the afternoon.

 4 Q.         What did you observe?

 5 A.         I set up surveillance on the residence             and at

 6 approximately 1 :12 in the afternoon         , so approximately

 7 almost 30 minutes later        , I observed a black     minivan

 8 with silver arrive at the location           and a black male

 9 exit the driver's seat of the vehicle            and enter the

10 side entrance       of 810   Hayward .

11 Q.         Showing you wh at 's been marked as P      -224.

12            Do you recognize what is depict       ed in that

13 picture?

14 A.         Yes.    As the individual was exiting his vehicle

15 and walking       up to the residence , I was able to use a 35

16 millimeter camera with extended zoom to photograph him                  ,

17 and this is one       of those    pictures of him exiting the

18 vehicle.

19 Q.         When you say      "silver ," were you refer ring to

20 this part     of the van?

21 A.         Yes.

22 Q.         Where my finger is?

23 A.         Black over silver.

24 Q.         The bottom trim of the door?

25 A.         That's correct.




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1 Q.          Do you recognize the other vehicle depict            ed in

2 this picture , P -224 ?

3 A.          The red Mercedes ?

4 Q.          Yes .

5 A.          Yes , I do .

6 Q.          How do   you rec ognize the red       Mercedes?

7 A.          That was the vehicle that was routinely in front

8 of 810     Hayward   and had been relayed to us from

9 Detective      Eveler as the primary vehicle for the lead

10 defendant.

11 Q.         Who was that?

12 A.         Ms. Paulette    Martin.

13 Q.         Who did you understand resided at 810             Hayward

14 Avenue?

15 A.         The only individual       I was made aware of was          Ms.

16 Paulette     Martin.

17 Q.         And showing you what's been marked as P            -225.

18 Can you tell the jury what's depicted in that picture?

19 A.         It's the same black male that exited the             minivan

20 as he approaches 810       Hayward .

21 Q.         And what did you observe as          he approached 810

22 Hayward ?

23 A.         He went to the side       entrance    and entered the

24 home.

25 Q.         Did you make further observations as to this




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 1 residence on that afternoon?

 2 A.       Approximately five minutes later         , at 1 :17 in the

 3 afternoon , the same individual exited the side entrance

 4 of the residence, returned to the black            minivan,    got in

 5 the driver's seat      and left the area.

 6 Q.       Did you make any observation of him after that?

 7 A.       I did not.

 8 Q.       Is that when your surveillance ended          ?

 9 A.       I believe so, yes, ma'am.

10 Q.       At least for that period of time         ?

11 A.       For that period of time.

12 Q.       So we'll see you again?

13 A.       So I'm told.

14 Q.       Okay.   Court's indulgence.

15          MS. GREENBERG:        Nothing further , Your Honor.

16          THE COURT:     All right   .   A ny cross-examination?

17          MR. MARTIN:       Court's indulgence.

18                          CROSS-EXAMINATION

19          BY MR. MITCHELL:

20 Q.       Detective    Scheirer , you were called by who to go

21 to investigat e or do the surveillance?

22 A.       On that day , I would have been contacted --             I

23 would not be in direct contact with the listening posts

24 or Detective     Eveler.     I would have been contacted by my

25 super visor .




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 1 Q.       Okay.   Were you told who to         surveil ?

 2 A.       No, sir.    In this case     , I was a surveillance

 3 team .   I wasn't privy to any individual's appearance or

 4 pictures or who      I was looking for    .   M y primary

 5 responsibility was photograph, document, descriptions

 6 of people, descriptions of vehicles           , tag numbers , and

 7 that sort.

 8 Q.       You weren't told why or what the purpose of the

 9 surveillance was ?

10 A.       No, sir .     N eed to know basis    , and I did not need

11 to know that.

12 Q.       And is that why you referred to a black male

13 instead of the name of a person?

14 A.       I don't know     who the individual was.         That's

15 correct , sir.

16 Q.       At the time , you didn't?

17 A.       And I still don't.

18 Q.       The pictures that you saw identified as P             -224

19 and 225.     In your surveillance       and reviewing the

20 pictures , did you see this individual carrying anything

21 to or from the residence?

22 A.       From my recollection       , I don't recall him

23 car ry ing anything.    If   I did notice it , I would have

24 put it in my notes.      If the picture can go back up

25 again , we can look at it closer        , but I don't recall




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 1 that.

 2 Q.        That is P -224?

 3           MS. JOHNSTON:     P -225.

 4           MR. MITCHELL:     225.

 5           BY MR . MITCHELL:

 6 Q.        Looking at that picture again         , does it appear

 7 that this individual is carrying any specific items in

 8 his hand?

 9 A.        In his hands?     No, sir      , but you can see there's

10 a bulky coat , so there may or may not be something

11 underneath the coat     , but I do not        see anything in his

12 hands .

13 Q.        For example , there could be a sweater under the

14 coat .

15 A.        Hypothetically , there could be a lot of things

16 under the coat .

17 Q.        Sure.   Hypothetically      , many things other than

18 anything that's drugs or drug related.

19           MS. GREENBERG:     Objection      , Your Honor .

20           THE COURT:      S ustained .

21           You 've covered the waterfront.

22           BY MR. MITCHELL:

23 Q.        Looking at these pictures, and based on your

24 surveillance, would you agree with me there wasn't

25 anything unusual about going into a house and coming




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 1 out of the house,        taking it by itself   ?

 2 A.         Sir , you're asking me to go out to make an

 3 opinion.      I saw the individual arrive,         I saw him go in

 4 the side entrance       , I saw him exit .

 5 Q.         And then you reported that      ?

 6 A.         That's correct.

 7            MR. MITCHELL:     No further questions.

 8            THE COURT:     Mr. Montemarano ?

 9            MR. MONTEMARANO :    May   I, Your Honor?

10                           CROSS-EXAMINATION

11            BY MR. MONTEMARANO :

12 Q.         Detective , you're working from some note         s in

13 front of you?

14 A.         That's correct , sir.

15 Q.         May I see them please?     That's contained in a

16 report generated subsequent to the surveillance on the

17 17th; correct?

18 A.         That's correct.

19 Q.         And at the same time -- excuse me -- you did

20 surveillance, and did you take written notes of some

21 sort with a pen      and piece of paper?

22 A.         On that day , sir?

23 Q.         Yes .

24 A.         I'm not aware that     I did.

25 Q.         So, how do you report things like license




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1 numbers?

2 A.         At this time , we're on a radio       system , and as

3 I'm talk ing to other members of my squad          , the person

4 that usually had eyes on would not be the person --

5 obviously if you're taking notes         , you can't have eyes

6 on , so we would be relaying this over the radio             and

7 someone else who's      a little fa rther away would be

8 taking the note s.

9 Q.         So instead of looking down at        the paper and

10 losing the visual contact with the subject of your

11 attention , in this case my looking at you, you would

12 read out into the radio       those pieces of information you

13 considered important; correct?

14 A.        That's correct , sir.

15 Q.        In essence , the tape of the radio        conversation

16 would provide a record or is somebody writing it down?

17 A.        Someone's writing it down so there would be no

18 tape record er.

19 Q.        So there's someone writing it down         and -- as

20 you're dictating it    , for lack of a better term?

21 A.        In most cases , yes, sir , someone could also be

22 on a cell phone .     T here are a variety of ways we relay

23 information.

24 Q.        In a ddition, we've    a 35 millimeter camera      ,

25 correct , with a zoom lens?




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 1 A.        Correct .

 2 Q.        Which gives you more detail than just a regular

 3 lens , and you're taking photographs like this one here                 ;

 4 right ?

 5 A.        That's correct , sir.

 6 Q.        And you take photographs to record what you see

 7 at that time; correct?

 8 A.        That's correct.

 9 Q.        Okay.   And notwithstanding the fact that you can

10 see thin gs you're dictating       , for lack of a better term          ,

11 into your radio , what you're seeing             and taking

12 photographs , you're doing all these things to create a

13 multiple record of what's going on           .   I s that a fair

14 statement?

15 A.        I believe that would be fair.

16 Q.        Court's indulgence.

17           You mentioned during your direct examination

18 that among the things you would have written down would

19 be , for instance , if he was carrying something              that is

20 the gentleman in the photograph         ?

21 A.        Once again , if I was eyes on , I wouldn't be the

22 one writing it down     .   I t would have been something that

23 I would have relayed.

24 Q.        You would have dictated it?

25 A.        If I had seen something       --




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1 Q.       Right .

2 A.       -- I would relay it.

3 Q.       And you would have relayed his clothing?

4 A.       Not necessarily, no, sir.

5 Q.       Height?

6 A.       Not necessarily, no.

7 Q.       Weight?

8 A.       Being the fact that there was only one

9 individual, that wouldn't have been necessary.

10 Q.      Tag number of the vehicle?

11 A.      If I could see it from where            I was, that would

12 be something important that            I would rely, but it's not

13 necessary.     If     I couldn't see it    , I would suspect

14 another vehicle would try to pick it up as it left               , but

15 yes, if visible , I would definitely relay it.

16 Q.      Time of day?

17 A.      Would I relay the time of day?          No, sir.

18 Obviously the people around me are well aware of the

19 time of day.        They're with me.

20 Q.      So somebody is recording the time of day              ; right?

21 In your experience.

22 A.      No, sir.        If we're out on an operation        , we know

23 what time of day it is        .

24 Q.      I mean precise time        , like the    arrival,   not , you

25 know , down to the minute.        You know, 13 minutes after




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 1 2:00, that kind of thing         , not just around     2 o'clock .

 2 A.          Oh, yeah , as we're giving out a piece of

 3 information like when a vehicle arrives            , we would say

 4 what time of day it is       .    W e wouldn't necessarily say

 5 it , THE person that's actually receiving information

 6 and dictating would write down the time of day              that we

 7 said it .

 8 Q.        But again, y ou 'd say the guy just got         in?

 9 A.        Exactly.

10 Q.        And they 'd go, 4:25 ; right ?

11 A.        If it was 4 :25.

12 Q.        Well, 16 -- my watch is a little faster          , I

13 guess , than the courtroom's        .   16 :25 is how you 'd

14 probably write it      ; right?

15 A.        Correct , sir.

16           MR. MONTEMARANO :       No further questions    , Your

17 Honor .   T hank you.

18           MR. MARTIN:     Court's indulgence       ?

19           THE WITNESS :    A fternoon.

20                           CROSS-EXAMINA TION

21           BY MR. MARTIN:

22 Q.        Good afternoon, sir.          Anthony   Martin here on

23 behalf of    Mr. Goodwin .

24           Was it   Detective     Scheerer ?

25 A.        Scheirer .




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1 Q.          Scheirer .   And you're with the       Prince    George's

2 County   Police Department?

3 A.          That's correct , sir.

4 Q.          You're in the   Narcotics    Section?

5 A.          Yes, sir.

6 Q.          A long time ago , electronics was n't the way it

7 is today .      Y ou said you had a radio    ; right ?      You said

8 you had a radio; correct?

9 A.          That's correct , sir.

10 Q.         And it wasn't the size of a brick        ; right ?

11 A.         Depending upon what radio       system we were using

12 that day , I actually do still carry a radio               that's the

13 size of a brick.        I believe when we're do      in g close

14 surveillance , we also use a radio         that's 800 megahertz          ,

15 which is more like a       CB.

16 Q.         Okay.   Tell me this.    The one you have on the

17 particular day , which it was the 17th of            March,    you

18 said -- I'm not try ing to trick you , I can't remember

19 the dates .

20 A.         It's March 17   I've testified to.

21 Q.         On March 17 , did you have what we call a brick              ,

22 or did you have something smaller like this?

23 A.         No , I wish the county     -- Prince    George's     County

24 supplied    me with a radio      of that size.    Typically     , sir ,

25 what I go out with is a radio          -- regular , police -issued




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1 radio , which is the size you referred to as a brick               , an

2 800 megahertz radio      , which is about the size of a         CB,

3 just the microphone, and my         NexTel cell phone.

4 Q.       And the NexT el cell phone , is that provided to

5 you by the county?

6 A.       Yes.

7 Q.       With respect to the other members in the

8 Narcotics    Section , are they also provided cell phones

9 by the county?

10 A.      I believe everybody is, yes, sir.

11 Q.      Everybody?      And this NexTel phone,        you don't

12 have to dial the number     , you can just click it to

13 connect with somebody else who is on the same

14 frequency ; is that correct?

15 A.      That's correct.

16 Q.      So -- and police officers carry or have these

17 communication devices with them because it's very

18 important that they be able to communicate quickly with

19 one another ; right ?

20 A.      It's one of the reasons         , yes, sir.

21 Q.      Because stale information is really useless

22 information ; right ?

23 A.      I wouldn't classify it      , you know , all stale

24 information is useless     , but .. .

25 Q.      But certainly the more timely it is           , the better ;




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 1 right ?

 2 A.         Depending upon the case, yes, sir.

 3 Q.         If different officers are at the s           ame scene of

 4 an arrest or during a search          , wouldn't it be important

 5 for them to be in contact with one                another   during that

 6 search ?

 7            MS. GREENBERG:     Objection       .

 8            This is outside of the scope of direct with this

 9 witness.

10            THE COURT:     We're get   ting a little far afield        ,

11 Mr. Martin.

12            MR. MARTIN:     Yes , I know       I am.

13            THE COURT:     You're close.    One more question.

14            BY MR. MARTIN:

15 Q.         Are you in the same section with            Detective

16 Grant?

17 A.         I am.

18            MR. MARTIN:      Nothing further , Your Honor .          T hank

19 you.

20            THE COURT:     Any redirect    ?

21            MR. SUSSMAN :     I f I could just ask one minute's

22 worth , sir.

23            THE WITNESS:     Afternoon    , sir .

24                            CROSS-EXAMINATION

25            BY MR. SUSSMAN:




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 1 Q.         Good afternoon , Detective.

 2            Your section from the      Prince George' s County

 3 Police was sort      of loaned out to the      Task Force for

 4 purposes of this investigation        ; is that correct?

 5 A.         Well , Detective    Eveler is a Prince     George's

 6 County   Police Officer.

 7 Q.         So in terms of the protocol that you followed

 8 the recording and broadcasting, was that a             Prince

 9 George's    County protocol or was that something that the

10 Task Force Officer       Eveler was using?       If you don't

11 understand my question        , I'll see if   I can change it .

12 A.          Let me try to answer it this way         and tell me if

13 I've answered it correctly.          I didn't receive any

14 special training or in        structions   on how to record

15 information to be passed on         to Detective     Eveler at the

16 end of surveillance.

17            I routinely do what     I was trained     to do , and if

18 there was something wrong or something they wanted

19 differently , in the future they would let me know.

20 Q.         You did   more than   one surveillance in connection

21 with thi s investigation;        is that correct?

22 A.         I did, sir.

23 Q.         So the way you functioned was you broadcast what

24 you saw that was of significance at           the time you saw

25 it; is that right?




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 1 A.       If I was there with other people, yes.          Yes.

 2 Q.       And it was your understanding that -- you were

 3 working on a police       band radio ; is that correct ?

 4 A.       Depending upon which radio          we were using , yes.

 5 Q.       I'm not concerned about which           it was , but

 6 generally a radio      you flip on       and off ?

 7 A.       Correct.

 8 Q.       Okay.     And it was your understanding that

 9 somebody at the other end was taking down what you

10 said; is that right?

11 A.       Once again , I would be speculating whether

12 somebody was writing it down         .    T hat's the normal way

13 that we would do things      , but it's not the steadfast          .    I

14 mean , each situation has its own circumstances.

15 Q.       Eventually , the information that is broadcast by

16 you was put into some report; is that right?

17 A.       Once again , the reports         would have been at the

18 responsibility of the case agents           , not mine .   So I

19 don't want to go out       on a limb an d sa y what they were

20 requir ed to do.

21 Q.       Did you    ever have   a chance to look at those

22 reports or dis cuss those reports?

23 A.       Some.

24          MR. SUSSMAN:      Nothing further.      Thank you.

25          THE COURT:     A ny further cross?      Okay.   Redirect       ?




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1             MS. GREENBERG:    Your Honor, briefly.

2                        REDIRECT      EXAMINATION

3             BY MS. GREENBERG:

4 Q.          In connection with this surveillance on          March

5 17, 2004, did you get the license number on the vehicle

6 that you observed in P       -224?

7 A.          If I can refresh my memory by looking at the

8 notes ?     A gain , I don't believe so    .     It's not reflected

9 in the notes , so I would say negative.

10 Q.         What time did you see this particular van with

11 the person depicted on       P-224 and P -225 arrive?

12 A.         As I testified , he arrived        at 1 :12 -- 13 :12 in

13 the afternoon     and stayed approximately five minutes             and

14 departed at 13 :17.

15 Q.         Did you listen to the wiretap call that was at

16 or about this time,      B816 at Page 115 of the jurors'

17 books?

18 A.         I have listened to no wiretap calls regarding

19 this case.

20 Q.         So this is simply based on your observations            ,

21 not on anything you've learned with through the

22 wiretap?

23 A.         I was told to go there     .   I observed it    and I

24 recorded it     and reported it.

25 Q.         Mr. Mitchell was asking you if you observed




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 1 anything in this individual's hands.          Were you in a

 2 location that you could see anything within the                   pockets

 3 of his coat?

 4 A.         No, ma'am.

 5 Q.         Underneath his coat?

 6 A.         No, ma'am .

 7 Q.         In your experience as a narcotics detective,

 8 have you    ever located items on a suspect's body            ,

 9 person?

10 A.         Oh , absolutely.

11            MR. MITCHELL:      Objection.

12            THE COURT:     Overruled.

13            THE WITNESS:     A bsolutely.

14            BY MS. GREENBERG:

15 Q.         Could you tell the jury some of the items you've

16 located ?

17            MR. WARD:     O bjection , Your Honor.

18            THE COURT:     Sustained.

19            MS. GREENBERG:       Your Honor,   Mr. Mitchell opened

20 the door to this line of questioning,            I believe.

21            THE COURT:     It's been opened just so far            and I

22 have shut it.

23            MS. GREENBERG:      All right.

24            THE COURT:     It can't be opened any further.

25 It's not going to be opened any further.




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 1          MS. GREENBERG:     No further questions         Y, our

 2 Honor.

 3          THE COURT:     Any recross?       All right .      Y ou may

 4 step down.

 5                  (Witness was     excused at 4 :31 p.m. )

 6          THE COURT:     We're right on time      , 4 :30 p.m.      I

 7 will see you tomorrow morning at          10 o'clock , ladies and

 8 gentlemen .

 9          Counsel , stay behind for just a moment.

10                  (Jury excused at 4:32 p.m.)

11                  (W itness excused at 4     :32 p.m. )

12          THE COURT:      C ounsel , a c oup le of scheduling

13 matters .    A s I mentioned , I have     a den tist appointment

14 tomorrow , but it's early .       I t's 8 o'clock , but I don't

15 want to have the jury sitting around waiting for me to

16 escape from the den     tist .   Do you anticipate any

17 preliminary matters tomorrow?       If anybody does          , I mean ,

18 I will be ready to sit down at the bench at quarter of

19 10:00, so if there is anything that needs to be taken

20 up, ad ministrative,      preliminary matters or otherwise             , I

21 will be glad to do that      , but I will be here for sure

22 right off stage left at 9 :45.          If there's    any

23 preliminary matters     , I'll do crossword puzzles           and I'll

24 see you at    10:00 .

25          A couple of scheduling matters         , I think




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 1 successfully move       d a matter involving       Mr. McKnett 's

 2 client in another matter that's            scheduled    for 9 o'clock

 3 on Friday to     8 o'clock on    Friday.      I'm try ing to see if

 4 I can have this whole operation escape a little early

 5 on Friday , if I can do it.

 6            I'm contemplat ing that       we would start at         9:00 or

 7 we could trail this sentencing that            I have at     8:00,

 8 unless there's a problem.          I think the only people we

 9 haven't tracked down on are the prosecutor              s in this

10 case.

11            MS. JOHNSTON:     Your Honor , there is a problem

12 with that in that we are flying in witness              es from

13 Wyoming .    T hey're getting in late        Thursday night.         Ms.

14 Green berg was going to meet with them             Friday morning so

15 we could    get them on the stand        Friday    and testify .      We

16 plan ned to do that in the time.

17            THE COURT:     They're g etting here        Thursday night ?

18            MS. JOHNSTON:    They're getting in late          Thursday

19 night.

20            THE COURT:    Meet with them early          Friday morning ?

21            MS. JOHNSTON:     Your Honor , it would be helpful

22 if we had more advance notice        .    T hey also are

23 travelling with a time difference as well, so               .. .

24            THE COURT:    Do the best you can.           I want to try

25 to see if    I can get started early on           Friday.




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 1           MS. JOHNSTON:     Will do   .

 2           MR. SUSSMAN :     H ow late do you think you're going

 3 to go , sir ?

 4           THE COURT:    The latest        I want ed to go is 2 :30 or

 5 3:00, if not earlier .         I t depends on what     I can work

 6 out with this other matter        .   N ow , the same thing      I'm

 7 going to try to do on       Friday, June 30 , especially           since

 8 that's a major holiday weekend.               I have a matter that's

 9 scheduled for     9:00 now .     I'm trying to get it moved to

10 8:00 so I can start at         9 o'clock on      Friday and then

11 hopefully get out of here in the early afternoon                , not

12 late afternoon, on      Friday the     30 th.

13           MS. JOHNSTON:     Does that mean the         Court is not

14 going to break for lunch on those days?            Because we are

15 try ing to stay on schedule with the             Court's time frame

16 in terms of completing --

17           THE COURT:      I will let you know more         , because

18 I'm not sure if that matter that I             've got a   9:00 that

19 will move to     8:00 , but if    I can do it , that 's what I'd

20 like to try to do is have us from go from              9:00 to 2:00

21 or 2 :30 at the latest     , and maybe have just a short

22 couple of break s in there to have people not pass out.

23           MR. MONTEMARANO :      And the very same thing on the

24 30 th ?

25           THE COURT:    On the what       ?




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 1           MR. MONTEMARANO :      The same thing on the       30 th ,

 2 9:00 to 2 :30 ?

 3           THE COURT:     I'm going to try to do that.              I

 4 mean , don't   go to the      bank on it yet .     I'm try ing to do

 5 that because it's nice to get out of here before 4                 :30

 6 or 5:00 on a Friday , especially on a holiday weekend                  .

 7 I know some of you are         coming from downtown     Greenbelt

 8 and have to go somewhere else to get home that's not

 9 close , so I respect      that, too.

10           MR. MARTIN:     Very quickly,       Your Honor.   With

11 respect to July 21st.        Are you still scheduled --

12           THE COURT:     I am scheduled, and       I need it

13 because   I hurt so.    As     I said, I am 99 and 44/100

14 percent sure we are not sitting on July 21.

15           MR. MARTIN:    Judge Roberts downtown has your

16 name, and I told him         I was in trial , but I might be

17 able to do it on that day in the afternoon.

18           THE COURT:    You can do it     .    I'm going to be

19 under anesthesia, so         -- or else my law clerk can

20 preside on the 21st.

21           MR. MARTIN:    If he's more defense-oriented             , I

22 don't have any objection.

23           THE COURT:     I'll see you tomorrow morning         .       If

24 there's a ny preliminary matters        , I will be available at

25 9:45 , and I will ask that the marshals who have               the




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 1 defendant s in custody to be available at 9           :45.

 2            MS. JOHNSTON:        Your Honor , we will be in our

 3 office .    W e won't be coming over here at 9        :45 unless

 4 somebody tells us       .

 5            THE COURT:       I f somebody calls   you and tells you

 6 there's    a preliminary matter.       Otherwise,     I will see

 7 you at

 8 10 o'clock.

                    (Off the record at        4:37 p .m. )
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 1                             CERTIFICATE

 2

 3       I, Tracy Rae Dunlap,       RPR , CRR , an Official Court

 4 Reporter for the United States District Court of

 5 Maryland, do hereby certify that I reported, by machine

 6 shorthand, in my official capacity, the proceedings had

 7 and testimony adduced upon the Jury Trial Proceedings

 8 in the case of UNITED STATES OF AMERICA versus PAULETTE

 9 MARTIN, et al, Criminal Action Number            RWT -04-0235 on

10 June 21, 2006.

11

12       I further certify that the foregoing            206 pages

13 constitute the official transcript of said proceedings,

14 as taken from my machine shorthand notes, of said

15 proceedings.

16

17       In witness whereof, I have hereto subscribed my

18 name, this 25th day of March 2008.

19

20                              ___________________________
                                TRACY RAE DUNLAP, RPR , CRR
21                              OFFICIAL COURT REPORTER

22

23

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25




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